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                                                                 EXHIBIT A

                                                                Proterra Inc
                                                              Case No. 23-11120
                                         Summary of Hours and Discounted Fees Incurred by Professional
                                                  October 1, 2023 through October 31, 2023


                                                                             Total
                                                                             Billed         Hourly
           Professional Person      Position & Department                    Hours       Billing Rate              Total Compensation

           Aden Cohen              Associate - Audit                             138.2   $       250           $             34,550.00
           Alex Scofield           Senior Associate - M&A Tax                     20.6   $       760     1     $             15,656.00
           Anna Heyne              Senior Associate - Audit                      132.7   $       350           $             46,445.00
           Antoine Bedard          Senior Associate - M&A Tax                      5.2   $       760     1     $              3,914.00
           Becky Biwer             Senior Associate - M&A Tax                     17.7   $       760     1     $             13,452.00
           Bela Unell              Partner - Washington National Tax               0.2   $     1,380           $                276.00
            Bradley Lancy          Managing Director - Advisory                    2.1   $       920           $              1,932.00
           Brian Monahan           Manager - Audit                                21.9   $       400     2     $              8,760.00
            Brian Monahan          Manager - Audit                                 0.4   $       650     2     $                260.00
           Celeste Campbell        Manager - Bankruptcy                            9.3   $       340           $              3,162.00
           Charina Delda           Manager - Audit                                 1.5   $       400           $                600.00
           Chien Wang              Senior Associate - Audit                       58.0   $       350           $             20,300.00
           Christopher Hurd        Director - Advisory                             0.3   $       550           $                165.00
           Connor Pratt            Senior Associate - Tax                          6.6   $       760           $              4,978.00
           David Yanchik           Managing Director - Tax                        16.7   $     1,080           $             18,036.00
           Deanna Tsan             Associate - Audit                               9.0   $       250           $              2,250.00
           Doron Rotman            Managing Director - Tech Assurance              3.2   $       580           $              1,856.00
           Gabe De La Rosa         Partner - Audit                                 7.8   $       550     2     $              4,290.00
            Gabe De La Rosa        Partner - Audit                                 0.7   $       875     2     $                612.50
           Griffin Brewster        Senior Associate - Audit                       45.3   $       350           $             15,855.00
           Hillary Downey          Director - Tech Assurance Audit                26.3   $       550           $             14,465.00
            Jane Murray            Senior Manager - Audit                          1.0   $       980           $                980.00
           Jim Carreon             Principal - M&A Tax                             3.3   $     1,280           $              4,224.00
           Jim Kuhl                Senior Manager - Tax                            1.7   $     1,100           $              1,870.00
            Jim Mintert            Partner - Audit                                 0.7   $     1,025           $                717.50
           Joe Murante             Senior Associate - Tax                          4.6   $       760           $              3,458.00
           Julia Durrance          Senior Manager - M&A Tax                       15.9   $     1,100     1     $             17,490.00
           Kati Walker             Senior Associate - Audit                       32.2   $       350           $             11,270.00
           Kelly O'Leary           Senior Associate - Audit                      101.9   $       350           $             35,665.00
           Leigh Shoenberger       Manager - Tax                                  16.8   $     1,000           $             16,800.00
           Lynn Lin                Manager - Audit                                91.7   $       400     2     $             36,680.00
            Lynn Lin               Manager - Audit                                 3.7   $       650     2     $              2,405.00
           Maggie Lawler           Senior Manager - Audit                         77.7   $       455     2     $             35,353.50
            Maggie Lawler          Senior Manager - Audit                          8.8   $       728     2     $              6,406.40
           Mark Hoffenberg         Principal - Washington National Tax             1.8   $     1,380           $              2,484.00
           Mary Beth Hawkes        Manager - Tax                                   4.9   $     1,000           $              4,900.00
            Matthew Drucker        Partner - Audit                                 0.5   $     1,025           $                512.50
           Max Klaunig             Associate - M&A Tax                            12.3   $       460           $              5,658.00
            Memory Liang           Director - Advisory                            10.7   $       832           $              8,902.40
           Patricia Anne Dela Rosa Manager - Audit                               133.4   $       400     1,2   $             53,360.00



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                                                                           EXHIBIT A

                                                                     Proterra Inc
                                                                  Case No. 23-11120
                                              Summary Of Hours and Discounted Fees Incurred By Professional
                                                       October 1, 2023 through October 31, 2023


                                                                                          Total
                                                                                          Billed          Hourly
           Professional Person          Position & Department                             Hours        Billing Rate                 Total Compensation

           Patricia Anne Dela RosaManager - Audit                                              11.5     $        650      1,2   $              7,475.00
           Pat Anderson           Manager - Audit                                              73.6     $        400      2     $             29,440.00
           Pat Anderson           Manager - Audit                                               0.4     $        650      2     $                260.00
           Raechel Wagner         Manager - BTS                                                 4.0     $        475      1     $              1,900.00
           Rebecca Lo             Senior Associate - Audit                                     42.3     $        350            $             14,805.00
           Regan Fuerst           Manager - Tax                                                 1.2     $      1,000            $              1,200.00
           Riley Yeomans          Senior Associate - Audit                                     55.8     $        350            $             19,530.00
           Rob Galloway           Associate - Tax                                              14.6     $        460            $              6,716.00
           Robin Muncy            Manager - M&A Tax                                            74.3     $      1,000      1     $             74,300.00
           Sam Oswald             Senior Associate - Audit                                     35.0     $        350            $             12,250.00
           Scott Salmon           Partner - Tax                                                 4.7     $      1,380            $              6,486.00
           Stan Harvell           Managing Director - Audit                                    21.0     $        525            $             11,025.00
           Stephanie Kushner      Managing Director - Tax                                       3.4     $        600            $              2,040.00
           Steven Morgan          Partner - Audit                                              51.5     $        550      2     $             28,325.00
           Steven Morgan          Partner - Audit                                               5.5     $        875      2     $              4,812.50
           Sushant Kodiyal        Manager, Tech Assurance Audit                                31.0     $        470            $             14,570.00
           Teresa Williams        Associate, Bankruptcy                                       101.5     $        240            $             24,360.00
           Tom Carroll            Senior Manager - M&A Tax                                      5.6     $      1,100            $              6,160.00
           Tom Mooney             Partner - Audit                                               0.3     $      1,025            $                307.50
           Wendy Shaffer          Associate Director, Bankruptcy                                4.1     $        380            $              1,558.00
           Yinka Kukoyi           Partner - M&A Tax                                             6.4     $      1,380            $              8,832.00
           Zaya Shahbaz Arami     Associate - Tech Assurance Audit                             53.3     $        255            $             13,591.50


                                                                                           1,648.2                              $            750,894.30
           Total Discounted Fees                                                                                                $            750,894.30
           Out of Pocket Expenses                                                                                               $              1,358.29
           Total Fees & Out of Pocket Expenses                                                                                  $            752,252.59
           Less Holdback Adjustment (20%)                                                                                       $           (150,178.86)
           Net Requested Fees & Out of Pocket Expenses                                                                          $            602,073.73


           Blended Hourly Rate                                                                          $    455.60

           1
               Rate increased due to promotion effective October 1, 2023.
           2
               Rates vary by service as per the Engagement Letters included in KPMG's Retention Application [D.I. 356].




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                                                                  EXHIBIT B

                                                                 Proterra Inc
                                                              Case No. 23-11120
                                            Summary of Hours and Discounted Fees Incurred by Category
                                                   October 1, 2023 through October 31, 2023


                                                                                             Total          Total Fees
                  Category                                                    Exhibit    Billed Hours       Requested

                  2023 Audit Services                                           C1            1,251.0   $     468,791.00
                  Tax Restructuring Services                                    C2              235.0   $     216,890.00
                  Audit - Out of Scope Services                                 C3               46.3   $      35,583.30
                  Retention Services                                            C4                2.1   $         968.00
                  Fee Application Preparation Services                          C5              113.8   $      28,662.00

                                            Total                                             1,648.2   $     750,894.30




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                                                          EXHIBIT C1

                                                          Proterra Inc
                                                       Case No. 23-11120
                                                       2023 Audit Services
                                            October 1, 2023 through October 31, 2023




 Name                       Date    Description                                             Hours    Rate        Amount

 Aden Cohen               10/02/23 (0.2) Call with P. Dela Rosa and A. Cohen (KPMG) to         0.2   $ 250   $       50.00
                                   discuss controls on the purchase screens.
 Patricia Anne Dela       10/02/23 (0.2) Call with P. Dela Rosa and A. Cohen (KPMG) to         0.2   $ 400   $       80.00
 Rosa                              discuss controls on the purchase screens.
 Maggie Lawler            10/02/23 (0.3) Senior Manager review, as of 10/02/23, of the         0.3   $ 455   $      136.50
                                   documentation of the scope of work for specific team
                                   members with tax knowledge.
 Aden Cohen               10/02/23 (0.5) Call with A. Heyne and A. Cohen (KPMG) to             0.5   $ 250   $      125.00
                                   discuss P. Dela Rosa's review comments regarding the
                                   purchases RA.
 Anna Heyne               10/02/23 (0.5) Call with A. Heyne and A. Cohen (KPMG) to             0.5   $ 350   $      175.00
                                   discuss P. Dela Rosa's review comments regarding the
                                   purchases RA.
 Brian Monahan            10/02/23 (0.5) Call with P. Anderson (KPMG), A. Pierce               0.5   $ 400   $      200.00
                                   (Protiviti), C. Rotondo (Protiviti) regarding KPMG
                                   comments on the Treasury RCM and follow up action
                                   items.
 Griffin Brewster         10/02/23 (1.0) Call with P. Anderson and G. Brewster (KPMG)          1.0   $ 350   $      350.00
                                   to discuss the status of Inventory walkthrough screen
                                   documentation within workpapers and next steps for
                                   finishing them by the end of the week, as of 10/02/03.

 Aden Cohen               10/02/23 (0.5) Discussed with P. Anderson and A. Cohen               0.5   $ 250   $      125.00
                                   (KPMG) clearing the review comments and the plan of
                                   action for the remaining open CERAMIC controls.
 Pat Anderson             10/02/23 (0.5) Discussed with P. Anderson and A. Cohen               0.5   $ 400   $      200.00
                                   (KPMG) clearing the review comments and the plan of
                                   action for the remaining open CERAMIC controls.

 Pat Anderson             10/02/23 (1.0) Discussion with team member G. Brewster               1.0   $ 400   $      400.00
                                   (KPMG) regarding the status, as of 10/02/23, of
                                   inventory walkthrough documentation and plan of
                                   action moving forward.
 Sushant Kodiyal          10/02/23 (1.0) Meeting to discuss the GITC review comments           1.0   $ 470   $      470.00
                                   and ITAC and IPE control scoping, as of 10/02/23.
                                   Attendees - Z. Arami and S. Kodiyal (KPMG).
 Zaya Shahbaz             10/02/23 (1.0) Meeting to discuss the GITC review comments           1.0   $ 255   $      255.00
 Arami                             and ITAC and IPE control scoping, as of 10/02/23.
                                   Attendees - Z. Arami and S. Kodiyal (KPMG).
 Pat Anderson             10/02/23 (1.0) Performed manager review, as of 10/02/23, of          1.0   $ 400   $      400.00
                                   walkthrough documentation regarding inventory
                                   completed by G. Brewster (KPMG).




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                                                       EXHIBIT C1

                                                        Proterra Inc
                                                     Case No. 23-11120
                                                     2023 Audit Services
                                          October 1, 2023 through October 31, 2023




 Name                       Date   Description                                           Hours    Rate        Amount

 Patricia Anne Dela    10/02/23 (1.0)Senior associate review, as of 10/2, of comments       1.0   $ 400   $      400.00
 Rosa                           regarding Litigation RA as well as finalized the
                                assessment as addressed by A. Cohen (KPMG).
 Anna Heyne            10/02/23 (1.3) Continued, from earlier on 10/02/23, to update        1.3   $ 350   $      455.00
                                the excel testing template for revenue transit samples
                                as required for FY 23 audit.
 Aden Cohen            10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,         1.5   $ 250   $      375.00
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.
 Griffin Brewster      10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,         1.5   $ 350   $      525.00
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.
 Patricia Anne Dela Ro 10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,         1.5   $ 400   $      600.00
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.
 Chien Wang            10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,         1.5   $ 350   $      525.00
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.
 Maggie Lawler         10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,         1.5   $ 455   $      682.50
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.
 Steven Morgan         10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,         1.5   $ 550   $      825.00
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.




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                                                        EXHIBIT C1

                                                        Proterra Inc
                                                     Case No. 23-11120
                                                     2023 Audit Services
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 Name                       Date   Description                                             Hours    Rate        Amount

 Anna Heyne            10/02/23 (1.5) Call with S. Morgan, M. Lawler, P. Dela Rosa,           1.5   $ 350   $      525.00
                                G. Brewster, A. Heyne, C. Wang and A. Cohen
                                (KPMG) to discuss expectations and standards of
                                preparing the design and implementation screen in
                                workpapers and the process of reviewing the client's
                                work.
 Aden Cohen            10/02/23 (1.9) Cleared review comments regarding the Risk              1.9   $ 250   $      475.00
                                assessment process, as of 10/02/23.
 Zaya Shahbaz          10/02/23 (2.0) Cleared, concurrently responded to comments             2.0   $ 255   $      510.00
 Arami                          provided by the team regarding access controls, as of
                                10/02/23.
 Patricia Anne Dela Ro 10/02/23 (2.0) Cleared comments from Manager regarding                 2.0   $ 400   $      800.00
                                Entity and its environment screen in workpapers, as of
                                10/02/23.
 Patricia Anne Dela    10/02/23 (2.0) Cleared comments Manager regarding FRA and              2.0   $ 400   $      800.00
 Rosa                           HRK journal entry criteria, as of 10/02/23.
 Griffin Brewster      10/02/23 (2.0) Continued, from earlier on 10/02/23, reviewing          2.0   $ 350   $      700.00
                                the In-Transit and Cut-off sub-process walkthrough
                                recordings, concurrently noting important information
                                discussed, documenting the respective walkthrough
                                screens for each process on workpapers.
 Hillary Downey        10/02/23 (2.0) Manager review, as of 10/02/23, of working              2.0   $ 550   $    1,100.00
                                papers for GITC tests of design within workpapers.
 Pat Anderson          10/02/23 (2.0) Reviewed, as of 10/02/23, the CERAMIC control           2.0   $ 400   $      800.00
                                documentation within the audit file, composed review
                                comments.
 Aden Cohen            10/02/23 (3.0) Prepared client deliverable documentation to            3.0   $ 250   $      750.00
                                send to OKE for processing.
 Chien Wang            10/02/23 (3.0) Senior Associate review, as of 10/02/23, of the         3.0   $ 350   $    1,050.00
                                provided Internal Audit documentation as well as the
                                instances of the treasury controls operating to
                                understand control attributes within the control.
 Anna Heyne            10/02/23 (3.1) Updated, as of 10/2/23, the excel testing template      3.1   $ 350   $    1,085.00
                                for revenue transit samples as required for FY 23
                                audit.
 Griffin Brewster      10/02/23 (3.5) Reviewed, as of 10/02/23, the recordings of the         3.5   $ 350   $    1,225.00
                                inventory process walkthroughs, specifically for the In-
                                Transit and Cut-off sub-processes, concurrently noting
                                important information discussed, documenting the
                                respective walkthrough screens for each process on
                                workpapers.




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                                                          Proterra Inc
                                                       Case No. 23-11120
                                                       2023 Audit Services
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 Name                       Date    Description                                            Hours    Rate        Amount

 Chien Wang               10/02/23 (3.5) Senior Associate review, as of 10/02/23, of the      3.5   $ 350   $    1,225.00
                                   provided Internal Audit documentation as well as the
                                   instances of the equity controls operating to
                                   understand control attributes within the control.
 Pat Anderson             10/03/23 (0.5) Call with B. Monahan and P. Anderson (KPMG)          0.5   $ 400   $      200.00
                                   to discuss the status of the treasury process area
                                   documentation, as of 10/03/23.
 Brian Monahan            10/03/23 (0.5) Call with B. Monahan and P. Anderson (KPMG)          0.5   $ 400   $      200.00
                                   to discuss the status of the treasury process area
                                   documentation, as of 10/03/23.
 Hillary Downey           10/03/23 (0.5) Call with H. Downey, S. Kodiyal, Z. Arami            0.5   $ 550   $      275.00
                                   (KPMG), S. Duby, A. McDonnell (Protiviti), and M.
                                   Orosa (Proterra) to discuss IT testing status and
                                   findings, as of 10/03/23.
 Sushant Kodiyal          10/03/23 (0.5) Call with H. Downey, S. Kodiyal, Z. Arami            0.5   $ 470   $      235.00
                                   (KPMG), S. Duby, A. McDonnell (Protiviti), and M.
                                   Orosa (Proterra) to discuss IT testing status and
                                   findings, as of 10/03/23.
 Zaya Shahbaz             10/03/23 (0.5) Call with H. Downey, S. Kodiyal, Z. Arami            0.5   $ 255   $      127.50
 Arami                             (KPMG), S. Duby, A. McDonnell (Protiviti), and M.
                                   Orosa (Proterra) to discuss IT testing status and
                                   findings, as of 10/03/23.
 Sushant Kodiyal          10/03/23 (0.5) Call with Other KPMG Entity (OKE) team to            0.5   $ 470   $      235.00
                                   discuss on FRP ITAC testing. Attendees - H. Downey,
                                   Z. Arami, S. Kodiyal (KPMG), Rupak G and Milbro F
                                   (KPMG).
 Hillary Downey           10/03/23 (0.5) Call with Other KPMG Entity (OKE) team to            0.5   $ 550   $      275.00
                                   discuss on FRP ITAC testing. Attendees - H. Downey,
                                   Z. Arami, S. Kodiyal (KPMG), Rupak G and Milbro F
                                   (KPMG).
 Maggie Lawler            10/03/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates and S.      0.5   $ 455   $      227.50
                                   Kodiyal (KPMG), regarding company's proposed
                                   determination of Key Information technology access
                                   controls to prepare for meeting with company on
                                   10/6/23.
 Steven Morgan            10/03/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates and S.      0.5   $ 550   $      275.00
                                   Kodiyal (KPMG), regarding company's proposed
                                   determination of Key Information technology access
                                   controls to prepare for meeting with company on
                                   10/6/23.




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                                                         EXHIBIT C1

                                                          Proterra Inc
                                                       Case No. 23-11120
                                                       2023 Audit Services
                                            October 1, 2023 through October 31, 2023




 Name                       Date    Description                                            Hours    Rate        Amount

 Hillary Downey           10/03/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates and S.      0.5   $ 550   $      275.00
                                   Kodiyal (KPMG), regarding company's proposed
                                   determination of Key Information technology access
                                   controls to prepare for meeting with company on
                                   10/6/23.
 Sushant Kodiyal          10/03/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates and S.      0.5   $ 470   $      235.00
                                   Kodiyal (KPMG), regarding company's proposed
                                   determination of Key Information technology access
                                   controls to prepare for meeting with company on
                                   10/6/23.
 Pat Anderson             10/03/23 (0.5) Continued, as of 10/03/23, to perform manager        0.5   $ 400   $      200.00
                                   review, as of 10/03/23, of the inventory walkthrough
                                   documentation completed by G. Brewster (KPMG).
 Maggie Lawler            10/03/23 (0.6) Senior manager review, as of 10/03/23, of            0.6   $ 455   $      273.00
                                   management's controls regarding journal entries.
 Maggie Lawler            10/03/23 (0.8) Call between M. Lawler and L. Lin (KPMG) to          0.8   $ 455   $      364.00
                                   discuss the status and scoping of controls for the
                                   human resources and purchases process, as of
                                   10/03/23.
 Lynn Lin                 10/03/23 (1.0) Continued, as of 10/03/23, to perform manager        1.0   $ 400   $      400.00
                                   review regarding payroll walkthrough documentation
                                   relating to new hires.
 Hillary Downey           10/03/23 (1.0) Manager review, as of 10/03/23, of FRP ITAC          1.0   $ 550   $      550.00
                                   scoping documentation as well as provide comments
                                   to KPMG team for gaps.
 Sam Oswald               10/03/23 (1.5) Continued, from earlier on 10/03/23, to prepare      1.5   $ 350   $      525.00
                                   the TB Mapping / Scoping Alteryx Routine by
                                   implementing, refining and updating as needed the
                                   account mapping in Alteryx.
 Griffin Brewster         10/03/23 (1.6) Continued, from earlier on 10/03/23, to review       1.6   $ 350   $      560.00
                                   the recording of the Annual physical count inventory
                                   sub-process walkthrough, as well as the Inventory
                                   Reconciliation walkthrough, concurrently noting
                                   important information discussed, documenting the
                                   respective walkthrough screens for each process on
                                   workpapers.
 Aden Cohen               10/03/23 (1.7) Continued, from earlier on 10/03/23, the             1.7   $ 250   $      425.00
                                   preparation of the control screens in the purchase
                                   controls processes.
 Anna Heyne               10/03/23 (2.0) Senior Associate review, as of 10/03/23, month       2.0   $ 350   $      700.00
                                   and quarter end reconciliations walkthrough for the
                                   FY23 Audit within KPMG Clara.




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                                                           Proterra Inc
                                                        Case No. 23-11120
                                                        2023 Audit Services
                                             October 1, 2023 through October 31, 2023




 Name                       Date     Description                                              Hours    Rate        Amount

 Zaya Shahbaz             10/03/23 (2.5) Reviewed, as of 10/03/23, concurrently cleared          2.5   $ 255   $      637.50
 Arami                             comments regarding the change management controls
                                   in order to finalize the review.
 Maggie Lawler            10/03/23 (2.8) Senior Manager review, as of 10/03/23, of the IT        2.8   $ 455   $    1,274.00
                                   environment understanding and RA.
 Griffin Brewster         10/03/23 (2.9) Reviewed, as of 10/03/23, the recordings of the         2.9   $ 350   $    1,015.00
                                   inventory process walkthroughs, particularly the
                                   annual physical count sub-process, concurrently noting
                                   important information discussed, documenting the
                                   respective walkthrough screens for each process on
                                   workpapers.
 Aden Cohen               10/03/23 (3.1) Preparation of the documentation of the RA (as          3.1   $ 250   $      775.00
                                   required) regarding the purchase Risk processes.
 Aden Cohen               10/03/23 (3.2) Preparation of the control screens in the purchase      3.2   $ 250   $      800.00
                                   controls processes.
 Sam Oswald               10/03/23 (3.5) Began to prepare the TB Mapping / Scoping               3.5   $ 350   $    1,225.00
                                   Alteryx Routine by implementing, refining and
                                   updating as needed the account mapping in Alteryx.
 Griffin Brewster         10/03/23 (3.5) Continued, as of 10/03/23, to review the                3.5   $ 350   $    1,225.00
                                   recording of the Inventory Reconciliation
                                   walkthrough, concurrently noting important
                                   information discussed, documenting the respective
                                   walkthrough screens for each process on workpapers.
 Aden Cohen               10/04/23 (0.2) Call with A.Heyne and A. Cohen (KPMG) to                0.2   $ 250   $       50.00
                                   discuss controls on the purchase screens.
 Anna Heyne               10/04/23 (0.2) Call with A.Heyne and A. Cohen (KPMG) to                0.2   $ 350   $       70.00
                                   discuss controls on the purchase screens.
 Brian Monahan            10/04/23 (0.2) Draft email communication of the results of the         0.2   $ 400   $       80.00
                                   call on Monday with Protiviti to other members of the
                                   KPMG team who were not able to attend.
 Lynn Lin                 10/04/23 (0.3) Review, as of 10/04/23, of the follow-up                0.3   $ 400   $      120.00
                                   walkthrough request tracker in order to follow up with
                                   Client.
 Brian Monahan            10/04/23 (0.3) Reviewing, as of 10/04/23, the status of the            0.3   $ 400   $      120.00
                                   warranty walkthrough documentation, including
                                   communicating with G. Brewster (KPMG) as to the
                                   status of the items in his queue to be cleared.
 Patricia Anne Dela       10/04/23 (0.5) Call with C. Wang and P. Dela Rosa (KPMG) to            0.5   $ 400   $      200.00
 Rosa                              discuss the expectations on reviewing the D&I for
                                   equity controls.
 Chien Wang               10/04/23 (0.5) Call with C. Wang and P. Dela Rosa (KPMG) to            0.5   $ 350   $      175.00
                                   discuss the expectations on reviewing the D&I for
                                   equity controls.



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 Hillary Downey           10/04/23 (0.5) Call with H. Downey, S. Kodiyal and Z. Arami         0.5   $ 550   $       275.00
                                   (KPMG) to discuss required attributes for user access
                                   review general IT controls and comparison of required
                                   attributes vs. attributes defined by Company.
 Zaya Shahbaz             10/04/23 (0.5) Call with H. Downey, S. Kodiyal and Z. Arami         0.5   $ 255   $       127.50
 Arami                             (KPMG) to discuss required attributes for user access
                                   review general IT controls and comparison of required
                                   attributes vs. attributes defined by Company.

 Sushant Kodiyal          10/04/23 (0.5) Call with H. Downey, S. Kodiyal and Z. Arami         0.5   $ 470   $       235.00
                                   (KPMG) to discuss required attributes for user access
                                   review general IT controls and comparison of required
                                   attributes vs. attributes defined by Company.

 Maggie Lawler            10/04/23 (0.5) Call with S. Morgan, M. Lawler (KPMG), and J.        0.5   $ 455   $       227.50
                                   Embt (Proterra) to discuss KPMG requirements for the
                                   legal letter in regards to the Q3 review.
 Steven Morgan            10/04/23 (0.5) Call with S. Morgan, M. Lawler (KPMG), and J.        0.5   $ 550   $       275.00
                                   Embt (Proterra) to discuss KPMG requirements for the
                                   legal letter in regards to the Q3 review.
 Aden Cohen               10/04/23 (0.5) Call with L. Lin, P Dela Rosa and A. Cohen           0.5   $ 250   $       125.00
                                   (KPMG) to discuss the follow up questions prepared
                                   to complete the RA over purchases risk.
 Patricia Anne Dela       10/04/23 (0.5) Call with L. Lin, P Dela Rosa and A. Cohen           0.5   $ 400   $       200.00
 Rosa                              (KPMG) to discuss the follow up questions prepared
                                   to complete the RA over purchases risk.
 Lynn Lin                 10/04/23 (0.5) Call with L. Lin, P Dela Rosa and A. Cohen           0.5   $ 400   $       200.00
                                   (KPMG) to discuss the follow up questions prepared
                                   to complete the RA over purchases risk.
 Pat Anderson             10/04/23 (0.6) Continued, as of 10/04/23, to perform manager        0.6   $ 400   $       240.00
                                   review of inventory walkthrough documentation
                                   completed by G. Brewster (KPMG).
 Aden Cohen               10/04/23 0.6 Cleared review comments from manager                   0.6   $ 250   $       150.00
                                   regarding the CERAMIC Controls process, as of
                                   10/04/23.
 Lynn Lin                 10/04/23 (0.8) Prepared YTD Q2'23 revenue mapping by                0.8   $ 400   $       320.00
                                   revenue stream for revenue RA discussion with team.

 Anna Heyne               10/04/23 (0.9) Call with L. Lin and A. Heyne (KPMG) to              0.9   $ 350   $       315.00
                                   discuss questions on interim transit revenue samples.
 Lynn Lin                 10/04/23 (0.9) Call with L. Lin and A. Heyne (KPMG) to              0.9   $ 400   $       360.00
                                   discuss questions on interim transit revenue samples.




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 Maggie Lawler            10/04/23 (1.0) Call with M. Lawler and P. Dela Rosa (KPMG)            1.0   $ 455   $       455.00
                                   to discuss fixed assets risk screen and expectation for
                                   documenting the business process screen in
                                   workpapers.
 Patricia Anne Dela       10/04/23 (1.0) Call with M. Lawler and P. Dela Rosa (KPMG)            1.0   $ 400   $       400.00
 Rosa                              to discuss fixed assets risk screen and expectation for
                                   documenting the business process screen in
                                   workpapers.
 Aden Cohen               10/04/23 (1.0) Call with S. Morgan, M. Lawler, L. Lin, A.             1.0   $ 250   $       250.00
                                   Cohen, and A. Heyne (KPMG) to discuss proposed
                                   final considerations for RA for each of the revenue
                                   processes of the company.
 Lynn Lin                 10/04/23 (1.0) Call with S. Morgan, M. Lawler, L. Lin, A.             1.0   $ 400   $       400.00
                                   Cohen, and A. Heyne (KPMG) to discuss proposed
                                   final considerations for RA for each of the revenue
                                   processes of the company.
 Anna Heyne               10/04/23 (1.0) Call with S. Morgan, M. Lawler, L. Lin, A.             1.0   $ 350   $       350.00
                                   Cohen, and A. Heyne (KPMG) to discuss proposed
                                   final considerations for RA for each of the revenue
                                   processes of the company.
 Maggie Lawler            10/04/23 (1.0) Call with S. Morgan, M. Lawler, L. Lin, A.             1.0   $ 455   $       455.00
                                   Cohen, and A. Heyne (KPMG) to discuss proposed
                                   final considerations for RA for each of the revenue
                                   processes of the company.
 Steven Morgan            10/04/23 (1.0) Call with S. Morgan, M. Lawler, L. Lin, A.             1.0   $ 550   $       550.00
                                   Cohen, and A. Heyne (KPMG) to discuss proposed
                                   final considerations for RA for each of the revenue
                                   processes of the company.
 Hillary Downey           10/04/23 (1.0) Continued, as of 10/04/23, the manager review          1.0   $ 550   $       550.00
                                   of FRP ITAC scoping documentation as well as
                                   provide comments to KPMG team for gaps.
 Hillary Downey           10/04/23 (1.0) Manager review, as of 10/04/23, of working             1.0   $ 550   $       550.00
                                   papers for GITC tests of design within workpapers.
 Sam Oswald               10/04/23 (1.1) Continued, from earlier on 10/04/23, to test the       1.1   $ 350   $       385.00
                                   Alteryx routine with the cleaned account mapping file
                                   which returned several different errors that required
                                   updates to the Alteryx tools to order to ensure the
                                   accuracy of the data being input into the system
                                   correctly to allow the correct data to be pulled.
 Chien Wang               10/04/23 (1.2) Prepared documentation, as of 10/4/23, of the          1.2   $ 350   $       420.00
                                   assessment of the test of design for equity control
                                   activities.




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 Anna Heyne               10/04/23 (1.5) Call with L. Lin and A. Heyne (KPMG) to                1.5   $ 350   $       525.00
                                   continue discussion regarding interim transit revenue
                                   samples as well as powered revenue samples.
 Lynn Lin                 10/04/23 (1.5) Call with L. Lin and A. Heyne (KPMG) to                1.5   $ 400   $       600.00
                                   continue discussion regarding interim transit revenue
                                   samples as well as powered revenue samples.
 Anna Heyne               10/04/23 (1.5) Update, as of 10/04/23, the revenue lead sheet in      1.5   $ 350   $       525.00
                                   excel for items discussed during RA meeting.

 Pat Anderson             10/04/23 (2.0) Continued, as of 10/04/23, the review of the           2.0   $ 400   $       800.00
                                   CERAMIC control documentation within the audit
                                   file, composed review comments.
 Lynn Lin                 10/04/23 (2.0) Perform manager review, as of 10/04/23,                2.0   $ 400   $       800.00
                                   regarding payroll walkthrough documentation relating
                                   to employee information changes and time recording.

 Zaya Shahbaz             10/04/23 (2.5) Reviewed, as of 10/04/23, concurrently updated         2.5   $ 255   $       637.50
 Arami                             documentation for the general IT user access review
                                   controls based on updated support provided by the
                                   Company.
 Aden Cohen               10/04/23 (3.0) Cleared review comments left by manager on the         3.0   $ 250   $       750.00
                                   Risk assessment process, as of 10/04/23.
 Chien Wang               10/04/23 (3.0) Documented the Control attributes for Equity           3.0   $ 350   $     1,050.00
                                   control activities 8.2. with workpapers.
 Patricia Anne Dela       10/04/23 (3.0) Perform RA over non-relevant business                  3.0   $ 400   $     1,200.00
 Rosa                              processes such as other receivables, other assets as
                                   well as other expenses.
 Patricia Anne Dela       10/04/23 (3.0) Review, as of 10/04/23, of TB account mapping,         3.0   $ 400   $     1,200.00
 Rosa                              concurrently update the financial statement module in
                                   workpapers in order to properly map all accounts per
                                   business process.
 Chien Wang               10/04/23 (3.3) Analyzed by comparison, the difference between         3.3   $ 350   $     1,155.00
                                   the control activities within workpapers, concurrently
                                   finalized RCM.
 Aden Cohen               10/04/23 (3.4) Continued, as of 10/04/23, to prepare the control      3.4   $ 250   $       850.00
                                   screens in the purchase controls processes.




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 Griffin Brewster         10/04/23 (3.6) Continued, from earlier on 10/04/23, reviewing           3.6   $ 350   $     1,260.00
                                   the recording of the Costing & Capitalization sub-
                                   process walkthrough as well as began to review and
                                   record the walkthrough related to the Management
                                   Review Board (MRB) and Vendor RMA sub-
                                   processes, concurrently noting important information
                                   discussed, documenting the respective walkthrough
                                   screens for each process on workpapers.
 Sam Oswald               10/04/23 (3.9) Tested the Alteryx routine with the cleaned              3.9   $ 350   $     1,365.00
                                   account mapping file which returned several different
                                   errors that required updates to the Alteryx tools to
                                   order to ensure the accuracy of the data being input
                                   into the system correctly to allow the correct data to be
                                   pulled.
 Griffin Brewster         10/04/23 (3.9) Reviewed, as of 10/04/23, the recording of the           3.9   $ 350   $     1,365.00
                                   Costing & Capitalization sub-process walkthrough for
                                   Inventory, concurrently noting important information
                                   discussed, documenting the respective walkthrough
                                   screens for each process on workpapers.
 Christopher Hurd         10/05/23 Call with S. Morgan, C. Hurd - partial, M. Lawler and          0.3   $ 550   $       165.00
                                   P. Dela Rosa (KPMG) to discuss and finalize the
                                   engagement team's FRA for Proterra and HRK journal
                                   entry criteria.
 Hillary Downey           10/05/23 (0.5) Call with H. Downey, D. Rotman, S. Kodiyal and           0.5   $ 550   $       275.00
                                   Z. Arami (KPMG) to discuss engagement testing
                                   status, as of 10/05/23, including the response to
                                   findings requiring follow-up.
 Sushant Kodiyal          10/05/23 (0.5) Call with H. Downey, D. Rotman, S. Kodiyal and           0.5   $ 470   $       235.00
                                   Z. Arami (KPMG) to discuss engagement testing
                                   status, as of 10/05/23, including the response to
                                   findings requiring follow-up.
 Zaya Shahbaz             10/05/23 (0.5) Call with H. Downey, D. Rotman, S. Kodiyal and           0.5   $ 255   $       127.50
 Arami                             Z. Arami (KPMG) to discuss engagement testing
                                   status, as of 10/05/23, including the response to
                                   findings requiring follow-up.
 Doron Rotman             10/05/23 (0.5) Call with H. Downey, D. Rotman, S. Kodiyal and           0.5   $ 580   $       290.00
                                   Z. Arami (KPMG) to discuss engagement testing
                                   status, as of 10/05/23, including the response to
                                   findings requiring follow-up.
 Pat Anderson             10/05/23 (0.5) Continued, as of 10/05/23, to perform manager            0.5   $ 400   $       200.00
                                   review of walkthrough inventory documentation
                                   completed by G. Brewster (KPMG).



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 Zaya Shahbaz             10/05/23 (0.5) Met with the OKE team to review the status of          0.5   $ 255   $       127.50
 Arami                             their deliverables as well as status of Test of
                                   effectiveness testing, as of 10/05/23, with K. Selvan
                                   and J. Kumar (OKE).
 Steven Morgan            10/05/23 Call with S. Morgan, C. Hurd - partial, M. Lawler and        0.5   $ 550   $       275.00
                                   P. Dela Rosa (KPMG) to discuss and finalize the
                                   engagement team's FRA and HRK journal entry
                                   criteria.
 Patricia Anne Dela       10/05/23 Call with S. Morgan, C. Hurd - partial, M. Lawler and        0.5   $ 400   $       200.00
 Rosa                              P. Dela Rosa (KPMG) to discuss and finalize the
                                   engagement team's FRA and HRK journal entry
                                   criteria.
 Maggie Lawler            10/05/23 Call with S. Morgan, C. Hurd - partial, M. Lawler and        0.5   $ 455   $       227.50
                                   P. Dela Rosa (KPMG) to discuss and finalize the
                                   engagement team's FRA and HRK journal entry
                                   criteria.
 Griffin Brewster         10/05/23 (0.6) Continued, from 10/04/23, to review the MRB            0.6   $ 350   $       210.00
                                   sub-process walkthrough recording, concurrently
                                   noting important information discussed, documenting
                                   the respective walkthrough screens for each process on
                                   workpapers.
 Anna Heyne               10/05/23 (0.7) Continued, from earlier on 10/5/23, to review the      0.7   $ 350   $       245.00
                                   contract review as well as approval walkthrough
                                   within workpapers in order to make necessary
                                   adjustments to documentation.
 Maggie Lawler            10/05/23 (0.7) Senior manager updates, as of 10/05/23, to the         0.7   $ 455   $       318.50
                                   documentation of the HRK journal entry criteria and
                                   planned journal entry testing.
 Lynn Lin                 10/05/23 (0.8) Call with M. Lawler and L. Lin (KPMG)                  0.8   $ 400   $       320.00
                                   regarding HR WT documentation requirement,
                                   key/non-key control determination on employee
                                   termination and payroll JE recording.
 Maggie Lawler            10/05/23 (0.8) Call with M. Lawler and L. Lin (KPMG)                  0.8   $ 455   $       364.00
                                   regarding HR WT documentation requirement,
                                   key/non-key control determination on employee
                                   termination and payroll JE recording.
 Hillary Downey           10/05/23 (1.0) Continued, as of 10/05/23, manager review of           1.0   $ 550   $       550.00
                                   working papers for GITC tests of design within
                                   workpapers.
 Aden Cohen               10/05/23 (1.0) Cleared assigned review comments regarding the         1.0   $ 250   $       250.00
                                   Risk assessment process, as of 10/05/23.




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 Steven Morgan            10/05/23 (1.0) Partner review, as of 10/05/23, of the                 1.0   $ 550   $       550.00
                                   understanding and walkthrough screens in the Equity
                                   process.
 Steven Morgan            10/05/23 (1.0) Partner review, as of 10/05/23, of the                 1.0   $ 550   $       550.00
                                   understanding and walkthrough screens in the Human
                                   resources process.
 Aden Cohen               10/05/23 (1.0) Preparation of the documentation of the RA             1.0   $ 250   $       250.00
                                   regarding the purchase Risk processes.
 Griffin Brewster         10/05/23 (1.1) Continued, from earlier on 10/05/23, to review         1.1   $ 350   $       385.00
                                   recordings of the inventory process walkthroughs,
                                   particularly for the Item set-up and Receiving, Scrap
                                   and Returns sub-processes, concurrently noting
                                   important information discussed, documenting the
                                   respective walkthrough screens for each process on
                                   workpapers.
 Anna Heyne               10/05/23 (1.5) Reviewed, as of 10/05/23, the PTP 1.1 purchases        1.5   $ 350   $       525.00
                                   control over the vendor Masterfile maintenance, as
                                   required for the FY23 Audit, within KPMG Clara.

 Lynn Lin                 10/05/23 (1.6) Perform manager review, as of 10/05/23, of             1.6   $ 400   $       640.00
                                   payroll walkthrough documentation relating to
                                   employee termination and payroll processing.
 Sam Oswald               10/05/23 (1.9) Continued, from earlier on 10/05/23, to begin to       1.9   $ 350   $       665.00
                                   clean / preprocess the scoping file in Excel which
                                   included the removal of blank rows, clearing
                                   formatting as well as ensuring all the data was
                                   organized correctly which would allow the stacking of
                                   different periods of data on top of each other so
                                   Alteryx could read it in an effective and correct way.
 Chien Wang               10/05/23 (2.0) Continued, as of 10/05/23, to analyze by               2.0   $ 350   $       700.00
                                   comparison, the difference between the control
                                   activities within workpapers, finalized RCM.
 Anna Heyne               10/05/23 (2.1) Review, as of 10/05/23, of the revenue                 2.1   $ 350   $       735.00
                                   recognition walkthrough within workpapers,
                                   concurrently updated documentation as necessary.
 Aden Cohen               10/05/23 (2.2) Continued, from earlier on 10/05/23, to prepare        2.2   $ 250   $       550.00
                                   the control screens in the purchase controls processes.

 Zaya Shahbaz             10/05/23 (2.5) Reviewed, as of 10/05/23, concurrently                 2.5   $ 255   $       637.50
 Arami                             documented the AC-04 termination control for TOE
                                   testing in order to send it for review to ensure
                                   termination control is working properly.




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 Griffin Brewster         10/05/23 (3.1) Reviewed, as of 10/05/23, the recordings of the         3.1   $ 350   $     1,085.00
                                   inventory process walkthroughs, particularly for the
                                   Item set-up and Receiving, Scrap and Returns sub-
                                   processes, concurrently noting important information
                                   discussed, documenting the respective walkthrough
                                   screens for each process on workpapers.
 Sam Oswald               10/05/23 (3.1) Began to clean / preprocess the scoping file in         3.1   $ 350   $     1,085.00
                                   Excel which included the removal of blank rows,
                                   clearing formatting as well as ensuring all the data was
                                   organized correctly which would allow the stacking of
                                   different periods of data on top of each other so
                                   Alteryx could read it in an effective and correct way.

 Griffin Brewster         10/05/23 (3.2) Reviewed, as of 10/05/23, the recordings of the         3.2   $ 350   $     1,120.00
                                   inventory walkthroughs, specifically related to LCM
                                   and Excess & Obsolete (E&O) sub-processes,
                                   concurrently noting important information discussed,
                                   documenting the respective walkthrough screens for
                                   each process on workpapers.
 Maggie Lawler            10/05/23 (3.2) Senior Manager review, as of 10/05/23, of the           3.2   $ 455   $     1,456.00
                                   documentation related to the equity process
                                   understanding, including the process for: grants,
                                   cancellations and modifications, RSU releases and
                                   equity related disclosures.
 Anna Heyne               10/05/23 (3.4) Review, as of 10/05/23, the contract review as          3.4   $ 350   $     1,190.00
                                   well as approval walkthrough within workpapers in
                                   order to make necessary adjustments to
                                   documentation.
 Aden Cohen               10/05/23 (3.8) Continued, as of 10/05/23, to prepare the control       3.8   $ 250   $       950.00
                                   screens in the purchase controls processes.
 Doron Rotman             10/06/23 (0.2) Communication regarding the FRP ITAC                    0.2   $ 580   $       116.00
                                   scoping / approach to gaps on process risks including
                                   Oracle journal sources configuration.
 Lynn Lin                 10/06/23 (0.2) Review, as of 10/06/23, the latest PTP Risk             0.2   $ 400   $        80.00
                                   Control Matrix in order to determine if controls are in
                                   scope for testing FY23.
 Doron Rotman             10/06/23 (0.3) Review, as of 10/06/23, the FRP ITAC proposed           0.3   $ 580   $       174.00
                                   controls as well as identify potential gaps.
 Lynn Lin                 10/06/23 (0.3) Review, as of 10/06/23, the latest Payroll Risk         0.3   $ 400   $       120.00
                                   Control Matrix as well as determine controls in scope
                                   for testing FY23.




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 Lynn Lin                 10/06/23 (0.4) Meeting with M. Lawler and L. Lin to discuss            0.4   $ 400   $       160.00
                                   scoping and testing status for PTP and HR controls as
                                   of 10/6/23
 Steven Morgan            10/06/23 (0.5) Call with S. Morgan, M. Lawler, (KPMG), D.              0.5   $ 550   $       275.00
                                   Crane, A. Pierce, C. Rotondo, S. Duby, C. Sorrano, R.
                                   Neff (Protiviti) and J. Embt (Proterra) regarding status
                                   of company's internal testing, walkthroughs and
                                   proposed next steps, as of 10/06/23.
 Maggie Lawler            10/06/23 (0.5) Call with S. Morgan, M. Lawler, (KPMG), D.              0.5   $ 455   $       227.50
                                   Crane, A. Pierce, C. Rotondo, S. Duby, C. Sorrano, R.
                                   Neff (Protiviti) and J. Embt (Proterra) regarding status
                                   of company's internal testing, walkthroughs and
                                   proposed next steps, as of 10/06/23.
 Maggie Lawler            10/06/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates, S.            0.5   $ 455   $       227.50
                                   Kodiyal (KPMG), D. Crane, A. Pierce, A. Haig, C.
                                   Rotondo (Protiviti) and M. Britsch (Proterra) regarding
                                   company's proposed determination of Key Information
                                   technology access controls.
 Steven Morgan            10/06/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates, S.            0.5   $ 550   $       275.00
                                   Kodiyal (KPMG), D. Crane, A. Pierce, A. Haig, C.
                                   Rotondo (Protiviti) and M. Britsch (Proterra) regarding
                                   company's proposed determination of Key Information
                                   technology access controls.
 Hillary Downey           10/06/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates, S.            0.5   $ 550   $       275.00
                                   Kodiyal (KPMG), D. Crane, A. Pierce, A. Haig, C.
                                   Rotondo (Protiviti) and M. Britsch (Proterra) regarding
                                   company's proposed determination of Key Information
                                   technology access controls.
 Sushant Kodiyal          10/06/23 (0.5) Call with S. Morgan, M. Lawler, H. Bates, S.            0.5   $ 470   $       235.00
                                   Kodiyal (KPMG), D. Crane, A. Pierce, A. Haig, C.
                                   Rotondo (Protiviti) and M. Britsch (Proterra) regarding
                                   company's proposed determination of Key Information
                                   technology access controls.
 Maggie Lawler            10/06/23 (0.5) Meeting with S. Morgan and M. Lawler (KPMG)             0.5   $ 455   $       227.50
                                   to discuss audit plan considerations relating to
                                   proposed timing on company's Test of effectiveness.

 Steven Morgan            10/06/23 (0.5) Meeting with S. Morgan and M. Lawler (KPMG)             0.5   $ 550   $       275.00
                                   to discuss audit plan considerations relating to
                                   proposed timing on company's Test of effectiveness.




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 Steven Morgan            10/06/23 (0.5) Partner clearance of review comments on the           0.5   $ 550   $       275.00
                                   risks and understanding documentation in the Human
                                   Resource/Payroll process prepared by the engagement
                                   team, as of 10/06/23.
 Lynn Lin                 10/06/23 (0.5) Perform manager review, as of 10/06/23, of            0.5   $ 400   $       200.00
                                   documentation of payroll process understanding.
 Sushant Kodiyal          10/06/23 (0.5) Review, as of 10/06/23, of GITC Test of               0.5   $ 470   $       235.00
                                   Operating Effectiveness Testing for Admin Testing.
 Patricia Anne Dela       10/06/23 (0.6) Continued, from earlier on 10/06/23, the              0.6   $ 400   $       240.00
 Rosa                              Manager review the test of design and implementation
                                   screen for Control 8.2 related to Equity.

 Pat Anderson             10/06/23 (0.6) Continued, as of 10/06/23, to perform manager         0.6   $ 400   $       240.00
                                   review of walkthrough inventory documentation
                                   completed by G. Brewster (KPMG).
 Steven Morgan            10/06/23 (0.6) Partner clearance of review comments on the           0.6   $ 550   $       330.00
                                   risks and understanding documentation in the Equity
                                   process prepared by the engagement team.
 Anna Heyne               10/06/23 (0.6) Review, from earlier on 10/06/23, the revenue         0.6   $ 350   $       210.00
                                   recognition walkthrough within workpapers in order to
                                   make necessary adjustments to documentation.
 Griffin Brewster         10/06/23 (0.8) Continued, from 10/05/23, to review recording of      0.8   $ 350   $       280.00
                                   the E&O sub-process walkthrough, concurrently
                                   noting important information discussed, documenting
                                   the respective walkthrough screens for each process on
                                   workpapers.
 Steven Morgan            10/06/23 (0.8) Partner review, as of 10/06/23, of the risks,         0.8   $ 550   $       440.00
                                   response and understanding screens relating to the
                                   equity process.
 Aden Cohen               10/06/23 (.9) Preparation of the Control screens within the HR       0.9   $ 250   $       225.00
                                   Understanding process.
 Patricia Anne Dela       10/06/23 (0.9) Continued, from earlier on 10/06/23, the              0.9   $ 400   $       360.00
 Rosa                              preparation of fixed asset RA including estimates
                                   module related to long-lived assets impairment
                                   indicators.
 Hillary Downey           10/06/23 (1.0) Continued, as of 10/06/23, manager review of          1.0   $ 550   $       550.00
                                   working papers for GITC tests of design within
                                   workpapers.
 Aden Cohen               10/06/23 (1.0) Call with A. Heyne and A. Cohen (KPMG) to             1.0   $ 250   $       250.00
                                   discuss updated for PTP 1.1 control.
 Anna Heyne               10/06/23 (1.0) Call with A. Heyne and A. Cohen (KPMG) to             1.0   $ 350   $       350.00
                                   discuss updated for PTP 1.1 control.




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 Zaya Shahbaz             10/06/23 (1.0) Cleared comments in AC-04 Test of Operating            1.0   $ 255   $       255.00
 Arami                             effectiveness testwork.
 Steven Morgan            10/06/23 (1.0) Partner review, as of 10/06/23, of the                 1.0   $ 550   $       550.00
                                   walkthrough documentation for the payroll process.
 Lynn Lin                 10/06/23 (1.0) Perform manager review, as of 10/06/23, of             1.0   $ 400   $       400.00
                                   payroll walkthrough documentation relating to payroll
                                   journal entry recording.
 Maggie Lawler            10/06/23 (1.1) Senior Manager updates, as of 10/06/23, to the         1.1   $ 455   $       500.50
                                   risk control matrix used for tracking control scoping
                                   determinations, as well as, status of testing.
 Maggie Lawler            10/06/23 (1.6) Senior Manager review, as of 10/06/23, of the          1.6   $ 455   $       728.00
                                   design of the planned substantive procedures to be
                                   performed.
 Zaya Shahbaz             10/06/23 (2.0) Reviewed, as of 10/06/23, concurrently                 2.0   $ 255   $       510.00
 Arami                             documented AC-01 provisioning control, needed to
                                   prepare as well as sent for manager review in order to
                                   ensure the control is working properly.
 Chien Wang               10/06/23 (2.0) Updating, as of 10/06/23, the documentation            2.0   $ 350   $       700.00
                                   within the audit workpapers for the Company's change
                                   in control scoping, referencing and control description
                                   for the current year for the treasury process.

 Maggie Lawler            10/06/23 (2.0) Continued, as of 10/06/23, the Senior Manager          2.0   $ 455   $       910.00
                                   review of the equity process walkthrough.
 Lynn Lin                 10/06/23 (2.0) Continued, from 10/5, to perform manager               2.0   $ 400   $       800.00
                                   review of payroll walkthrough documentation relating
                                   payroll processing.
 Griffin Brewster         10/06/23 (2.0) Continued, from earlier on 10/06/23, to transfer       2.0   $ 350   $       700.00
                                   questions and requests related to Inventory process
                                   walkthroughs into the Request Tracker within
                                   SharePoint that is shared between KPMG and
                                   Proterra/Protiviti, as of 10/06/23.
 Aden Cohen               10/06/23 (2.2) Cleared assigned review comments regarding the         2.2   $ 250   $       550.00
                                   CERAMIC Controls process, as of 10/06/23.
 Chien Wang               10/06/23 (2.3) Updating, as of 10/06/23, the documentation            2.3   $ 350   $       805.00
                                   within the audit workpapers for the Company's change
                                   in control scoping, referencing and control description
                                   for the current year for the treasury process.

 Griffin Brewster         10/06/23 (2.5) Began to transfer questions / requests related to      2.5   $ 350   $       875.00
                                   Inventory process walkthroughs into the Request
                                   Tracker within SharePoint that is shared between
                                   KPMG and Proterra/Protiviti, 10/06/23.


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 Patricia Anne Dela       10/06/23 (3.1) Preparation of fixed asset RA including estimates      3.1   $ 400   $     1,240.00
 Rosa                              module related to long-lived assets impairment
                                   indicators.
 Patricia Anne Dela       10/06/23 (3.4) Manager review, as of 10/06/23, the test of            3.4   $ 400   $     1,360.00
 Rosa                              design and implementation screen for Control 8.2
                                   related to Equity
 Griffin Brewster         10/06/23 (3.5) Continued, as of 10/06/23, to review recordings        3.5   $ 350   $     1,225.00
                                   of the inventory process walkthroughs, concurrently
                                   noting important information discussed, documenting
                                   the respective walkthrough screens for each process on
                                   workpapers.
 Anna Heyne               10/06/23 (3.5) Review, as of 10/06/23, the revenue recognition        3.5   $ 350   $     1,225.00
                                   walkthrough within workpapers in order to make
                                   necessary adjustments to documentation.
 Chien Wang               10/06/23 (3.7) Prepared documentation, as of 10/6/23, of the          3.7   $ 350   $     1,295.00
                                   assessment of the test of design for treasury controls.
 Aden Cohen               10/06/23 (3.9) Cleared assigned review comments regarding the         3.9   $ 250   $       975.00
                                   Purchase Control process, as of 10/06/23.
 Griffin Brewster         10/08/23 (3.0) Updated, as of 10/08/23, concurrently finalized        3.0   $ 350   $     1,050.00
                                   the walkthrough documentation on each respective
                                   Warranty sub-process understanding screen within
                                   workpapers.
 Kelly O'Leary            10/09/23 (0.2) Reviewed, as of 10/09/23, the warranty                 0.2   $ 350   $        70.00
                                   walkthroughs in order to perform a comparison to
                                   prior year to complete the understanding of the process
                                   in the file.
 Kati Walker              10/09/23 (0.3) Preparation of Treasury Risk responses screen          0.3   $ 350   $       105.00
                                   with documentation for audit file.
 Chien Wang               10/09/23 (0.5) Call with K. Walker, C. Wang and B. Monahan            0.5   $ 350   $       175.00
                                   (KPMG) to discuss Treasury control task expectations
                                   and next steps, as of 10/09/23.
 Brian Monahan            10/10/23 (0.5) Call with K. Walker, C. Wang and B. Monahan            0.5   $ 400   $       200.00
                                   (KPMG) to discuss Treasury control task expectations
                                   and next steps, as of 10/09/23.
 Kati Walker              10/09/23 (0.5) Call with K. Walker, C. Wang and B. Monahan            0.5   $ 350   $       175.00
                                   (KPMG) to discuss Treasury control task expectations
                                   and next steps, as of 10/09/23.
 Zaya Shahbaz             10/09/23 (0.5) Walkthrough Meeting with J. Embt, M. Britsch           0.5   $ 255   $       127.50
 Arami                             (Proterra), M. Lawler, S. Morgan, C. Rotondo, S.
                                   Kodiyal, Z. Shahbaz, A. Pierce and R. Reaves
                                   (KPMG) for 4.3 FRP ITAC




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 Sushant Kodiyal          10/09/23 (0.5) Walkthrough Meeting with J. Embt, M. Britsch          0.5   $ 470   $       235.00
                                   (Proterra), M. Lawler, S. Morgan, C. Rotondo, S.
                                   Kodiyal, Z. Shahbaz, A. Pierce and R. Reaves
                                   (KPMG) for 4.3 FRP ITAC
 Kelly O'Leary            10/09/23 (0.6) Call with P. Anderson (KPMG) to discuss               0.6   $ 350   $       210.00
                                   Proterra overview, Inventory and Warranty processes.

 Kelly O'Leary            10/09/23 (0.7) Call with P. Anderson (KPMG) to discuss next          0.7   $ 350   $       245.00
                                   steps, as of 10/09/23, regarding Inventory and
                                   Warranty processes.
 Maggie Lawler            10/09/23 (0.8) Senior Manager update, as of 10/09/23, to the         0.8   $ 455   $       364.00
                                   documentation of the entity understanding.
 Lynn Lin                 10/09/23 (0.9) Cleared comments provided by partner regarding        0.9   $ 400   $       360.00
                                   payroll walkthrough documentation on payroll
                                   processing, as of 10/09/23.
 Maggie Lawler            10/09/23 (1.0) Call with S. Kodiyal, Z. Arami, and M. Lawler         1.0   $ 455   $       455.00
                                   (KPMG) and M. British, A. Pierce, and J. Embt
                                   (Proterra) and C. Rotondo and A. Pierce (Protiviti) to
                                   discussion Oracle system configurations related to
                                   journal entry approval.
 Kelly O'Leary            10/09/23 (1.0) Discussed expectations and plan for the               1.0   $ 350   $       350.00
                                   inventory process documentation with K. O'Leary
                                   (KPMG).
 Pat Anderson             10/09/23 (1.0) Discussed expectations and plan for the               1.0   $ 400   $       400.00
                                   inventory process documentation with K. O'Leary
                                   (KPMG).
 Kelly O'Leary            10/09/23 (1.0) Discussed expectations and plan for the warranty      1.0   $ 350   $       350.00
                                   process documentation with K. O'Leary (KPMG).

 Pat Anderson             10/09/23 (1.0) Discussed expectations and plan for the warranty      1.0   $ 400   $       400.00
                                   process documentation with K. O'Leary (KPMG).

 Anna Heyne               10/09/23 (1.4) Continued, from earlier on 10/9/23, review            1.4   $ 350   $       490.00
                                   purchases controls as required for the FY23 Audit.
 Sushant Kodiyal          10/09/23 (1.5) Cleared comments provided by H. Downey and            1.5   $ 470   $       705.00
                                   M Lawler (KPMG) in regards to UAR GITC controls
                                   and IT Understanding section, as of 10/09/23.
 Aden Cohen               10/09/23 (1.5) Continued, from earlier on 10/09/23, the              1.5   $ 250   $       375.00
                                   preparation of the Control screens within the Human
                                   recourses controls processes.




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 Kati Walker              10/09/23 (1.5) Preparation of documentation around the             1.5   $ 350   $       525.00
                                   assessment of the test of design and implementation
                                   for Treasury controls TCM 5.1 and TCM 6.1.
 Kati Walker           10/09/23 (1.5) Preparation of Treasury response screen PRPs           1.5   $ 350   $       525.00
                                and control linking within workpapers.
 Patricia Anne Dela Ro 10/09/23 (1.9) Cleared comments within the Business Process           1.9   $ 400   $       760.00
                                screen, concurrently updated the workpapers mapping
                                of account balances based on the nature of the GL
                                accounts, as of 10/09/23.
 Kelly O'Leary         10/09/23 (2.0) Reviewed, as of 10/09/23, walkthroughs and             2.0   $ 350   $       700.00
                                understanding screens for Inventory and Warranty
                                processes in order to gain knowledge of the company
                                and industry to appropriately perform a RA.
 Zaya Shahbaz          10/09/23 (2.0) Continued, as of 10/09/23, to review the Access        2.0   $ 255   $       510.00
 Arami                          management control AC-04 to ensure it is working
                                correctly.
 Lynn Lin              10/09/23 (2.0) Perform manager review, as of 10/09/23, of             2.0   $ 400   $       800.00
                                payroll process RA previously reviewed by senior.
 Patricia Anne Dela    10/09/23 (2.0) Review, as of 10/09/23, the ESA8.2 control to          2.0   $ 400   $       800.00
 Rosa                           evaluate the design and implementation of the control
                                prepared by the internal audit.
 Griffin Brewster      10/09/23 (2.0) Updated, as of 10/09/23, concurrently finalized        2.0   $ 350   $       700.00
                                the walkthrough documentation on each respective
                                Inventory sub-process’ understanding screen within
                                workpapers.
 Steven Morgan         10/09/23 Partner review, as of 10/09/23, of payroll and bonus         2.0   $ 550   $     1,100.00
                                understanding screens, concurrently clearing of partner
                                comments.
 Chien Wang            10/09/23 (2.1) Documentation, as of 10/9/23, of the assessment        2.1   $ 350   $       735.00
                                of the test of design for equity control.
 Pat Anderson          10/09/23 (2.1) Reviewed, as of 10/09/23, inventory walkthrough        2.1   $ 400   $       840.00
                                documentation prepared by G. Brewster and K.
                                O'Leary (KPMG).
 Kelly O'Leary         10/09/23 (2.2) Began to build out inventory control                   2.2   $ 350   $       770.00
                                documentation in the current year file based on
                                walkthroughs with Protiviti and updated according to
                                current year RCM.
 Aden Cohen            10/09/23 (2.2) Continued, as of 10/09/23, to prepare the control      2.2   $ 250   $       550.00
                                screens in the purchase controls processes.
 Lynn Lin              10/09/23 (2.5) Perform manager review, as of 10/09/23, of             2.5   $ 400   $     1,000.00
                                payroll walkthrough documentation relating to payroll
                                accrual and payroll reconciliation.




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 Anna Heyne            10/09/23 Update, as of 10/09/23, of the human resources                  2.7   $ 350   $       945.00
                                understanding and risks screen within workpapers.
 Anna Heyne            10/09/23 (3.1) Review, as of 10/09/23, purchases controls as             3.1   $ 350   $     1,085.00
                                required for the FY23 Audit.
 Chien Wang            10/09/23 (3.3) Included all in-scope treasury controls within            3.3   $ 350   $     1,155.00
                                workpapers as well as began assessment of the test of
                                design of the treasury controls.
 Aden Cohen            10/09/23 (3.5) Preparation of the Control screens within the             3.5   $ 250   $       875.00
                                Human recourses controls processes.
 Brian Monahan         10/10/23 (0.4) Manager review, as of 10/10/23, of the test of            0.4   $ 400   $       160.00
                                design for treasury control activities.
 Kelly O'Leary         10/10/23 (0.5) Call with K. O'Leary and P. Anderson (KPMG)               0.5   $ 350   $       175.00
                                to discuss next steps, as of 10/10/23, regarding
                                Inventory and Warranty processes.
 Maggie Lawler         10/10/23 (0.5) Call with M. Lawler (KPMG) and J. Embt                    0.5   $ 455   $       227.50
                                (Proterra) to discuss audit progression.
 Patricia Anne Dela Ro 10/10/23 (0.5) Discussion with S. Morgan, M. Lawler and P.               0.5   $ 400   $       200.00
                                Dela Rosa (KPMG) regarding the RA over ASC 852
                                reorganization.
 Lynn Lin              10/10/23 (0.5) Manager review, as of 10/10/23, regarding the             0.5   $ 400   $       200.00
                                payroll process audit response for FY23
 Sushant Kodiyal       10/10/23 (0.5) Met with Proterra and Protiviti team to discuss           0.5   $ 470   $       235.00
                                the status of controls, testing control and outstanding
                                items, as of 10/10/23. Attendees - Z. Arami, H.
                                Downey and S. Kodiyal (KPMG), M. Orosa (Proterra)
                                and S. Duby (Protiviti).
 Zaya Shahbaz          10/10/23 (0.5) Met with Proterra and Protiviti team to discuss           0.5   $ 255   $       127.50
 Arami                          the status of controls, testing control and outstanding
                                items, as of 10/10/23. Attendees - Z. Arami, H.
                                Downey and S. Kodiyal (KPMG), M. Orosa (Proterra)
                                and S. Duby (Protiviti).
 Sushant Kodiyal       10/10/23 (0.5) Performed Manager review, as of 10/10/23, of              0.5   $ 470   $       235.00
                                the GITC review comments addressed by Z. Arami
                                (KPMG) for provisioning as well as password control.

 Anna Heyne               10/10/23 (0.6) Aggregate questions regarding revenue samples          0.6   $ 350   $       210.00
                                   for Proterra as required for the revenue meeting on
                                   10/11/23
 Aden Cohen               10/10/23 (0.6) Continued, from earlier on 10/10/23, to prepare        0.6   $ 250   $       150.00
                                   the control screens in the purchase controls processes.




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 Kati Walker           10/10/23 (0.6) Meeting with M. Lawler, L. Lin, P. Dela Rosa,             0.6   $ 350   $       210.00
                                A. Heyne and K. Walker (KPMG) to discuss FY23
                                account nature and mapping for scoping.
 Patricia Anne Dela Ro 10/10/23 (0.6) Meeting with M. Lawler, L. Lin, P. Dela Rosa,             0.6   $ 400   $       240.00
                                A. Heyne and K. Walker (KPMG) to discuss FY23
                                account nature and mapping for scoping.
 Lynn Lin              10/10/23 (0.6) Meeting with M. Lawler, L. Lin, P. Dela Rosa,             0.6   $ 400   $       240.00
                                A. Heyne and K. Walker (KPMG) to discuss FY23
                                account nature and mapping for scoping.
 Maggie Lawler         10/10/23 (0.6) Meeting with M. Lawler, L. Lin, P. Dela Rosa,             0.6   $ 455   $       273.00
                                A. Heyne and K. Walker (KPMG) to discuss FY23
                                account nature and mapping for scoping.
 Anna Heyne            10/10/23 (0.6) Meeting with M. Lawler, L. Lin, P. Dela Rosa,             0.6   $ 350   $       210.00
                                A. Heyne and K. Walker (KPMG) to discuss FY23
                                account nature and mapping for scoping.
 Patricia Anne Dela    10/10/23 (0.8) Discussion with S. Morgan, M. Lawler and P.               0.8   $ 400   $       320.00
 Rosa                           Dela Rosa (KPMG) to discuss documenting the RA
                                for Fixed Asset impairment estimates.
 Maggie Lawler            10/10/23 (0.8) Discussion with S. Morgan, M. Lawler and P.            0.8   $ 455   $       364.00
                                   Dela Rosa (KPMG) to discuss documenting the RA
                                   for Fixed Asset impairment estimates.
 Kelly O'Leary            10/10/23 (0.9) Continued, from earlier on 10/10/23, to build out      0.9   $ 350   $       315.00
                                   inventory control documentation in the current year
                                   file based on walkthroughs with Protiviti, concurrently
                                   updated according to current year RCM.
 Kati Walker              10/10/23 (0.9) Continued, from 10/9/23, the preparation of            0.9   $ 350   $       315.00
                                   linking key Treasury controls to response screen.
 Pat Anderson             10/10/23 (1.0) Began review, as of 10/10/23, of warranty              1.0   $ 400   $       400.00
                                   walkthrough documentation prepared by G. Brewster
                                   and K. O'Leary (KPMG).
 Pat Anderson             10/10/23 (1.0) Continued, from earlier on 10/10/13, the               1.0   $ 400   $       400.00
                                   discussion regarding the plan for the inventory process
                                   documentation with K. O'Leary (KPMG), answered
                                   questions as necessary.
 Kelly O'Leary            10/10/23 (1.0) Discussion regarding the plan for the inventory        1.0   $ 350   $       350.00
                                   process documentation with Pa. Anderson and K.
                                   O'Leary (KPMG), answered questions as necessary.
 Pat Anderson             10/10/23 (1.0) Discussion regarding the plan for the inventory        1.0   $ 400   $       400.00
                                   process documentation with Pa. Anderson and K.
                                   O'Leary (KPMG), answered questions as necessary.




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 Maggie Lawler            10/10/23 (1.0) Discussion with S. Morgan and M. Lawler                1.0   $ 455   $       455.00
                                   (KPMG) to discuss approach towards documentation
                                   and testing of controls to remediate the prior year
                                   material weakness identified.
 Anna Heyne               10/10/23 (1.0) Meeting with S. Morgan, M. Lawler, L. Lin and          1.0   $ 350   $       350.00
                                   A. Heyne (KPMG) to discuss HR in scope accounts
                                   and controls.
 Lynn Lin                 10/10/23 (1.0) Meeting with S. Morgan, M. Lawler, L. Lin and          1.0   $ 400   $       400.00
                                   A. Heyne (KPMG) to discuss HR in scope accounts
                                   and controls.
 Maggie Lawler            10/10/23 (1.0) Meeting with S. Morgan, M. Lawler, L. Lin and          1.0   $ 455   $       455.00
                                   A. Heyne (KPMG) to discuss HR in scope accounts
                                   and controls.
 Steven Morgan            10/10/23 (1.0) Meeting with S. Morgan, M. Lawler, L. Lin and          1.0   $ 550   $       550.00
                                   A. Heyne (KPMG) to discuss HR in scope accounts
                                   and controls.
 Lynn Lin                 10/10/23 (1.0) Perform manager review, as of 10/10/23, of             1.0   $ 400   $       400.00
                                   payroll walkthrough documentation relating to annual
                                   merit increase.
 Kati Walker              10/10/23 (1.2) Continued, from 10/9/23, the preparation of            1.2   $ 350   $       420.00
                                   Treasury controls response screen
 Sam Oswald               10/10/23 (1.2) Continued, from earlier on 10/10/23, to prepare        1.2   $ 350   $       420.00
                                   to load the scoping and account mapping file into
                                   Alteryx by including the use of joining tools in an
                                   attempt to bring them into one file to aid in the
                                   scoping routine which caused errors that required
                                   updates to the inputs and type of data it was reading
                                   (VW String, Boolean, etc.).
 Kati Walker              10/10/23 (1.2) Preparation of documentation around the                1.2   $ 350   $       420.00
                                   assessment of the test of design and implementation
                                   for Treasury controls TCM 4.4, 4.5, and 5.3.

 Maggie Lawler            10/10/23 (1.3) Senior Manager review, as of 10/10/23, of the          1.3   $ 455   $       591.50
                                   aggregation of GL accounts for RA.
 Aden Cohen               10/10/23 (1.5) Meeting with A. Heyne and A. Cohen (KPMG)              1.5   $ 250   $       375.00
                                   regarding purchases control questions.
 Anna Heyne               10/10/23 (1.5) Meeting with A. Heyne and A. Cohen (KPMG)              1.5   $ 350   $       525.00
                                   regarding purchases control questions.
 Aden Cohen               10/10/23 (1.7) Preparation of the Control screens within the          1.7   $ 250   $       425.00
                                   Human recourses controls processes.
 Pat Anderson             10/10/23 (2.0) Continued to review, as of 10/10/23, of inventory      2.0   $ 400   $       800.00
                                   walkthrough documentation prepared by G. Brewster
                                   and K. O'Leary (KPMG).



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 Patricia Anne Dela       10/10/23 (2.2) Continued, from earlier on 10/10/23, to prepare        2.2   $ 400   $       880.00
 Rosa                              the workpapers estimates screen for Fixed Asset
                                   Impairment Estimates, update risk and response
                                   screens.
 Zaya Shahbaz             10/10/23 (2.2) Prepared documentation regarding AC-01 TOE             2.2   $ 255   $       561.00
 Arami                             testing in order to ensure the control works as
                                   intended.
 Chien Wang               10/10/23 (2.8) Documentation of the assessment of the test of         2.8   $ 350   $       980.00
                                   design for treasury controls.
 Kelly O'Leary            10/10/23 (3.0) Began to build out inventory control                   3.0   $ 350   $     1,050.00
                                   documentation in the current year file based on
                                   walkthroughs with Protiviti, concurrently updated
                                   according to current year RCM.
 Kelly O'Leary            10/10/23 (3.0) Continued, from earlier on 10/10/23, to build out      3.0   $ 350   $     1,050.00
                                   inventory control documentation in the current year
                                   file based on walkthroughs with Protiviti, concurrently
                                   updated according to current year RCM.
 Patricia Anne Dela       10/10/23 (3.0) Prepare the workpapers estimates screen for            3.0   $ 400   $     1,200.00
 Rosa                              Fixed Asset Impairment Estimates, update risk and
                                   response screens.
 Sam Oswald               10/10/23 (3.3) Continued, from earlier on 10/10/23, to prepare        3.3   $ 350   $     1,155.00
                                   to load the scoping and account mapping file into
                                   Alteryx by including the use of joining tools in an
                                   attempt to bring them into one file to aid in the
                                   scoping routine which caused errors that required
                                   updates to the inputs and type of data it was reading
                                   (VW String, Boolean, etc.).
 Aden Cohen               10/10/23 (3.4) Continued, as of 10/10/23, to prepare the control      3.4   $ 250   $       850.00
                                   screens in the purchase controls processes.
 Sam Oswald               10/10/23 (3.5) Prepared to load the scoping and account               3.5   $ 350   $     1,225.00
                                   mapping file into Alteryx by including the use of
                                   joining tools in an attempt to bring them into one file
                                   to aid in the scoping routine which caused errors that
                                   required updates to the inputs and type of data it was
                                   reading (VW String, Boolean, etc.).
 Anna Heyne               10/10/23 (3.5) Continued, as of 10/10/23, to review purchases         3.5   $ 350   $     1,225.00
                                   controls as required for the FY23 Audit.
 Chien Wang               10/10/23 (3.8) Cleared review comments within Equity control          3.8   $ 350   $     1,330.00
                                   activity 8.2 screen, as of 10/10/23.
 Kelly O'Leary            10/11/23 (0.3) Call with K. O'Leary and P. Anderson (KPMG)            0.3   $ 350   $       105.00
                                   to discuss next steps, as of 10/11/23, including the
                                   Inventory and Warranty processes.




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 Doron Rotman             10/11/23 (0.3) Meeting with D. Rotman and H. Downey                    0.3   $ 580   $       174.00
                                   (KPMG) to discuss IT strategy pertaining to FRP
                                   automated control gaps, GITC findings and lookbacks,
                                   etc.
 Hillary Downey           10/11/23 (0.3) Meeting with D. Rotman and H. Downey                    0.3   $ 550   $       165.00
                                   (KPMG) to discuss IT strategy pertaining to FRP
                                   automated control gaps, GITC findings and lookbacks,
                                   etc.
 Chien Wang               10/11/23 (0.4) Cleared the review comments within INF screen,          0.4   $ 350   $       140.00
                                   as of 10/11/23.
 Aden Cohen               10/11/23 (0.5) Call with A. Heyne, A. Cohen, and K. Walker             0.5   $ 250   $       125.00
                                   (KPMG) to discuss how to add and document
                                   information cards for the Proterra controls within the
                                   file.
 Anna Heyne               10/11/23 (0.5) Call with A. Heyne, A. Cohen, and K. Walker             0.5   $ 350   $       175.00
                                   (KPMG) to discuss how to add and document
                                   information cards for the Proterra controls within the
                                   file.
 Maggie Lawler            10/11/23 (0.5) Call with S. Morgan and M. Lawler (KPMG) and            0.5   $ 455   $       227.50
                                   J. Embt (Proterra) to discuss Q3'23 status and timeline,
                                   as of 10/11/23.
 Stan Harvell             10/11/23 (0.5) Call with S. Morgan, S. Harvell, P. Anderson            0.5   $ 525   $       262.50
                                   and, K. O'Leary to make a final determination on the
                                   key vs. non-key inventory process level controls.

 Stan Harvell             10/11/23 (0.5) Call with S. Morgan, S. Harvell, P. Anderson            0.5   $ 525   $       262.50
                                   and, K. O'Leary to make a final determination on the
                                   key vs. non-key warranty process level controls.

 Pat Anderson             10/11/23 (0.5) Call with S. Morgan, S. Harvell, P. Anderson            0.5   $ 400   $       200.00
                                   and, K. O'Leary to make a final determination on the
                                   key vs. non-key inventory process level controls.

 Pat Anderson             10/11/23 (0.5) Call with S. Morgan, S. Harvell, P. Anderson            0.5   $ 400   $       200.00
                                   and, K. O'Leary to make a final determination on the
                                   key vs. non-key warranty process level controls.

 Steven Morgan            10/11/23 (0.5) Call with S. Morgan, S. Harvell, P. Anderson            0.5   $ 550   $       275.00
                                   and, K. O'Leary to make a final determination on the
                                   key vs. non-key inventory process level controls.




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 Steven Morgan            10/11/23 (0.5) Call with S. Morgan, S. Harvell, P. Anderson           0.5   $ 550   $       275.00
                                   and, K. O'Leary to make a final determination on the
                                   key vs. non-key warranty process level controls.

 Steven Morgan            10/11/23 (0.5) Partner review, as of 10/11/23, of updated audit       0.5   $ 550   $       275.00
                                   planning documentation.
 Lynn Lin                 10/11/23 (0.6) Review, as of 10/11/23, the support and question       0.6   $ 400   $       240.00
                                   listing for revenue transit / powered testing prior to
                                   meeting with client.
 Anna Heyne               10/11/23 (0.7) Continued, from earlier on 10/11/23, to review         0.7   $ 350   $       245.00
                                   the required review of human resources controls for
                                   FY23 Audit.
 Kelly O'Leary            10/11/23 (0.8) Continued, as of 10/11/23, to build out inventory      0.8   $ 350   $       262.50
                                   control documentation in the current year file based on
                                   walkthroughs with Protiviti and updated according to
                                   current year RCM.
 Anna Heyne               10/11/23 (0.8) Call with L. Lin, A. Heyne (KPMG) and N.               0.8   $ 350   $       280.00
                                   Kang, B. Oyoung, E. Xie, A. Nicolaou (Proterra) to
                                   discuss follow-up support requests and questions on
                                   Q2'23 YTD Transit revenue and powered revenue
                                   testing.
 Lynn Lin                 10/11/23 (0.8) Call with L. Lin, A. Heyne (KPMG) and N.               0.8   $ 400   $       320.00
                                   Kang, B. Oyoung, E. Xie, A. Nicolaou (Proterra) to
                                   discuss follow-up support requests and questions on
                                   Q2'23 YTD Transit revenue and powered revenue
                                   testing.
 Brian Monahan            10/11/23 (0.8) Continued, as of 10/11/23, the manager review          0.8   $ 400   $       320.00
                                   of the test of design for treasury control activities.
 Kati Walker              10/11/23 (0.8) Preparation of documentation around the                0.8   $ 350   $       280.00
                                   assessment of the test of design and implementation
                                   for Treasury controls TCM 4.5.
 Aden Cohen               10/11/23 (1.0) Call with A. Heyne and A. Cohen (KPMG) to              1.0   $ 250   $       250.00
                                   discuss purchases controls.
 Anna Heyne               10/11/23 (1.0) Call with A. Heyne and A. Cohen (KPMG) to              1.0   $ 350   $       350.00
                                   discuss purchases controls.
 Maggie Lawler            10/11/23 (1.0) Call with S. Kodiyal, Z. Arami, S. Morgan and          1.0   $ 455   $       455.00
                                   M. Lawler (KPMG) and M. British, A. Pierce, and J.
                                   Embt (Proterra) C. Rotondo and A. Pierce (Protiviti) to
                                   discussion Oracle system configurations related to
                                   journal entry approval.




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 Steven Morgan            10/11/23 (1.0) Call with S. Morgan, S. Harvell, P. Anderson and       1.0   $ 550   $       550.00
                                   K. O'Leary (KPMG) to discuss Inventory and
                                   Warranty control scoping and assess control RCM
                                   provided by Protiviti.
 Kelly O'Leary            10/11/23 (1.0) Call with S. Morgan, S. Harvell, P. Anderson and       1.0   $ 350   $       350.00
                                   K. O'Leary (KPMG) to discuss Inventory and
                                   Warranty control scoping and assess control RCM
                                   provided by Protiviti.
 Hillary Downey           10/11/23 (1.0) Continued, as of 10/11/23, manager review of           1.0   $ 550   $       550.00
                                   workpapers for GITC tests of design, concurrently
                                   provided review comments in workpapers.
 Pat Anderson             10/11/23 (1.0) Continued, as of 10/11/23, the discussion of the       1.0   $ 400   $       400.00
                                   plan for the inventory process documentation with
                                   team member (K. O'Leary), answered questions as
                                   necessary.
 Sushant Kodiyal          10/11/23 (1.0) Call with S. Kodiyal, Z. Arami, S. Morgan and          1.0   $ 470   $       470.00
                                   M. Lawler (KPMG) and M. British, A. Pierce, and J.
                                   Embt (Proterra) C. Rotondo and A. Pierce (Protiviti) to
                                   discussion Oracle system configurations related to
                                   journal entry approval.
 Hillary Downey           10/11/23 (1.0) Call with S. Kodiyal, Z. Arami, S. Morgan and          1.0   $ 550   $       550.00
                                   M. Lawler (KPMG) and M. British, A. Pierce, and J.
                                   Embt (Proterra) C. Rotondo and A. Pierce (Protiviti) to
                                   discussion Oracle system configurations related to
                                   journal entry approval.
 Zaya Shahbaz             10/11/23 (1.0) Call with S. Kodiyal, Z. Arami, S. Morgan and          1.0   $ 255   $       255.00
 Arami                             M. Lawler (KPMG) and M. British, A. Pierce, and J.
                                   Embt (Proterra) C. Rotondo and A. Pierce (Protiviti) to
                                   discussion Oracle system configurations related to
                                   journal entry approval.
 Kelly O'Leary            10/11/23 (1.3) Call between K. O'Leary and P. Anderson                1.3   $ 350   $       437.50
                                   (KPMG) to discuss Inventory and Warranty control
                                   scoping as well as file build out for these processes.
 Aden Cohen               10/11/23 (1.5) Documentation of the INF screens for the firms         1.5   $ 250   $       375.00
                                   use under the human resource process.
 Chien Wang               10/11/23 (1.6) Continued, as of 10/11/23, to clear review             1.6   $ 350   $       560.00
                                   comments within Equity control activity 8.2 screen.
 Kati Walker              10/11/23 (1.8) Preparation of documentation around the                1.8   $ 350   $       630.00
                                   asses(1.8) Preparation of documentation around the
                                   assessment of the test of design and implementation
                                   for Treasury controls TCM 5.1 and TCM 6.1




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 Pat Anderson             10/11/23 (2.0) Continued, as of 10/11/23, to review incremental      2.0   $ 400   $       800.00
                                   inventory walkthrough documentation prepared by G.
                                   Brewster and K. O'Leary (KPMG).
 Sam Oswald               10/11/23 (2.0) Continued, from earlier on 10/11/23, to begin to      2.0   $ 350   $       700.00
                                   prepare the Account Mapping macro in Alteryx in
                                   order to run automatically as well as automate the
                                   process which would allow the routine to run
                                   regardless of what data set was dropped into it,
                                   concurrently tested macro which produced successful
                                   account mapping macro.
 Aden Cohen               10/11/23 (2.0) Preparation of the Human Resources Control            2.0   $ 250   $       500.00
                                   Process
 Zaya Shahbaz             10/11/23 (2.0) Tested and documented AC-02 TOE testing in            2.1   $ 255   $       535.50
 Arami                             order to ensure it is passing and working properly.

 Patricia Anne Dela       10/11/23 (2.2) Continued, from earlier on 10/11/23, to prepare       2.2   $ 400   $       880.00
 Rosa                              workpapers RA screen for ASC 852 reorganization.

 Kelly O'Leary            10/11/23 (2.2) Began to build out inventory control                  2.2   $ 350   $       770.00
                                   documentation in the current year file based on
                                   walkthroughs with Protiviti and updated according to
                                   current year RCM.
 Sam Oswald               10/11/23 (2.3) Continued, from earlier on 10/11/23, to begin to      2.3   $ 350   $       805.00
                                   prepare the Account Mapping macro in Alteryx in
                                   order to run automatically as well as automate the
                                   process which would allow the routine to run
                                   regardless of what data set was dropped into it,
                                   concurrently tested macro which produced successful
                                   account mapping macro.
 Kati Walker              10/11/23 (2.4) Preparation of documentation around the               2.4   $ 350   $       840.00
                                   assessment of the test of design and implementation
                                   for Treasury controls TCM 4.4 and TCM 5.3
 Kelly O'Leary            10/11/23 (2.5) Began to build out warranty control                   2.5   $ 350   $       875.00
                                   documentation in the current year file based on
                                   walkthroughs with Protiviti, concurrently updated
                                   according to current year RCM.
 Lynn Lin                 10/11/23 (2.5) Perform manager review, as of 10/11/23, of            2.5   $ 400   $     1,000.00
                                   payroll walkthrough documentation relating to Bonus
                                   Accrual and Employee Benefits.
 Anna Heyne               10/11/23 (2.7) Continued, as of 10/11/23, to review purchases        2.7   $ 350   $       945.00
                                   controls as required for the FY23 Audit.




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 Chien Wang               10/11/23 (2.8) Documentation of the assessment of information       2.8   $ 350   $       980.00
                                   used in the performance of equity controls.
 Aden Cohen               10/11/23 (3.0) Cleared review comments provided by manager          3.0   $ 250   $       750.00
                                   in the Purchase control process, as of 10/11/23.

 Chien Wang            10/11/23 (3.2) Completed documentation of Treasury control             3.2   $ 350   $     1,120.00
                                activity 1.3 screen.
 Anna Heyne            10/11/23 (3.3) Senior Associate review, as of 10/11/23, the            3.3   $ 350   $     1,155.00
                                required review of human resources controls for FY23
                                Audit.
 Sam Oswald            10/11/23 (3.7) Began to prepare the Account Mapping macro in           3.7   $ 350   $     1,295.00
                                Alteryx in order to run automatically as well as
                                automate the process which would allow the routine to
                                run regardless of what data set was dropped into it,
                                concurrently tested macro which produced successful
                                account mapping macro.
 Patricia Anne Dela Ro 10/11/23 (3.8) Prepared the workpapers RA screen for ASC 852           3.8   $ 400   $     1,520.00
                                reorganization.
 Kelly O'Leary         10/12/23 (0.3) Call with K. O'Leary and P. Anderson (KPMG)             0.3   $ 350   $       105.00
                                to discuss next steps as well as the Inventory and
                                Warranty processes, as of 10/12/23.
 Kati Walker           10/12/23 (0.3) Continue, as of 10/10/23, the preparation of            0.3   $ 350   $       105.00
                                Treasury response linking key.
 Kelly O'Leary         10/12/23 (0.4) Call with K. O'Leary, P. Anderson and P. Dela           0.4   $ 350   $       140.00
                                Rosa (KPMG) to discuss Inventory account mapping
                                for RA.
 Doron Rotman          10/12/23 (0.4) Meeting with S. Morgan, D. Rotman, M. Lawler            0.4   $ 580   $       232.00
                                and H. Downey (KPMG) to discuss overall IT Strategy
                                in response to potential IT ineffective controls.


 Hillary Downey           10/12/23 (0.4) Meeting with S. Morgan, D. Rotman, M. Lawler         0.4   $ 550   $       220.00
                                   and H. Downey (KPMG) to discuss overall IT Strategy
                                   in response to potential IT ineffective controls.


 Patricia Anne Dela       10/12/23 (0.5) Call with P. Anderson, P. Dela Rosa and K.           0.5   $ 400   $       200.00
 Rosa                              O'Leary (KPMG) to discuss the planned mapping over
                                   Inventory and warranty accounts.
 Maggie Lawler            10/12/23 (0.5) Continued, from earlier on 10/12/23, the Senior      0.5   $ 455   $       227.50
                                   Manager review of the RA related to impairment of
                                   fixed assets.




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 Doron Rotman             10/12/23 (0.5) Meeting with D. Rotman, H. Downey, S. Kodiyal         0.5   $ 580   $       290.00
                                   and Z. Shahbaz Arami (KPMG) to discuss IT testing
                                   status, findings, documentation approach, client
                                   outstanding items and escalations, as of 10/12/23.

 Sushant Kodiyal          10/12/23 (0.5) Meeting with D. Rotman, H. Downey, S. Kodiyal         0.5   $ 470   $       235.00
                                   and Z. Shahbaz Arami (KPMG) to discuss IT testing
                                   status, findings, documentation approach, client
                                   outstanding items and escalations, as of 10/12/23.

 Zaya Shahbaz             10/12/23 (0.5) Meeting with D. Rotman, H. Downey, S. Kodiyal         0.5   $ 255   $       127.50
 Arami                             and Z. Shahbaz Arami (KPMG) to discuss IT testing
                                   status, findings, documentation approach, client
                                   outstanding items and escalations, as of 10/12/23.

 Hillary Downey           10/12/23 (0.5) Meeting with D. Rotman, H. Downey, S. Kodiyal         0.5   $ 550   $       275.00
                                   and Z. Shahbaz Arami (KPMG) to discuss IT testing
                                   status, findings, documentation approach, client
                                   outstanding items and escalations, as of 10/12/23.

 Kelly O'Leary            10/12/23 (0.5) Prepared inventory RA in order to perform             0.5   $ 350   $       175.00
                                   scoping for inventory procedures in the file.

 Patricia Anne Dela       10/12/23 (0.6) Continued, from earlier on 10/12/23, the update       0.6   $ 400   $       240.00
 Rosa                              of workpapers accounts and balances based on
                                   discussions on 10/10 and 10/12, concurrently sent
                                   inquiries to the client for the nature of specific
                                   accounts.
 Aden Cohen               10/12/23 (.8) Call with A. Heyne and A. Cohen (KPMG) to              0.8   $ 250   $       200.00
                                   discuss human resources control questions
 Anna Heyne               10/12/23 (.8) Call with A. Heyne and A. Cohen (KPMG) to              0.8   $ 350   $       280.00
                                   discuss human resources control questions
 Anna Heyne               10/12/23 Call with L. Lin, A. Heyne - partial (KPMG), N. Kang,       0.5   $ 350   $       175.00
                                   B. Oyoung, E. Xie and A. Nicolaou (Proterra) to
                                   discuss follow-up support requests and questions on
                                   Q2'23 YTD Transit revenue and powered revenue
                                   testing.
 Brian Monahan            10/12/23 (0.8) Continued, as of 10/12/23, the manager review         0.8   $ 400   $       320.00
                                   of the test of design for treasury control activities.
 Hillary Downey           10/12/23 (0.8) Manager review, as of 10/12/23, of GITC               0.8   $ 550   $       440.00
                                   workpapers and review comments in workpapers.




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 Brian Monahan            10/12/23 (0.9) Call with B. Monahan, C. Wang, and K. Walker           0.9   $ 400   $       360.00
                                   (KPMG) to discuss treasury control status and key
                                   points when documenting D&I and INF, as of
                                   10/12/23.
 Kati Walker              10/12/23 (0.9) Call with B. Monahan, C. Wang, and K. Walker           0.9   $ 350   $       315.00
                                   (KPMG) to discuss treasury control status and key
                                   points when documenting D&I and INF, as of
                                   10/12/23.
 Chien Wang               10/12/23 (0.9) Call with B. Monahan, C. Wang, and K. Walker           0.9   $ 350   $       315.00
                                   (KPMG) to discuss treasury control status and key
                                   points when documenting D&I and INF, as of
                                   10/12/23.
 Sam Oswald               10/12/23 (0.9) Continued, from earlier on 10/12/23, to prepare        0.9   $ 350   $       315.00
                                   the trial balance macros, which was automated to pull
                                   account balances to match up with accounts pulled
                                   into the mapping file, concurrently tested the macro
                                   which produced errors that required updates to correct
                                   columns of data to be pulled resulting in a successful
                                   macro run.
 Pat Anderson             10/12/23 (1.0) Continued, as of 10/12/23, the discussion of the       1.0   $ 400   $       400.00
                                   plan for the inventory process documentation with
                                   team member (K. O'Leary), answered questions as
                                   necessary.
 Stan Harvell             10/12/23 (1.0) Managing Director review, as of 10/12/23, of           1.0   $ 525   $       525.00
                                   Warranty understanding workpapers.
 Sushant Kodiyal          10/12/23 (1.0) Meeting with H. Downey, S. Kodiyal and Z.              1.0   $ 470   $       470.00
                                   Shahbaz Arami (KPMG) to discuss IT testing review
                                   comments and resolution in documentation.

 Hillary Downey           10/12/23 (1.0) Meeting with H. Downey, S. Kodiyal and Z.              1.0   $ 550   $       550.00
                                   Shahbaz Arami (KPMG) to discuss IT testing review
                                   comments and resolution in documentation.

 Zaya Shahbaz             10/12/23 (1.0) Meeting with H. Downey, S. Kodiyal and Z.              1.0   $ 255   $       255.00
 Arami                             Shahbaz Arami (KPMG) to discuss IT testing review
                                   comments and resolution in documentation.

 Lynn Lin                 10/12/23 (1.0) Perform manager review, as of 10/12/23, of             1.0   $ 400   $       400.00
                                   payroll walkthrough documentation relating to Payroll
                                   Taxes.
 Aden Cohen               10/12/23 (1.3) Continued, as of 10/12/23, the preparation of the      1.3   $ 250   $       325.00
                                   INF screen under the Purchase control.




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 Aden Cohen            10/12/23 (1.4) Continued, from earlier on 10/12/23, the                  1.4   $ 250   $       350.00
                                preparation of the INF Screens in the HR Control
                                Process
 Zaya Shahbaz          10/12/23 (1.5) Cleared comments left by manager regarding                1.5   $ 255   $       382.50
 Arami                          access management, as of 10/12/23.
 Aden Cohen            10/12/23 (1.5) Preparation of the screens within the HR Control          1.5   $ 250   $       375.00
                                Process.
 Pat Anderson          10/12/23 (2.0) Continued, as of 10/12/23, the Manager review             2.0   $ 400   $       800.00
                                of inventory walkthrough documentation prepared by
                                G. Brewster and K. O'Leary (KPMG).
 Patricia Anne Dela Ro 10/12/23 (2.0) Review, as of 10/12/23, of the computer-assisted          2.0   $ 400   $       800.00
                                programs used by the OKE in preparing the Q2
                                Journal Entry dashboard.
 Gabe de la Rosa       10/12/23 (2.0) Reviewed, as of 10/12/23, the screens containing          2.0   $ 550   $     1,100.00
                                audit documentation required by firm and professional
                                standards as part of the engagement quality control
                                review.
 Patricia Anne Dela    10/12/23 (2.0) Revisit comments on ESA 8.2 control addressed             2.0   $ 400   $       800.00
 Rosa                           by C. Wang (KPMG) including information cards.

 Kelly O'Leary            10/12/23 (2.3) Continued, as of 10/12/23, to build out warranty       2.3   $ 350   $       805.00
                                   control documentation in the current year file based on
                                   walkthroughs with Protiviti, concurrently updated
                                   according to current year RCM.
 Anna Heyne               10/12/23 (2.7) Performed the required review, as of 10/12/23, of      2.7   $ 350   $       945.00
                                   human resources controls for FY23 Audit.
 Kelly O'Leary            10/12/23 (3.0) Continued, as of 10/12/23, to build out inventory      3.0   $ 350   $     1,050.00
                                   control documentation in the current year file based on
                                   walkthroughs with Protiviti, concurrently updated
                                   according to current year RCM.
 Sam Oswald               10/12/23 (3.1) Prepared the trial balance macros, which was           3.1   $ 350   $     1,085.00
                                   automated to pull account balances to match up with
                                   accounts pulled into the mapping file, concurrently
                                   tested the macro which produced errors that required
                                   updates to correct columns of data to be pulled
                                   resulting in a successful macro run.
 Aden Cohen               10/12/23 (3.1) Preparation of the INF Screens in the HR Control       3.1   $ 250   $       775.00
                                   Process
 Chien Wang               10/12/23 (3.2) Cleared review comments within Treasury                3.2   $ 350   $     1,120.00
                                   CA2.1 D&I and related INF, as of 10/12/23.
 Chien Wang               10/12/23 (3.4) Cleared review comments within treasury CA1.3          3.4   $ 350   $     1,190.00
                                   D&I and related INF, as of 10/12/23.




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 Patricia Anne Dela       10/12/23 (3.4) Update, as of 10/12/23, the workpapers accounts         3.4   $ 400   $     1,360.00
 Rosa                              and balances based on discussions made on 10/10 and
                                   10/12, concurrently sent inquiries to the client for the
                                   nature of specific accounts.
 Maggie Lawler            10/12/23 (3.5) Senior Manager review, as of 10/12/23, of the           3.5   $ 455   $     1,592.50
                                   RA related to impairment of fixed assets.
 Kati Walker              10/12/23 (3.9) Preparation, as of 10/12/23, of the assessment of       3.9   $ 350   $     1,365.00
                                   the test of design for the following treasury controls:
                                   TCM
                                   4.2, 4.4, 4.5, 5.1, 5.3 and 6.1.
 Chien Wang               10/13/23 (0.2) Confirming equity control activity 8.2                  0.2   $ 350   $        70.00
                                   documentation is in place and not affected by
                                   workpapers.
 Kelly O'Leary            10/13/23 (0.3) Call between K. O'Leary and P. Anderson                 0.3   $ 350   $       105.00
                                   (KPMG) to discuss next steps as well as Inventory and
                                   Warranty processes, as of 10/13/23.
 Maggie Lawler            10/13/23 (0.5) Call with M. Lawler, (KPMG), D. Crane, A.               0.5   $ 455   $       227.50
                                   Pierce, C. Rotondo, S. Duby, C. Sorrano, R. Neff
                                   (Protiviti) and J. Embt (Proterra) regarding status of
                                   company's internal testing, walkthroughs and proposed
                                   next steps, as of 10/13/23.

 Pat Anderson             10/13/23 (0.5) Call with M. Lawler, S. Harvell, B. Monahan, P.         0.5   $ 400   $       200.00
                                   Anderson, and L. Lin (KPMG) to and Protiviti team
                                   members to discuss SOX control status, as of
                                   10/13/23.
 Brian Monahan            10/13/23 (0.5) Call with M. Lawler, S. Harvell, B. Monahan, P.         0.5   $ 400   $       200.00
                                   Anderson, and L. Lin (KPMG) to and Protiviti team
                                   members to discuss SOX control status, as of
                                   10/13/23.
 Maggie Lawler            10/13/23 (0.5) Call with M. Lawler, S. Harvell, B. Monahan, P.         0.5   $ 455   $       227.50
                                   Anderson, and L. Lin (KPMG) to and Protiviti team
                                   members to discuss SOX control status, as of
                                   10/13/23.
 Stan Harvell             10/13/23 (0.5) Call with M. Lawler, S. Harvell, B. Monahan, P.         0.5   $ 525   $       262.50
                                   Anderson, and L. Lin (KPMG) to and Protiviti team
                                   members to discuss SOX control status, as of
                                   10/13/23.
 Lynn Lin                 10/13/23 (0.5) Cleared comments provided by partner regarding          0.5   $ 400   $       200.00
                                   payroll walkthrough documentation on termination
                                   and employee information change, as of 10/13/23.




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 Lynn Lin                 10/13/23 (0.5) Perform manager review, as of 10/13/23, of RA           0.5   $ 400   $       200.00
                                   over prepaid expense.
 Brian Monahan            10/13/23 (0.6) Continued, as of 10/13/23, the manager review           0.6   $ 400   $       240.00
                                   of the test of design for treasury control activities.
 Sushant Kodiyal          10/13/23 (1.0) Call with A. Pierce and C. Rotondo (Protiviti), J.      1.0   $ 470   $       470.00
                                   Embt (Proterra), S. Kodiyal and M. Lawler (KPMG) to
                                   discuss on the status of the project, as of 10/13/23.


 Kelly O'Leary            10/13/23 (1.0) Continued, as of 10/13/23, the discussion of the        1.0   $ 350   $       350.00
                                   plan for the inventory process documentation with
                                   team member (K. O'Leary), answered questions as
                                   necessary.
 Pat Anderson             10/13/23 (1.0) Continued, as of 10/13/23, the discussion of the        1.0   $ 400   $       400.00
                                   plan for the inventory process documentation with
                                   team member (K. O'Leary), answered questions as
                                   necessary.
 Lynn Lin                 10/13/23 (1.0) Perform manager review, as of 10/13/23, of the          1.0   $ 400   $       400.00
                                   purchase process audit response for FY23.
 Kati Walker              10/13/23 (1.0) Reviewed, as of 10/13/23, the PTP walkthrough           1.0   $ 350   $       350.00
                                   recording as part of the documentation process
                                   regarding Purchases.
 Kelly O'Leary            10/13/23 (1.0) Reviewed, as of 10/13/23, the warranty RA in            1.0   $ 350   $       350.00
                                   order to perform scoping for warranty procedures in
                                   the file.
 Patricia Anne Dela       10/13/23 (1.1) Continued, from earlier on 10/13/23, clearing           1.1   $ 400   $       440.00
 Rosa                              comments received from M. Lawler (KPMG) over
                                   Fixed Assets Estimates screens
 Kati Walker              10/13/23 (1.2) Cleared Treasury review comments for D&I                1.2   $ 350   $       420.00
                                   documentation, as of 10/13/23.
 Kati Walker              10/13/23 (1.9) Prepared PTP Walkthrough documentation                  1.9   $ 350   $       665.00
                                   including Purchase Order Approval - Non Inventory.
 Stan Harvell             10/13/23 (2.1) Managing Director review, as of 10/13/23, of            2.1   $ 525   $     1,102.50
                                   Inventory understanding and walkthroughs
                                   workpapers.
 Pat Anderson             10/13/23 (2.0) Continued, as of 10/13/23, the Manager review           2.0   $ 400   $       800.00
                                   of inventory walkthrough documentation prepared by
                                   G. Brewster and K. O'Leary (KPMG).
 Hillary Downey           10/13/23 (2.0) Continued, as of 10/13/23, the manager review,          2.0   $ 550   $     1,100.00
                                   as of 10/12/23, of GITC workpapers and review
                                   comments in workpapers.




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 Gabe de la Rosa          10/13/23 (2.0) Continued, as of 10/13/23, to review screens          2.0   $ 550   $     1,100.00
                                   containing audit documentation required by firm and
                                   professional standards as part of the engagement
                                   quality control review.
 Kati Walker              10/13/23 (2.4) Prepared PTP Walkthrough documentation                2.4   $ 350   $       840.00
                                   including Purchase Order Approval - inventory.
 Aden Cohen               10/13/23 (2.5) Continued, from earlier on 10/13/23, to clear         2.5   $ 250   $       625.00
                                   review comments from manager regarding the
                                   purchase process.
 Kelly O'Leary            10/13/23 (2.5) Continued, from earlier on 10/13/23, to review        2.5   $ 350   $       875.00
                                   the inventory RA in order to perform scoping for
                                   inventory procedures in the file.
 Lynn Lin                 10/13/23 (2.5) Perform manager review, as of 10/13/23, of the        2.5   $ 400   $     1,000.00
                                   purchase process RA.
 Anna Heyne               10/13/23 (2.5) Reviewed, as of 10/13/23, the required review of      2.5   $ 350   $       875.00
                                   human resources controls for FY23 Audit.
 Patricia Anne Dela       10/13/23 (2.9) Cleared comments received from M. Lawler              2.9   $ 400   $     1,160.00
 Rosa                              (KPMG) over Fixed Assets Estimates screens, as of
                                   10/13/23.
 Kelly O'Leary            10/13/23 (3.0) Reviewed, as of 10/13/23, the inventory RA in         3.0   $ 350   $     1,050.00
                                   order to perform scoping for inventory procedures in
                                   the file.
 Zaya Shahbaz             10/13/23 (3.0) Cleared comments regarding control test of            3.0   $ 255   $       765.00
 Arami                             design effectiveness in order to get them through for
                                   director review, as of 10/13/23.
 Chien Wang               10/13/23 (3.8) Completed documentation of Treasury control           3.8   $ 350   $     1,330.00
                                   activity 3.2 screen.
 Aden Cohen               10/13/23 (3.9) Cleared review comments from manager                  3.9   $ 250   $       975.00
                                   regarding the purchase process, as of 10/13/23.
 Anna Heyne               10/13/23 (3.9) Reviewed, as of 10/13/23, the purchases               3.9   $ 350   $     1,365.00
                                   information cards within KPMG Clara as required by
                                   FY23 Audit.
 Steven Morgan            10/16/23 (0.2) Partner review, as of 10/16/23, of the RA and         0.2   $ 550   $       110.00
                                   planned responses for substantive testing.
 Kelly O'Leary            10/16/23 (0.3) Call between K. O'Leary and P. Anderson               0.3   $ 350   $       105.00
                                   (KPMG) to discuss inventory, warranty and next steps,
                                   as of 10/16/23.
 Riley Yeomans            10/16/23 (0.3) Call with P. Anderson and R. Yeomans (KPMG)           0.3   $ 350   $       105.00
                                   to discuss inventory overview and next steps for the
                                   week, as of 10/16/23.




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 Pat Anderson             10/16/23 (0.3) Call with P. Anderson and R. Yeomans (KPMG)              0.3   $ 400   $       120.00
                                   to discuss inventory overview and next steps for the
                                   week, as of 10/16/23.
 Kelly O'Leary            10/16/23 (0.3) Meeting between R. Yeomans and K. O'Leary                0.3   $ 350   $       105.00
                                   (KPMG) to discuss overview and next steps for the
                                   week, as of 10/16/23.
 Riley Yeomans            10/16/23 (0.3) Meeting between R. Yeomans and K. O'Leary                0.3   $ 350   $       105.00
                                   (KPMG) to discuss overview and next steps for the
                                   week, as of 10/16/23.
 Riley Yeomans            10/16/23 (0.3) Meeting between R. Yeomans and K. O'Leary                0.3   $ 350   $       105.00
                                   (KPMG) to discuss questions relating to warranty
                                   estimate.
 Kelly O'Leary            10/16/23 (0.3) Meeting between R. Yeomans and K. O'Leary                0.3   $ 350   $       105.00
                                   (KPMG) to discuss questions relating to warranty
                                   estimate.
 Steven Morgan            10/16/23 (0.3) Partner review, as of 10/16/23, of the payroll           0.3   $ 550   $       165.00
                                   walkthrough understanding screen.
 Lynn Lin                 10/16/23 (0.5) Call with L. Lin and C. Delda (KPMG) to                  0.5   $ 400   $       200.00
                                   discuss status and pending support of Q2'23 YTD
                                   operating expense testing, as of 10/16/23.
 Zaya Shahbaz             10/16/23 (0.5) Call with Proterra team to generate the AD dump          0.5   $ 255   $       127.50
 Arami                             report to be able to use it during testing. Attendees: S.
                                   Kodiyal, Z. Arami (KPMG), M. Orosa and S. Davis
                                   (Proterra).
 Sushant Kodiyal          10/16/23 (0.5) Call with Proterra team to generate the AD dump          0.5   $ 470   $       235.00
                                   report to be able to use it during testing. Attendees: S.
                                   Kodiyal, Z. Arami (KPMG), M. Orosa and S. Davis
                                   (Proterra).
 Sushant Kodiyal          10/16/23 (0.5) Meeting with S. Duby, A. Mc Donnell (Protiviti),         0.5   $ 470   $       235.00
                                   S. Kodiyal and Z. Arami (KPMG) to discuss on the
                                   population for Boomi batch jobs and to select samples
                                   for testing purpose.
 Zaya Shahbaz             10/16/23 (0.5) Meeting with S. Duby, A. Mc Donnell (Protiviti),         0.5   $ 255   $       127.50
 Arami                             S. Kodiyal and Z. Arami (KPMG) to discuss on the
                                   population for Boomi batch jobs and to select samples
                                   for testing purpose.
 Steven Morgan            10/16/23 (0.5) Partner review, as of 10/16/23, of control test of       0.5   $ 550   $       275.00
                                   design documentation prepared by engagement team.




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 Steven Morgan            10/16/23 (0.5) Partner review, as of 10/16/23, of the                0.5   $ 550   $       275.00
                                   documentation related to the walkthrough of the
                                   payment processing and expense report sub processes.

 Riley Yeomans            10/16/23 (0.8) Continued, from earlier on 10/16/23, to perform       0.8   $ 350   $       280.00
                                   Senior Associate review of warranty support provided
                                   by client related to control activities.

 Steven Morgan            10/16/23 (0.8) Partner review, as of 10/16/23, of the                0.8   $ 550   $       440.00
                                   documentation underlying the purchases RA and
                                   related planned substantive response.
 Kelly O'Leary            10/16/23 (1.0) Began to evaluate the warranty reserve                1.0   $ 350   $       350.00
                                   components including the related RA.
 Zaya Shahbaz             10/16/23 (1.0) Began to clear comments left by manager               1.0   $ 255   $       255.00
 Arami                             regarding the termination control, as of 10/16/23.
 Kelly O'Leary            10/16/23 (1.0) Continued, from earlier on 10/16/23, to begin to      1.0   $ 350   $       350.00
                                   build out the inventory estimate regarding net
                                   realizable value of inventory work in progress.
 Hillary Downey           10/16/23 (1.0) Manager review, as of 10/16/23, of workpapers         1.0   $ 550   $       550.00
                                   and GITC controls documentation in workpapers.

 Stan Harvell             10/16/23 (1.0) Managing Director review, as of 10/16/23, of          1.0   $ 525   $       525.00
                                   Inventory understanding and walkthrough workpaper.
 Stan Harvell             10/16/23 (1.0) Managing Director review, as of 10/16/23, of          1.0   $ 525   $       525.00
                                   Warranty understanding workpapers.
 Zaya Shahbaz             10/16/23 (1.0) Reviewed, as of 10/16/23, the AC04 TOE testing        1.0   $ 255   $       255.00
 Arami                             to ensure the control is efficient.
 Kati Walker              10/16/23 (1.1) Preparation of PTP Walkthrough Documentation -        1.1   $ 350   $       385.00
                                   Non Inventory.
 Maggie Lawler            10/16/23 (1.2) Senior manager follow-up with Proterra contacts       1.2   $ 455   $       546.00
                                   for the timeline of deliverables for the Q3 interim
                                   review.
 Aden Cohen               10/16/23 (1.4) Continued, from earlier on 10/16/23, to clear         1.4   $ 250   $       350.00
                                   review comments left on the WT section of the
                                   Purchase screen.
 Sushant Kodiyal          10/16/23 (1.5) Cleared comments provided by H. Downey and            1.5   $ 470   $       705.00
                                   M. Lawler (KPMG) for UAR GITC controls, as of
                                   10/16/23.
 Kelly O'Leary            10/16/23 (1.5) Began to build out the inventory estimate             1.5   $ 350   $       525.00
                                   regarding net realizable value of inventory work in
                                   progress.




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 Maggie Lawler            10/16/23 (1.8) Continued, as of 10/16/23, Senior manager                 1.8   $ 455   $       819.00
                                   review of the RA related to the impairment of long
                                   lived assets.
 Pat Anderson             10/16/23 (1.9) Continued, from earlier on 10/16/23, the                  1.9   $ 400   $       760.00
                                   Manager review of inventory walkthrough screens in
                                   workpapers.
 Kelly O'Leary            10/16/23 (2.0) Began to assess risks in the file and allocating the      2.0   $ 350   $       700.00
                                   appropriate controls to the respective risks.

 Pat Anderson             10/16/23 (2.1) Manager review, as of 10/16/23, of warranty               2.1   $ 400   $       840.00
                                   walkthrough and risk screens in workpapers.
 Riley Yeomans            10/16/23 (2.7) Performed Senior Associate review, as of                  2.7   $ 350   $       945.00
                                   10/16/23, of warranty support provided by client
                                   related to control activities.
 Riley Yeomans            10/16/23 (3.0) Began to build out the product warranty                   3.0   $ 350   $     1,050.00
                                   obligations estimate understanding in our audit
                                   documentation.
 Maggie Lawler            10/16/23 (3.0) Senior manager review, as of 10/16/23, of the             3.0   $ 455   $     1,365.00
                                   RA related to the impairment of long lived assets.

 Anna Heyne               10/16/23 (3.3) Continued, from earlier on 10/16/23, to update            3.3   $ 350   $     1,155.00
                                   the excel testing template for revenue transit samples
                                   as required for FY 23 audit.
 Lynn Lin                 10/16/23 (3.5) Perform manager review, as of 10/16/23, of the            3.5   $ 400   $     1,400.00
                                   purchase control PTP 1.1, concurrently sent follow-up
                                   comments to client.
 Kati Walker              10/16/23 (3.6) Preparation of PTP Walkthrough Documentation -            3.6   $ 350   $     1,260.00
                                   Inventory.
 Aden Cohen               10/16/23 (3.9) Cleared review comments left on the WT section            3.9   $ 250   $       975.00
                                   of the Purchase screen, as of 10/16/23.
 Anna Heyne               10/16/23 (3.9) Updated, as of 10/16/23, the excel testing                3.9   $ 350   $     1,365.00
                                   template for revenue transit samples as required for
                                   FY 23 audit.
 Riley Yeomans            10/17/23 (0.1) Call with P. Anderson, K. O'Leary and R.                  0.1   $ 350   $        35.00
                                   Yeomans (KPMG) to discuss warranty reserve
 Kelly O'Leary            10/18/23 (0.1) Call with P. Anderson, K. O'Leary and R.                  1.1   $ 350   $       385.00
                                   Yeomans (KPMG) to discuss warranty reserve
 Pat Anderson             10/17/23 (0.1) Call with P. Anderson, K. O'Leary and R.                  0.1   $ 400   $        40.00
                                   Yeomans (KPMG) to discuss warranty reserve.
 Kelly O'Leary            10/17/23 (0.2) Call between K. O'Leary and P. Anderson                   0.2   $ 350   $        70.00
                                   (KPMG) regarding file adjustments and changes to
                                   understanding inventory and warranty documentation
                                   in the current year file.



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 Kelly O'Leary            10/17/23 (0.2) Call between K. O'Leary and P. Anderson                0.2   $ 350   $        70.00
                                   (KPMG) regarding file adjustments and changes to
                                   understanding inventory and warranty documentation
                                   in the current year file.
 Kelly O'Leary            10/17/23 (0.2) Call with K. O'Leary, P. Anderson and R.               0.2   $ 350   $        70.00
                                   Yeomans (KPMG) to discuss inventory, warranty, and
                                   next steps, as of 10/17/23, .
 Riley Yeomans            10/17/23 (0.2) Call with K. O'Leary, P. Anderson and R.               0.2   $ 350   $        70.00
                                   Yeomans (KPMG) to discuss inventory, warranty, and
                                   next steps, as of 10/17/23, .
 Pat Anderson             10/17/23 (0.2) Call with K. O'Leary, P. Anderson and R.               0.2   $ 400   $        80.00
                                   Yeomans (KPMG) to discuss inventory, warranty, and
                                   next steps, as of 10/17/23, .
 Kelly O'Leary            10/17/23 (0.2) Meeting with K. O'Leary and R. Yeomans                 0.2   $ 350   $        70.00
                                   (KPMG) to discuss Warranty Reserve
                                   calculation/estimate
 Riley Yeomans            10/17/23 (0.2) Meeting with K. O'Leary and R. Yeomans                 0.2   $ 350   $        70.00
                                   (KPMG) to discuss Warranty Reserve
                                   calculation/estimate
 Brian Monahan            10/17/23 (0.4) Continued, as of 10/17/23, the manager review          0.4   $ 400   $       160.00
                                   of the test of design for treasury control activities.
 Kelly O'Leary            10/17/23 (0.4) Continued, from earlier on 10/17/23, to build out      0.4   $ 350   $       140.00
                                   the inventory E&O estimate in our audit
                                   documentation file.
 Kelly O'Leary            10/17/23 (0.5) Call with P. Anderson (KPMG) to discuss                0.5   $ 350   $       175.00
                                   inventory E&O estimate elements and build out in the
                                   audit documentation file.
 Aden Cohen               10/17/23 (0.5) Meeting with A. Cohen, A. Heyne, and B.                0.5   $ 250   $       125.00
                                   Monahan (KPMG) to discuss review comments over
                                   purchases walkthrough, as of 10/17/23.
 Anna Heyne               10/17/23 (0.5) Meeting with A. Cohen, A. Heyne, and B.                0.5   $ 350   $       175.00
                                   Monahan (KPMG) to discuss review comments over
                                   purchases walkthrough, as of 10/17/23.
 Brian Monahan            10/17/23 (0.5) Meeting with A. Cohen, A. Heyne, and B.                0.5   $ 400   $       200.00
                                   Monahan (KPMG) to discuss review comments over
                                   purchases walkthrough, as of 10/17/23.
 Hillary Downey           10/17/23 (0.5) Meeting with H. Downey, S. Kodiyal and Z.              0.5   $ 550   $       275.00
                                   Arami (KPMG) to go over review comments and
                                   approach to documenting assessment of the
                                   effectiveness of the UAR/Lookback controls.




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 Sushant Kodiyal          10/17/23 (0.5) Meeting with H. Downey, S. Kodiyal and Z.           0.5   $ 470   $       235.00
                                   Arami (KPMG) to go over review comments and
                                   approach to documenting assessment of the
                                   effectiveness of the UAR/Lookback controls.
 Aden Cohen               10/17/23 (0.5) Meeting with L. Lin and A. Cohen (KPMG) to          0.5   $ 250   $       125.00
                                   discuss follow-up support received for Q2'23 YTD
                                   operating expense testing.
 Lynn Lin                 10/17/23 (0.5) Meeting with L. Lin and A. Cohen (KPMG) to          0.5   $ 400   $       200.00
                                   discuss follow-up support received for Q2'23 YTD
                                   operating expense testing.
 Kati Walker              10/17/23 (0.5) Meeting with L. Lin and K. Walker (KPMG) to         0.5   $ 350   $       175.00
                                   discuss walkthrough documentation expectations for
                                   inventory purchase and non-inventory purchase
                                   subprocesses.
 Lynn Lin                 10/17/23 (0.5) Meeting with L. Lin and K. Walker (KPMG) to         0.5   $ 400   $       200.00
                                   discuss walkthrough documentation expectations for
                                   inventory purchase and non-inventory purchase
                                   subprocesses.
 Steven Morgan            10/17/23 (0.5) Meeting between S. Morgan and M. Lawler             0.5   $ 550   $       275.00
                                   (KPMG) to review the first version of the October 30
                                   Audit Committee Presentation.
 Maggie Lawler            10/17/23 (0.5) Meeting between S. Morgan and M. Lawler             0.5   $ 455   $       227.50
                                   (KPMG) to review the first version of the October 30
                                   Audit Committee Presentation.
 Hillary Downey           10/17/23 (0.5) Meeting with S. Duby (Protiviti), S. Davis          0.5   $ 550   $       275.00
                                   (Proterra), H. Downey, S. Kodiyal and Z. Shahbaz
                                   (KPMG) to discuss status of IT testing, gathering of
                                   TOE evidence, and findings, as of 10/17/23.

 Sushant Kodiyal          10/17/23 (0.5) Meeting with S. Duby (Protiviti), S. Davis          0.5   $ 470   $       235.00
                                   (Proterra), H. Downey, S. Kodiyal and Z. Shahbaz
                                   (KPMG) to discuss status of IT testing, gathering of
                                   TOE evidence, and findings, as of 10/17/23.
 Zaya Shahbaz             10/17/23 (0.5) Meeting with S. Duby (Protiviti), S. Davis          0.5   $ 255   $       127.50
 Arami                             (Proterra), H. Downey, S. Kodiyal and Z. Shahbaz
                                   (KPMG) to discuss status of IT testing, gathering of
                                   TOE evidence, and findings, as of 10/17/23.

 Aden Cohen               10/17/23 (0.6) Meeting with A. Cohen and A. Heyne (KPMG)           0.6   $ 250   $       150.00
                                   to discuss documentation updates to be made to
                                   purchases walkthroughs.




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 Anna Heyne               10/17/23 (0.6) Meeting with A. Cohen and A. Heyne (KPMG)              0.6   $ 350   $       210.00
                                   to discuss documentation updates to be made to
                                   purchases walkthroughs.
 Patricia Anne Dela       10/17/23 (0.7) Continued, from earlier on 10/17/23, clearing          0.7   $ 400   $       280.00
 Rosa                              comments received from Manager and Partner
                                   regarding the Fixed Asset Impairment Estimates
                                   screen and update it accordingly.
 Riley Yeomans            10/17/23 (0.7) Meeting between R. Yeomans and K. O'Leary              0.7   $ 350   $       245.00
                                   (KPMG) to discuss questions related to warranty.
 Kelly O'Leary            10/17/23 (0.7) Meeting between R. Yeomans and K. O'Leary              0.7   $ 350   $       245.00
                                   (KPMG) to discuss questions related to warranty.
 Riley Yeomans            10/17/23 (1.0) Continued, from earlier on 10/17/23, to build out      1.0   $ 350   $       350.00
                                   the product warranty obligations estimate
                                   understanding in our audit documentation.
 Hillary Downey           10/17/23 (1.0) Manager review, as of 10/17/23, of workpapers          1.0   $ 550   $       550.00
                                   and GITC controls documentation in workpapers.

 Aden Cohen               10/17/23 (1.0) Meeting with A. Heyne, A. Cohen, L. Lin                1.0   $ 250   $       250.00
                                   (KPMG) to discuss review comments over PTP 1.1
                                   control.
 Anna Heyne               10/17/23 (1.0) Meeting with A. Heyne, A. Cohen, L. Lin                1.0   $ 350   $       350.00
                                   (KPMG) to discuss review comments over PTP 1.1
                                   control.
 Lynn Lin                 10/17/23 (1.0) Meeting with A. Heyne, A. Cohen, L. Lin                1.0   $ 400   $       400.00
                                   (KPMG) to discuss review comments over PTP 1.1
                                   control.
 Zaya Shahbaz             10/17/23 (1.0) Met with team to discuss the AC03 issues like          1.0   $ 255   $       255.00
 Arami                             documentation and findings: H. Downey, S. Kodiyal
                                   and Z. Shahbaz Arami (KPMG) attended the meeting.

 Steven Morgan            10/17/23 (1.0) Partner review, as of 10/17/23, of the test of         1.0   $ 550   $       550.00
                                   design for Treasury controls.
 Anna Heyne               10/17/23 (1.0) Review, as of 10/17/23, of the revenue controls        1.0   $ 350   $       350.00
                                   prior to revenue control scoping meeting.
 Lynn Lin                 10/17/23 (1.0) Reviewed, as of 10/17/23, the FY23 H1                  1.0   $ 400   $       400.00
                                   Standalone Selling Price memo provided by Proterra
                                   in order to understand the SSP methodologies used by
                                   the Company for each performance obligation..
 Sushant Kodiyal          10/17/23 (1.5) Cleared comments on Termination, Provisioning          1.5   $ 470   $       705.00
                                   controls for GITC, as of 10/17/23.
 Steven Morgan            10/17/23 (1.5) Meeting with S. Morgan, M. Lawler and A.               1.5   $ 550   $       825.00
                                   Heyne (KPMG) to discuss the Revenue Control
                                   Scoping.



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 Aden Cohen               10/17/23 (1.5) Meeting with S. Morgan, M. Lawler and A.                1.5   $ 250   $       375.00
                                   Heyne (KPMG) to discuss the Revenue Control
                                   Scoping.
 Anna Heyne               10/17/23 (1.5) Meeting with S. Morgan, M. Lawler and A.                1.5   $ 350   $       525.00
                                   Heyne (KPMG) to discuss the Revenue Control
                                   Scoping.
 Maggie Lawler            10/17/23 (1.5) Meeting with S. Morgan, M. Lawler and A.                1.5   $ 455   $       682.50
                                   Heyne (KPMG) to discuss the Revenue Control
                                   Scoping.
 Steven Morgan            10/17/23 (1.5) Partner review, as of 10/17/23, of client prepared      1.5   $ 550   $       825.00
                                   income statement and balance sheet analytics for the 3
                                   and 9 months ended 9/30/2023.
 Pat Anderson             10/17/23 (2.0) Manager review, as of 10/17/23, of inventory            2.0   $ 400   $       800.00
                                   walkthrough screens within workpapers..
 Patricia Anne Dela       10/17/23 (2.0) Prepared OKE instruction for HRK criteria JEs           2.0   $ 400   $       800.00
 Rosa                              as well as address the routines for sample selection.

 Kelly O'Leary            10/17/23 (2.0) Began to build out of the inventory E&O                 2.0   $ 350   $       700.00
                                   estimate elements in our audit documentation file.
 Zaya Shahbaz             10/17/23 (2.0) Reviewed, as of 10/17/23, the GITC batch jobs           2.0   $ 255   $       510.00
 Arami                             in order to ensure the batch jobs went through
                                   properly.
 Patricia Anne Dela       10/17/23 (2.0) Senior Associate review, as of 10/17/23, of the         2.0   $ 400   $       800.00
 Rosa                              CAAT memo, along with supporting documents for
                                   extraction of Journal entries as of 6/30/2023.
 Maggie Lawler            10/17/23 (2.0) Senior Manager preparation of the Audit                 2.0   $ 455   $       910.00
                                   Committee communications related to the interim
                                   review
 Riley Yeomans            10/17/23 2.3 Updated, as of 10/17/23, the warranty controls            2.3   $ 350   $       805.00
                                   design and implementation documentation.
 Aden Cohen               10/17/23 (2.6) Cleared review comments left by manager                 2.6   $ 250   $       650.00
                                   regarding the purchase process, as of 10/17/23.
 Kelly O'Leary            10/17/23 (2.6) Prepared an inventory estimate relating to the net      2.6   $ 350   $       910.00
                                   realizable value of WIP inventory and build out in the
                                   audit documentation file.
 Kati Walker              10/17/23 (2.7) Continued, as of 10/17/23, the preparation of           2.7   $ 350   $       945.00
                                   PTP Documentation - Inventory.
 Maggie Lawler            10/17/23 (2.8) Senior manager review, as of 10/17/23, of the           2.8   $ 455   $     1,274.00
                                   scoping for revenue controls and related attributes.
 Riley Yeomans            10/17/23 (3.0) Continued, as of 10/17/23, to build out the             3.0   $ 350   $     1,050.00
                                   product warranty obligations estimate understanding
                                   in our audit documentation.




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 Patricia Anne Dela       10/17/23 (3.3) Cleared comments received from Manager and               3.3   $ 400   $     1,320.00
 Rosa                              Partner regarding the Fixed Asset Impairment
                                   Estimates screen and updated it accordingly, as of
                                   10/17/23.
 Anna Heyne               10/17/23 (3.4) Continued, as of 10/17/23, to update the excel           3.4   $ 350   $     1,190.00
                                   testing template for revenue transit samples as
                                   required for FY 23 audit.
 Kelly O'Leary            10/18/23 (0.1) Began to update, as of 10/18/23, of the inventory        0.1   $ 350   $        35.00
                                   LCM estimate in the file in order to align with firm
                                   guidance.
 Kelly O'Leary            10/18/23 (0.1) Meeting with K. O'Leary and R. Yeomans                   0.1   $ 350   $        35.00
                                   (KPMG) to discuss warranty controls and Protiviti's
                                   RCM.
 Kelly O'Leary            10/18/23 (0.1) Meeting with K. O'Leary and R. Yeomans                   0.1   $ 350   $        35.00
                                   (KPMG) to discuss warranty controls and scoping of
                                   tech assurance work.
 Kelly O'Leary            10/18/23 (0.1) Updating, as of 10/18/23, the response to                0.1   $ 350   $        35.00
                                   assessed risks in the inventory process.
 Kelly O'Leary            10/18/23 (0.2) Call with P. Anderson, K. O'Leary and R.                 0.2   $ 350   $        70.00
                                   Yeomans (KPMG) to discuss inventory and warranty
                                   progress and plan for the week, as of 10/18/23.
 Riley Yeomans            10/18/23 (0.2) Call with P. Anderson, K. O'Leary and R.                 0.2   $ 350   $        70.00
                                   Yeomans (KPMG) to discuss inventory and warranty
                                   progress and plan for the week, as of 10/18/23.
 Pat Anderson             10/18/23 (0.2) Call with P. Anderson, K. O'Leary and R.                 0.2   $ 400   $        80.00
                                   Yeomans (KPMG) to discuss inventory and warranty
                                   progress and plan for the week, as of 10/18/23.
 Kelly O'Leary            10/18/23 (0.4) Call with P. Anderson and K. O'Leary (KPMG)              0.4   $ 350   $       140.00
                                   to discuss inventory labor and overhead calculation
                                   RA approach.
 Lynn Lin                 10/18/23 (0.5) Call with A. Heyne and L. Lin (KPMG) to                  0.5   $ 400   $       200.00
                                   discuss tie-out of stand-alone selling prices for certain
                                   customers within transit revenue sampling.
 Anna Heyne               10/18/23 (0.5) Call with A. Heyne and L. Lin (KPMG) to                  0.5   $ 350   $       175.00
                                   discuss tie-out of stand-alone selling prices for certain
                                   customers within transit revenue sampling.
 Gabe de la Rosa          10/18/23 (0.5) Call with G. de la Rosa, S. Morgan and M.                0.5   $ 550   $       275.00
                                   Lawler (KPMG) to discuss 3rd quarter review timeline
                                   and the extent of EQCR involvement, reporting and
                                   accounting issues for the quarter.




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 Steven Morgan            10/18/23 (0.5) Call with G. de la Rosa, S. Morgan and M.             0.5   $ 550   $       275.00
                                   Lawler (KPMG) to discuss 3rd quarter review timeline
                                   and the extent of EQCR involvement, reporting and
                                   accounting issues for the quarter.
 Pat Anderson             10/18/23 (0.5) Call with S. Harvell and P. Anderson (KPMG) to        0.5   $ 400   $       200.00
                                   discuss Warranty SOX controls status, as of 10/18/23.

 Stan Harvell             10/18/23 (0.5) Call with S. Harvell and P. Anderson (KPMG) to        0.5   $ 525   $       262.50
                                   discuss Warranty SOX controls status, as of 10/18/23.

 Brian Monahan            10/18/23 (0.5) Discussion with B. Monahan and M. Lawler              0.5   $ 400   $       200.00
                                   (KPMG) to go over team updated controls
                                   documentation expectations for the team.
 Anna Heyne               10/18/23 (0.5) Meeting with M. Lawler, L. Lin, and A. Heyne          0.5   $ 350   $       175.00
                                   (KPMG) to discuss stand alone selling price
                                   documentation within FY23 audit transit revenue
                                   testing.
 Lynn Lin                 10/18/23 (0.5) Meeting with M. Lawler, L. Lin, and A. Heyne          0.5   $ 400   $       200.00
                                   (KPMG) to discuss stand alone selling price
                                   documentation within FY23 audit transit revenue
                                   testing.
 Maggie Lawler            10/18/23 (0.5) Meeting with M. Lawler, L. Lin, and A. Heyne          0.5   $ 455   $       227.50
                                   (KPMG) to discussion standalone selling price
                                   documentation within FY23 audit transit revenue
                                   testing.
 Maggie Lawler            10/18/23 (0.5) Meeting with M. Lawler, S. Morgan, and G. De          0.5   $ 455   $       227.50
                                   La Rosa (KPMG) to discuss the company's preliminary
                                   results for Q3 and our planned procedures.

 Steven Morgan            10/18/23 (0.5) Partner clearance of review comments in the risk      0.5   $ 550   $       275.00
                                   and understanding screens in the human
                                   resources/payroll process, as of 10/18/23.
 Steven Morgan            10/18/23 (0.5) Partner clearance of review comments in the risk      0.5   $ 550   $       275.00
                                   and understanding screens in the purchases process, as
                                   of 10/18/23.
 Kelly O'Leary            10/18/23 (1.0) Meeting with K. O'Leary and R. Yeomans                1.0   $ 350   $       350.00
                                   (KPMG) to discuss updates to inventory and warranty
                                   audit documentation file updates for Proterra.

 Riley Yeomans            10/18/23 (1.0) Meeting with K. O'Leary and R. Yeomans                1.0   $ 350   $       350.00
                                   (KPMG) to discuss the audit documentation file
                                   updates for Proterra.




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 Steven Morgan            10/18/23 (1.0) Partner review, as of 10/18/23, of estimates           1.0   $ 550   $       550.00
                                   workpapers for the valuation assertion of fixed assets.

 Riley Yeomans         10/18/23 1.0 Updated, as of 10/17/23, the warranty controls              1.0   $ 350   $       350.00
                                design and implementation documentation.
 Patricia Anne Dela    10/18/23 (1.1) Continued, from earlier on 10/18/23, to prepare           1.1   $ 400   $       440.00
 Rosa                           workpapers screens for pre-engagement, independence
                                requirements, understanding the entity and draft the
                                analytics working paper for balance sheet, income
                                statement, other comprehensive income and statement
                                of cash flows.
 Kelly O'Leary         10/18/23 (1.5) Continued, from earlier on 10/18/23, to build out         1.5   $ 350   $       525.00
                                the inventory E&O estimate elements in our audit
                                documentation file.
 Patricia Anne Dela    10/18/23 (2.0) Prepare the OKE instructions for Non-GAAP,                2.0   $ 400   $       800.00
 Rosa                           minutes screens, Analytics and cash flow tie-out, TB
                                mapping, Preparation of representation letter and
                                completion screens in workpapers.
 Lynn Lin              10/18/23 (2.0) Review the support provided as of 10/18 for               2.0   $ 400   $       800.00
                                Q2'23 YTD transit revenue testing / Q2'23 YTD
                                powered credit memo testing to send follow-up
                                requests.
 Patricia Anne Dela Ro 10/18/23 (2.0) Review, as of 10/18/23, the Balance sheet and             2.0   $ 400   $       800.00
                                Income Statement Analytics provided by the client as
                                well as add inquiries regarding the movement of
                                account balances.
 Riley Yeomans         10/18/23 (2.8) Update flowchart, as of 10/18/23,                         2.8   $ 350   $       980.00
                                documentation for all business processes in our audit
                                documentation
 Patricia Anne Dela    10/18/23 (2.9) Prepare workpapers screens; specifically pre-             2.9   $ 400   $     1,160.00
 Rosa                           engagement, independence requirements,
                                understanding the entity and draft the analytics
                                working paper for balance sheet, income statement,
                                other comprehensive income and statement of cash
                                flows.
 Kelly O'Leary         10/18/23 (3.0) Continued, as of 10/18/23, to build out the               3.0   $ 350   $     1,050.00
                                inventory E&O estimate in our audit documentation
                                file.
 Lynn Lin              10/18/23 (3.0) Perform manager review, as of 10/18/23, of the            3.0   $ 400   $     1,200.00
                                purchase control PTP 7.1 as well as sending follow-up
                                comments to client.




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 Riley Yeomans            10/18/23 3.0 Continued, as of 10/18/23, to update the warranty       3.0   $ 350   $     1,050.00
                                   controls design and implementation documentation.

 Anna Heyne               10/18/23 (3.1) Continued, from earlier on 10/17/23, to update        3.1   $ 350   $     1,085.00
                                   the excel testing template for revenue transit samples
                                   as required for FY 23 audit.
 Maggie Lawler            10/18/23 (3.2) Senior manager review, as of 10/18/23, of the         3.2   $ 455   $     1,456.00
                                   balance sheet and income statement analytics for the
                                   Q3 interim review.
 Pat Anderson             10/18/23 (3.4) Continued, as of 10/18/23, Manager review of          3.4   $ 400   $     1,360.00
                                   inventory walkthrough screens within workpapers.
 Anna Heyne               10/18/23 (3.9) Continued, as of 10/17/23, to update the excel        3.9   $ 350   $     1,365.00
                                   testing template for revenue transit samples as
                                   required for FY 23 audit.
 Kelly O'Leary            10/19/23 (0.2) Call with P. Anderson, K. O'Leary and R.              0.2   $ 350   $        70.00
                                   Yeomans (KPMG) to discuss Proterra project
                                   management items and communicate client
                                   information.
 Pat Anderson             10/19/23 (0.2) Call with P. Anderson, K. O'Leary and R.              0.2   $ 400   $        80.00
                                   Yeomans (KPMG) to discuss Proterra project
                                   management items and communicate client
                                   information.
 Riley Yeomans            10/19/23 (0.2) Call with P. Anderson, K. O'Leary and R.              0.2   $ 350   $        70.00
                                   Yeomans (KPMG) to discuss Proterra project
                                   management items and communicate client
                                   information.
 Kelly O'Leary            10/19/23 (0.3) Call with P. Anderson, K. O'Leary and R.              0.3   $ 350   $       105.00
                                   Yeomans (KPMG) to discuss inventory and warranty
                                   progress and plan for the week, as of 10/19/23.
 Riley Yeomans            10/19/23 (0.3) Call with P. Anderson, K. O'Leary and R.              0.3   $ 350   $       105.00
                                   Yeomans (KPMG) to discuss inventory and warranty
                                   progress and plan for the week, as of 10/19/23.
 Pat Anderson             10/19/23 (0.3) Call with P. Anderson, K. O'Leary and R.              0.3   $ 400   $       120.00
                                   Yeomans (KPMG) to discuss inventory and warranty
                                   progress and plan for the week, as of 10/19/23.
 Riley Yeomans            10/19/23 0.4 Drafted questions to send to client related to          0.4   $ 350   $       140.00
                                   inventory and warranty business processes.
 Lynn Lin                 10/19/23 (0.5) Call with M. Lawler and L. Lin (KPMG) to              0.5   $ 400   $       200.00
                                   discuss FY23 documentation requirements on
                                   information used in the controls.
 Maggie Lawler            10/19/23 (0.5) Call with M. Lawler and L. Lin (KPMG) to              0.5   $ 455   $       227.50
                                   discuss FY23 documentation requirements on
                                   information used in the controls.



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 Pat Anderson             10/20/23 (0.5) Call with S. Harvell and P. Anderson (KPMG) to       0.5   $ 400   $       200.00
                                   discuss Inventory SOX controls discussion and year
                                   end count planning based on the latest SOX control
                                   update from Proterra and Protiviti.
 Stan Harvell             10/19/23 (0.5) Call with S. Harvell and P. Anderson (KPMG) to       0.5   $ 525   $       262.50
                                   discuss Inventory SOX controls discussion and year
                                   end count planning based on the latest SOX control
                                   update from Proterra and Protiviti.
 Steven Morgan            10/19/23 (0.5) Call with S. Morgan, M. Lawler, L. Lin, and A.       0.5   $ 550   $       275.00
                                   Heyne (KPMG) to discuss stand alone selling price
                                   risk considerations and documentation for FY23
                                   revenue testing.
 Anna Heyne               10/19/23 (0.5) Call with S. Morgan, M. Lawler, L. Lin, and A.       0.5   $ 350   $       175.00
                                   Heyne (KPMG) to discuss stand alone selling price
                                   risk considerations and documentation for FY23
                                   revenue testing.
 Lynn Lin                 10/19/23 (0.5) Call with S. Morgan, M. Lawler, L. Lin, and A.       0.5   $ 400   $       200.00
                                   Heyne (KPMG) to discuss stand alone selling price
                                   risk considerations and documentation for FY23
                                   revenue testing.
 Maggie Lawler            10/19/23 (0.5) Call with S. Morgan, M. Lawler, L. Lin, and A.       0.5   $ 455   $       227.50
                                   Heyne (KPMG) to discuss standalone selling price risk
                                   considerations and documentation for FY23 revenue
                                   testing
 Anna Heyne               10/19/23 (0.5) Follow up call with A. Heyne and L. Lin              0.5   $ 350   $       175.00
                                   (KPMG) to discuss tie-out of stand-alone selling
                                   prices for certain customers within transit revenue
                                   sampling.
 Lynn Lin                 10/19/23 (0.5) Follow up call with A. Heyne and L. Lin              0.5   $ 400   $       200.00
                                   (KPMG) to discuss tie-out of stand-alone selling
                                   prices for certain customers within transit revenue
                                   sampling.
 Sushant Kodiyal          10/19/23 (0.5) Meeting with D. Rotman, S. Kodiyal and H.            0.5   $ 470   $       235.00
                                   Downey (KPMG) to discuss status of GITC testing,
                                   approach to commencing ITAC testing, and
                                   considerations for evaluating GITC deficiencies.

 Doron Rotman             10/19/23 (0.5) Meeting with D. Rotman, S. Kodiyal and H.            0.5   $ 580   $       290.00
                                   Downey (KPMG) to discuss status of GITC testing,
                                   approach to commencing ITAC testing, and
                                   considerations for evaluating GITC deficiencies.




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 Hillary Downey           10/19/23 (0.5) Meeting with D. Rotman, S. Kodiyal and H.              0.5   $ 550   $       275.00
                                   Downey (KPMG) to discuss status of GITC testing,
                                   approach to commencing ITAC testing, and
                                   considerations for evaluating GITC deficiencies.

 Hillary Downey           10/19/23 (0.5) Meeting with H. Downey and S. Kodiyal                  0.5   $ 550   $       275.00
                                   (KPMG) to discuss population and sampling approach
                                   on CO5 GITC (batch job monitoring).
 Sushant Kodiyal          10/19/23 (0.5) Meeting with H. Downey and S. Kodiyal                  0.5   $ 470   $       235.00
                                   (KPMG) to discuss population and sampling approach
                                   on CO5 GITC (batch job monitoring).
 Brian Monahan            10/19/23 (0.7) Prepared email communication regarding the             0.7   $ 400   $       280.00
                                   control review status to Protiviti, as of 10/19/23.
 Patricia Anne Dela       10/19/23 (0.9) Continued, from earlier on 10/19/23, to prepare        0.9   $ 400   $       360.00
 Rosa                              the Statement of Uncorrected Misstatement excel file
                                   in order to assess the roll forward effect from prior
                                   quarters or prior year including its impact on Earnings
                                   per Share using the iron curtain and rollover methods.

 Patricia Anne Dela       10/19/23 (1.0) Continued, from earlier on 10/19/23, to review         1.0   $ 400   $       400.00
 Rosa                              the SAB 99 listing provided by the client for
                                   unrecorded misstatements identified by management
                                   as well as prepare the documentation in workpapers
                                   for its impact on the scope of work, in relation to any
                                   control deficiencies and understanding the nature.

 Lynn Lin                 10/19/23 (1.0) Determine FY23 in scope PTP ITAC controls in           1.0   $ 400   $       400.00
                                   regards to the purchasing process.
 Steven Morgan            10/19/23 (1.0) Partner review, as of 10/19/23, of the company         1.0   $ 550   $       550.00
                                   prepared analytics for the Statement of Cash Flows /
                                   Statement of Comprehensive Income.
 Lynn Lin                 10/19/23 (1.0) Perform manager review, as of 10/19/23, of the         1.0   $ 400   $       400.00
                                   payroll control PR 3.5.
 Riley Yeomans            10/19/23 1.1 Updated, as of 10/19/23, the inventory controls          1.1   $ 350   $       385.00
                                   design and implementation documentation.
 Brian Monahan            10/19/23 (1.1) Continued, as of 10/19/23, manager review of           1.1   $ 400   $       440.00
                                   the test of design for treasury control activities.
 Riley Yeomans            10/19/23 1.3 Continued, from earlier on 10/19/23, to update the       1.3   $ 350   $       455.00
                                   inventory walkthrough documentation to include
                                   relevant key controls in the business process.
 Lynn Lin                 10/19/23 (1.5) Perform manager review, as of 10/19/23, of the         1.5   $ 400   $       600.00
                                   payroll control PR 3.4




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 Kelly O'Leary            10/19/23 (1.8) Continued, from earlier on 10/18/23, to build out      1.8   $ 350   $       630.00
                                   the inventory E&O estimate in our audit
                                   documentation file.
 Riley Yeomans            10/19/23 1.8 Updated, as of 10/19/23, of the warranty                 1.8   $ 350   $       630.00
                                   walkthrough documentation to include relevant key
                                   controls in the business process.
 Sushant Kodiyal          10/19/23 (2.0) Cleared comments for GITC controls such as             2.0   $ 470   $       940.00
                                   Change Management, UAR, passwords and privilege
                                   access, as of 10/19/23.
 Pat Anderson             10/19/23 (2.0) Manager review, as of 10/19/23, of inventory           2.0   $ 400   $       800.00
                                   walkthrough and risk screens.
 Aden Cohen               10/19/23 (2.0) Reviewed, as of 10/19/23, concurrently prepared        2.0   $ 250   $       500.00
                                   the OPEX Test work under the substantive process in
                                   the purchases process.
 Riley Yeomans            10/19/23 1.9 Updated, as of 10/19/23, the audit documentation         1.9   $ 350   $       665.00
                                   for key controls related to the warranty business
                                   process.
 Kelly O'Leary            10/19/23 (2.1) Continued, as of 10/19/23, to build out the            2.1   $ 350   $       735.00
                                   inventory E&O estimate in our audit documentation
                                   file.
 Pat Anderson             10/19/23 (2.5) Manager review, as of 10/19/23, of warranty            2.5   $ 400   $     1,000.00
                                   walkthrough and risk screens.
 Anna Heyne               10/19/23 (2.6) Continued, from earlier on 10/19/23, to update         2.6   $ 350   $       910.00
                                   the excel testing template for revenue transit samples
                                   as required for FY 23 audit.
 Patricia Anne Dela       10/19/23 (3.0) Review, as of 10/19/23, of the SAB 99 listing          3.0   $ 400   $     1,200.00
 Rosa                              provided by the client for unrecorded misstatements
                                   identified by management as well as prepare
                                   documentation in workpapers for its impact on the
                                   scope of work, in relation to any control deficiencies
                                   and understanding the nature.
 Patricia Anne Dela       10/19/23 (3.1) Prepared the Statement of Uncorrected                  3.1   $ 400   $     1,240.00
 Rosa                              Misstatement excel file in order to assess the roll
                                   forward effect from prior quarters or prior year
                                   including its impact on Earnings per Share using the
                                   iron curtain and rollover methods.
 Maggie Lawler            10/19/23 (3.1) Senior Manager preparation of the Audit                3.1   $ 455   $     1,410.50
                                   Committee communications related to the interim
                                   review
 Anna Heyne               10/19/23 (3.9) Continued, as of 10/17/23, to update the excel         3.9   $ 350   $     1,365.00
                                   testing template for revenue transit samples as
                                   required for FY 23 audit.




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 Kelly O'Leary         10/20/23 (0.2) Continued, as of 10/20/23, to build out the             0.2   $ 350   $        70.00
                                inventory E&O estimate in our audit documentation
                                file.
 Hillary Downey        10/20/23 (0.5) Meeting with H. Downey and S. Kodiyal                   0.5   $ 550   $       275.00
                                (KPMG) to discuss building client prep sheets /
                                agendas for upcoming FRP ITAC WTs.
 Sushant Kodiyal       10/20/23 (0.5) Meeting with H. Downey and S. Kodiyal                   0.5   $ 470   $       235.00
                                (KPMG) to discuss building client prep sheets /
                                agendas for upcoming FRP ITAC WTs.
 Riley Yeomans         10/20/23 0.7 Updated, as of 10/20/23, warranty controls design         0.7   $ 350   $       245.00
                                and implementation documentation.
 Anna Heyne            10/20/23 (0.8) Continued, from earlier on 10/20/23, to update          0.8   $ 350   $       280.00
                                the excel testing template for revenue transit samples
                                as required for FY 23 audit.
 Pat Anderson          10/20/23 (2.0) Manager review, as of 10/20/23, of inventory            2.0   $ 400   $       800.00
                                walkthrough and risk screens.
 Patricia Anne Dela    10/20/23 (2.0) Drafted OKE instructions of the Q3 10-Q                 2.0   $ 400   $       800.00
 Rosa                           Financial Statement tie-out including tick mark
                                transfers, mathematical accuracy, company
                                consistency and tie out to foot note supports.
 Riley Yeomans         10/20/23 2.0 Updated, as of 10/20/23, the inventory                    2.0   $ 350   $       700.00
                                walkthrough documentation to include relevant key
                                controls in the business process.
 Patricia Anne Dela Ro 10/20/23 (3.0) Review, as of 10/20/23, of Statement of Cash            3.0   $ 400   $     1,200.00
                                flows to identify any impact of ASC 852
                                reorganization on its presentation as well as review the
                                analytics provided by the client and determine the
                                movement of cash flows against supporting
                                documents.
 Patricia Anne Dela Ro 10/20/23 (3.0) Review, as of 10/20/23, the deliverables                3.0   $ 400   $     1,200.00
                                provided by OKE of the samples selected for HRK
                                journal entries for Routine 1 (key word search) and
                                Routine 2 (Specific Users).
 Riley Yeomans         10/20/23 3.0 Updated, as of 10/20/23, the inventory controls           3.0   $ 350   $     1,050.00
                                design and implementation documentation.
 Anna Heyne            10/20/23 (3.2) Continued, as of 10/17/23, to update the excel          3.2   $ 350   $     1,120.00
                                testing template for revenue transit samples as
                                required for FY 23 audit.
 Kelly O'Leary         10/23/23 (0.1) Call with K. O'Leary, P. Anderson and R.                0.1   $ 350   $        35.00
                                Yeomans (KPMG) to discuss inventory count and
                                scoping.




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 Riley Yeomans            10/23/23 (0.1) Call with R. Yeomans, P. Anderson and K.               0.1   $ 350   $        35.00
                                   O'Leary (KPMG) to discuss inventory count and
                                   scoping.
 Gabe de la Rosa          10/23/23 (.3) Call with G. Dela Rosa, S. Morgan, M. Lawler, S         0.3   $ 550   $       165.00
                                   Ragano and D Hermann (KPMG) to discuss selection
                                   of processes and assignment of responsibilities of
                                   EQCR review.
 Lynn Lin                 10/23/23 (0.3) Review, as of 10/23/23, of the Q3 Accounting           0.3   $ 400   $       120.00
                                   disclosure checklist in advance of sending questions to
                                   client
 Lynn Lin                 10/23/23 (0.4) Call with L. Lin and P. Dela Rosa (KPMG) to            0.4   $ 400   $       160.00
                                   discuss procedures for Q3 review.
 Patricia Anne Dela       10/23/23 (0.4) Call with L. Lin and P. Dela Rosa (KPMG) to            0.4   $ 400   $       160.00
 Rosa                              discuss procedures for Q3 review.
 Brian Monahan            10/23/23 (0.4) Call with M. Lawler, P. Anderson, and B.               0.4   $ 400   $       160.00
                                   Monahan (KPMG) to discuss Manager review status
                                   and plan based on recent Protiviti business
                                   developments for the upcoming week.
 Pat Anderson             10/23/23 (0.4) Call with M. Lawler, P. Anderson, and B.               0.4   $ 400   $       160.00
                                   Monahan (KPMG) to discuss Manager review status
                                   and plan based on recent Protiviti business
                                   developments for the upcoming week.
 Riley Yeomans            10/23/23 (0.5) Call with P. Anderson, K. O'Leary and R.               0.5   $ 350   $       175.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   next steps, as of 10/23/23.
 Kelly O'Leary            10/23/23 (0.5) Call with P. Anderson, K. O'Leary and R.               0.5   $ 350   $       175.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   next steps, as of 10/23/23.
 Pat Anderson             10/23/23 (0.5) Call with P. Anderson, K. O'Leary and R.               0.5   $ 400   $       200.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   next steps, as of 10/23/23.
 Sushant Kodiyal          10/23/23 (0.5) Meeting between M. Orosa (Proterra) and S.             0.5   $ 470   $       235.00
                                   Kodiyal (KPMG) to discuss on the BOTS associated
                                   to Oracle EBS Admin and Oracle Journal Sources.

 Aden Cohen               10/23/23 (0.5) Meeting with A. Cohen and P. De La Rosa                0.5   $ 250   $       125.00
                                   (KPMG) to discuss the Q3'23 10-Q tie out.
 Patricia Anne Dela       10/23/23 (0.5) Meeting with A. Cohen and P. De La Rosa                0.5   $ 400   $       200.00
 Rosa                              (KPMG) to discuss the Q3'23 10-Q tie out.
 Kelly O'Leary            10/23/23 (0.5) Meeting with K. O'Leary and R. Yeomans                 0.5   $ 350   $       175.00
                                   (KPMG) to discuss inventory progress and warranty,
                                   as of 10/23/23.




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 Riley Yeomans         10/23/23 (0.5) Meeting with K. O'Leary and R. Yeomans                0.5   $ 350   $       175.00
                                (KPMG) to discuss inventory progress and warranty,
                                as of 10/23/23.
 Lynn Lin              10/23/23 (0.5) Meeting with M. Lawler and L. Lin (KPMG) to           0.5   $ 400   $       200.00
                                discuss the Q3'23 manager review allocation.
 Maggie Lawler         10/23/23 (0.5) Meeting with M. Lawler and L. Lin to discuss the      0.5   $ 455   $       227.50
                                Q3'23 manager review allocation
 Aden Cohen            10/23/23 (0.5) Meeting with M. Lawler, L. Lin, P. Dela Rosa          0.5   $ 250   $       125.00
                                and A. Cohen (KPMG0 to discuss the procedures on
                                Q3'23 10-Q tie-out.
 Patricia Anne Dela Ro 10/23/23 (0.5) Meeting with M. Lawler, L. Lin, P. Dela Rosa          0.5   $ 400   $       200.00
                                and A. Cohen (KPMG0 to discuss the procedures on
                                Q3'23 10-Q tie-out.
 Lynn Lin              10/23/23 (0.5) Meeting with M. Lawler, L. Lin, P. Dela Rosa          0.5   $ 400   $       200.00
                                and A. Cohen (KPMG0 to discuss the procedures on
                                Q3'23 10-Q tie-out.
 Maggie Lawler         10/23/23 (0.5) Meeting with M. Lawler, L. Lin, P. Dela Rosa          0.5   $ 455   $       227.50
                                and A. Cohen to discuss the procedures on Q3'23 10-
                                Q tie-out
 Maggie Lawler         10/23/23 (0.5) Meeting with S. Morgan, M. Lawler, L. Lin             0.5   $ 455   $       227.50
                                (KPMG), J. Zhang, J. Embt and R. Reaves (Proterra)
                                regarding Q3'23 review status.
 Lynn Lin              10/23/23 (0.5) Meeting with S. Morgan, M. Lawler, L. Lin             0.5   $ 400   $       200.00
                                (KPMG), J. Zhang, J. Embt and R. Reaves (Proterra)
                                regarding Q3'23 review status.
 Steven Morgan         10/23/23 (0.5) Meeting with S. Morgan, M. Lawler, L. Lin             0.5   $ 550   $       275.00
                                (KPMG), J. Zhang, J. Embt and R. Reaves (Proterra)
                                regarding Q3'23 review status.
 Lynn Lin              10/23/23 (0.5) Meeting with S. Morgan, M. Lawler, L. Lin, G.         0.5   $ 400   $       200.00
                                De La Rosa, D. Hermann, S. Ragano (KPMG) to
                                discuss the processes subject to SECRP review and
                                plans to meet the December milestone.
 Steven Morgan         10/23/23 (0.5) Meeting with S. Morgan, M. Lawler, L. Lin, G.         0.5   $ 550   $       275.00
                                De La Rosa, D. Hermann, S. Ragano (KPMG) to
                                discuss the processes subject to SECRP review and
                                plans to meet the December milestone.
 Maggie Lawler         10/23/23 (0.5) Meeting with S. Morgan, M. Lawler, L. Lin, G.         0.5   $ 455   $       227.50
                                De La Rosa, D. Hermann, S. Ragano to discuss the
                                processes subject to SECRP review and plans to meet
                                the December milestone.
 Aden Cohen            10/23/23 (0.6) Continued, from earlier on 10/23/23, the              0.6   $ 250   $       150.00
                                preparation of the 10-Q tie outs in the other
                                procedures process.



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 Kelly O'Leary         10/23/23 (0.7) Call with P. Anderson and K. O'Leary (KPMG)            0.7   $ 350   $       245.00
                                to discuss inventory count scoping and planning.
 Riley Yeomans         10/23/23 (0.9) Continued, from earlier on 10/23/23, to build          0.9   $ 350   $       315.00
                                out the product warranty obligations estimate risks in
                                our audit documentation
 Lynn Lin              10/23/23 (1.0) Meeting with S. Morgan, M. Lawler and L. Lin           1.0   $ 400   $       400.00
                                (KPMG) regarding Q3'23 status and priority items, as
                                of 10/23/23.
 Steven Morgan         10/23/23 (1.0) Meeting with S. Morgan, M. Lawler and L. Lin           1.0   $ 550   $       550.00
                                (KPMG) regarding Q3'23 status and priority items, as
                                of 10/23/23.
 Maggie Lawler         10/23/23 (1.0) Meeting with S. Morgan, M. Lawler and L. Lin           1.0   $ 455   $       455.00
                                (KPMG) regarding Q3'23 status and priority items, as
                                of 10/23/23.
 Maggie Lawler         10/23/23 (1.0) Senior manager coordination with Proterra              1.0   $ 455   $       455.00
                                contacts for the timeline of deliverables for the Q3
                                interim review.
 Pat Anderson          10/23/23 (1.4) Manager review, as of 10/23/23, of preliminary         1.4   $ 400   $       560.00
                                inventory count scoping file.
 Charina Delda         10/23/23 (0.5) Communication with A. Cohen (KPMG)                     0.5   $ 400   $       200.00
                                regarding review comments / additional information
                                needed to complete review of OpEx-Sub 1 and Opec-
                                Sub 4.
 Charina Delda         10/23/23 (1.0) OpEx Test work: Reviewed, as of 10/23/23, the          1.0   $ 400   $       400.00
                                Sub1 and Sub 4 Audit Screens and support file.
 Aden Cohen            10/23/23 (1.5) Cleared review comments left on the Walk               1.5   $ 250   $       375.00
                                throughs for the purchases process, as of 10/23/23.
 Patricia Anne Dela Ro 10/23/23 (1.5) Continued, from earlier on 10/23/23, the review        1.5   $ 400   $       600.00
                                of the statement of cash flows movements in order to
                                assess if aligned with understanding of the entity and
                                check appropriateness of cash flow activities
                                classification.
 Aden Cohen            10/23/23 (1.5) Continued, from earlier on 10/23/23, to clear          1.5   $ 250   $       375.00
                                review comments left on the Walk throughs for the
                                purchases process, as of 10/23/23.
 Kelly O'Leary         10/23/23 (3.0) Prepared inventory count scoping, reconciliation,      3.0   $ 350   $     1,050.00
                                and planning.
 Riley Yeomans         10/23/23 1.5 Continued, as of 10/23/23, to update the inventory       1.5   $ 350   $       525.00
                                controls design and implementation documentation.

 Maggie Lawler            10/23/23 (1.8) Senior manager review, as of 10/23/23, of           1.8   $ 455   $       819.00
                                   documented procedures performed related to the Q3
                                   interim review period.


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 Kelly O'Leary         10/23/23 (2.0) Reviewed, as of 10/23/23, the inventory E&O               2.0   $ 350   $       700.00
                                estimate elements and documented the risks and
                                information in our audit documentation.
 Rebecca Lo            10/23/23 (2.1) Reviewed, as of 10/23/23, the prior year 10K and          2.1   $ 350   $       735.00
                                10Q in order to understand the client background and
                                familiarize with the client.
 Maggie Lawler         10/23/23 (2.8) Senior manager review, as of 10/23/23, of the             2.8   $ 455   $     1,274.00
                                balance sheet and income statement analytics for the
                                Q3 interim review.
 Riley Yeomans         10/23/23 (3.1) Began to build out the product warranty                   3.1   $ 350   $     1,085.00
                                obligations estimate risks in our audit documentation
 Pat Anderson          10/23/23 (3.1) Manager review, as of 10/23/23, of inventory              3.1   $ 400   $     1,240.00
                                understanding and risk screens.
 Anna Heyne            10/23/23 (3.4) Continued, from earlier on 10/23/23, to update            3.4   $ 350   $     1,190.00
                                the transit revenue testing for FY23 audit for stand
                                alone selling price and consideration as discussed in
                                previous week.
 Aden Cohen            10/23/23 (3.9) Preparation of the 10-Q tie outs in the other             3.4   $ 250   $       850.00
                                procedures process.
 Patricia Anne Dela Ro 10/23/23 (3.5) Review, as of 10/23/23, the statement of cash             3.5   $ 400   $     1,400.00
                                flows movements in order to assess if aligned with
                                understanding of the entity and check appropriateness
                                of cash flow activities classification.

 Anna Heyne               10/23/23 (3.8) Update, as of 10/23/23, the transit revenue            3.8   $ 350   $     1,330.00
                                   testing for FY23 audit for stand alone selling prices
                                   and considerations as discussed with KPMG partners
                                   and managers the previous week.
 Lynn Lin                 10/24/23 (0.2) Call with S.Morgan, S. Harvell, L. Lin, P.             0.2   $ 400   $        80.00
                                   Anderson, S. Kodiyal (KPMG), J. Embt, M. Britsch,
                                   M. Orosa (Proterra), A.Pierce, R. Neff, C. Rotondo, D.
                                   Crane and S. Duby (Protiviti) to discuss Sox status and
                                   testing timeline, as of 10/24/23.

 Steven Morgan            10/24/23 (0.2) Call with S.Morgan, S. Harvell, L. Lin, P.             0.2   $ 550   $       110.00
                                   Anderson, S. Kodiyal (KPMG), J. Embt, M. Britsch,
                                   M. Orosa (Proterra), A.Pierce, R. Neff, C. Rotondo, D.
                                   Crane and S. Duby (Protiviti) to discuss Sox status and
                                   testing timeline, as of 10/24/23.




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                                                          Proterra Inc
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 Pat Anderson             10/24/23 (0.2) Call with S.Morgan, S. Harvell, L. Lin, P.             0.2   $ 400   $        80.00
                                   Anderson, S. Kodiyal (KPMG), J. Embt, M. Britsch,
                                   M. Orosa (Proterra), A.Pierce, R. Neff, C. Rotondo, D.
                                   Crane and S. Duby (Protiviti) to discuss Sox status and
                                   testing timeline, as of 10/24/23.
 Stan Harvell             10/24/23 (0.2) Call with S.Morgan, S. Harvell, L. Lin, P.             0.2   $ 525   $       105.00
                                   Anderson, S. Kodiyal (KPMG), J. Embt, M. Britsch,
                                   M. Orosa (Proterra), A.Pierce, R. Neff, C. Rotondo, D.
                                   Crane and S. Duby (Protiviti) to discuss Sox status and
                                   testing timeline, as of 10/24/23.
 Riley Yeomans            10/24/23 (0.2) Call with V. Sharma (KPMG) to discuss updates          0.2   $ 350   $        70.00
                                   for inventory flowchart documentation.
 Riley Yeomans            10/24/23 (0.2) Meeting with K. O'Leary and R. Yeomans                 0.2   $ 350   $        70.00
                                   (KPMG) to discuss inventory information and testing
                                   for the file.
 Kelly O'Leary            10/24/23 (0.2) Meeting with K. O'Leary and R. Yeomans                 0.2   $ 350   $        70.00
                                   (KPMG) to discuss inventory information and testing
                                   for the file.
 Patricia Anne Dela       10/24/23 (0.2) Meeting with P. Dela Rosa and L. Lin to discuss        0.2   $ 400   $        80.00
 Rosa                              the Q2YTD journal entry test work.
 Lynn Lin                 10/24/23 (0.2) Meeting with P. Dela Rosa and L. Lin to discuss        0.2   $ 400   $        80.00
                                   the Q2YTD journal entry test work.
 Kelly O'Leary            10/24/23 (0.3) Call with P. Anderson and K. O'Leary (KPMG)            0.3   $ 350   $       105.00
                                   to discuss inventory count scoping and planning, as of
                                   10/24/23.
 Aden Cohen               10/24/23 (0.3) Meeting with A. Cohen and P. Dela Rosa                 0.3   $ 250   $        75.00
                                   (KPMG) to address questions on the trial balance (TB)
                                   tie out.
 Patricia Anne Dela       10/24/23 (0.3) Meeting with A. Cohen and P. Dela Rosa                 0.3   $ 400   $       120.00
 Rosa                              (KPMG) to address questions on the trial balance (TB)
                                   tie out.
 Patricia Anne Dela       10/24/23 (0.3) Meeting with A. Cohen and P. Dela Rosa                 0.3   $ 400   $       120.00
 Rosa                              (KPMG) to discuss the Q3'23 TB Mapping tie out.
 Aden Cohen               10/24/23 (0.3) Meeting with A. Cohen and P. Dela Rosa                 0.3   $ 250   $        75.00
                                   (KPMG) to discuss the Q3'23 TB Mapping tie out.
 Riley Yeomans            10/24/23 (0.3) Meeting with K. O'Leary and R. Yeomans                 0.3   $ 350   $       105.00
                                   (KPMG) to discuss warranty and the related
                                   information for testing.
 Kelly O'Leary            10/24/23 (0.3) Meeting with K. O'Leary and R. Yeomans                 0.3   $ 350   $       105.00
                                   (KPMG) to discuss warranty and the related
                                   information for testing.
 Kelly O'Leary            10/24/23 (0.3) Updated, as of 10/24/23, the inventory controls        0.3   $ 350   $       105.00
                                   in our audit documentation file.



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 Kelly O'Leary            10/24/23 (0.3) Call with P. Anderson and K. O'Leary (KPMG)           0.4   $ 350   $       140.00
                                   to discuss inventory count scoping and planning, as of
                                   10/24/23.
 Kelly O'Leary            10/24/23 (0.4) Reviewed, as of 10/24/23, concurrently cleared        0.4   $ 350   $       140.00
                                   the inventory review comments and updated
                                   documentation.
 Sushant Kodiyal          10/24/23 (0.5) - Meeting between M. Orosa, S. Malladi                0.5   $ 470   $       235.00
                                   (Proterra) and S. Kodiyal (KPMG) to run BOTS
                                   associated to Oracle EBS Admin and Oracle Journal
                                   Sources.
 Riley Yeomans            10/24/23 (0.5) Call with P. Anderson, K. O'Leary and R.              0.5   $ 350   $       175.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   plan for the week, as of 10/24/23.
 Kelly O'Leary            10/24/23 (0.5) Call with P. Anderson, K. O'Leary and R.              0.5   $ 350   $       175.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   plan for the week, as of 10/24/23.
 Pat Anderson             10/24/23 (0.5) Call with P. Anderson, K. O'Leary and R.              0.5   $ 400   $       200.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   plan for the week, as of 10/24/23.
 Kelly O'Leary            10/24/23 (0.5) Call with P. Anderson, K. O'Leary, and S.             0.5   $ 350   $       175.00
                                   Harvell (KPMG) to discuss inventory count scoping
                                   and planning.
 Pat Anderson             10/24/23 (0.5) Call with P. Anderson, K. O'Leary, and S.             0.5   $ 400   $       200.00
                                   Harvell (KPMG) to discuss inventory count scoping
                                   and planning.
 Pat Anderson             10/24/23 (0.5) Call with S. Morgan, S. Harvell, and P. Anderson      0.5   $ 400   $       200.00
                                   (KPMG) to discuss action plan for inventory audit
                                   procedures based on recent Proterra business
                                   developments, as of 10/24/23.
 Steven Morgan            10/24/23 (0.5) Call with S. Morgan, S. Harvell, and P. Anderson      0.5   $ 550   $       275.00
                                   (KPMG) to discuss action plan for inventory audit
                                   procedures based on recent Proterra business
                                   developments, as of 10/24/23.
 Stan Harvell             10/24/23 (0.5) Call with S. Morgan, S. Harvell, and P. Anderson      0.5   $ 525   $       262.50
                                   (KPMG) to discuss action plan for inventory audit
                                   procedures based on recent Proterra business
                                   developments, as of 10/24/23.
 Sushant Kodiyal          10/24/23 (0.5) Call with S.Morgan, S. Harvell, L. Lin, P.            0.5   $ 470   $       235.00
                                   Anderson, S. Kodiyal (KPMG), J. Embt, M. Britsch,
                                   M. Orosa (Proterra), A. Pierce, R. Neff, C. Rotondo,
                                   D. Crane, S. Duby (Protiviti) to discuss SOX status
                                   and testing timeline, as of 10/24/23.




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 Sushant Kodiyal          10/24/23 (0.5) Meeting with S. Duby (Protiviti), M. Orosa                 0.5   $ 470   $       235.00
                                   (Proterra), and S. Kodiyal (KPMG) to discuss status of
                                   IT testing, gathering of TOE evidence, as of 10/24/23.

 Rebecca Lo               10/24/23 (0.6) Meeting with S. Morgan, B. Monahan and R.Lo                0.6   $ 350   $       210.00
                                   (KPMG) to discuss debt estimates, as of 10/24/23.
 Brian Monahan            10/24/23 (0.6) Meeting with S. Morgan, B. Monahan and R.Lo                0.6   $ 400   $       240.00
                                   (KPMG) to discuss debt estimates, as of 10/24/23.
 Steven Morgan            10/24/23 (0.6) Meeting with S. Morgan, B. Monahan and R.Lo                0.6   $ 550   $       330.00
                                   (KPMG) to discuss debt estimates, as of 10/24/23.
 Aden Cohen               10/24/23 (0.7) Meeting with P. Dela Rosa, S. Morgan, L. Lin,              0.7   $ 250   $       175.00
                                   and A.Cohen (KPMG) to discuss status for Q3, as of
                                   10/24/23.
 Patricia Anne Dela       10/24/23 (0.7) Meeting with P. Dela Rosa, S. Morgan, L. Lin,              0.7   $ 400   $       280.00
 Rosa                              and A.Cohen (KPMG) to discuss status for Q3, as of
                                   10/24/23.
 Lynn Lin                 10/24/23 (0.7) Meeting with P. Dela Rosa, S. Morgan, L. Lin,              0.7   $ 400   $       280.00
                                   and A.Cohen (KPMG) to discuss status for Q3, as of
                                   10/24/23.
 Steven Morgan            10/24/23 (0.7) Meeting with P. Dela Rosa, S. Morgan, L. Lin,              0.7   $ 550   $       385.00
                                   and A.Cohen (KPMG) to discuss status for Q3, as of
                                   10/24/23.
 Kelly O'Leary            10/24/23 (0.9) Continued, as of 10/24/23, to prepare inventory            0.9   $ 350   $       315.00
                                   count scoping, reconciliation, and planning.
 Kelly O'Leary            10/24/23 (0.9) Continued, as of 10/24/23, to document the                 0.9   $ 350   $       315.00
                                   inventory E&O estimate risks and information as well
                                   as plan audit procedures over the elements.
 Kelly O'Leary            10/24/23 (0.5) Call with K. O'Leary, P. Anderson and S. Harvell           0.5   $ 350   $       175.00
                                   (KPMG) to discuss inventory count and scoping and
                                   documentation file.
 Stan Harvell             10/24/23 (1.0) Call with S. Harvell, P. Anderson, and K.                  1.0   $ 525   $       525.00
                                   O'Leary (KPMG) to discuss inventory count scoping.
 Stan Harvell             10/24/23 (1.0) Managing Director review, as of 10/24/23, of               1.0   $ 525   $       525.00
                                   Warranty understanding and walkthrough workpapers.

 Lynn Lin                 10/24/23 Prepared, concurrently updated, as of 10/24/23, the              1.0   $ 400   $       400.00
                                   unrecorded misstatements page for Q3 Audit
                                   Committee Meeting.
 Anna Heyne               10/24/23 (1.2) Continued, from earlier on 10/24/23, to update             1.2   $ 350   $       420.00
                                   the transit revenue testing list of questions for Proterra.




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 Riley Yeomans            10/24/23 (1.4) Senior Associate preparation of flowchart             1.4   $ 350   $       490.00
                                   update documentation for all business processes in our
                                   audit documentation, as of 10/24/23.
 Brian Monahan            10/24/23 (1.4) Manager review, as of 10/24/23, of the                1.4   $ 400   $       560.00
                                   Management's specialist memo (Houlihan) in
                                   conjunction with filling out debt estimates screen.
 Steven Morgan            10/24/23 (1.5) Partner review, as of 10/24/23, of Proterra           1.5   $ 550   $       825.00
                                   memos regarding 852 adoption and impact on the
                                   various debt agreements.
 Lynn Lin                 10/24/23 Manager review, as of 10/24/23, of the Q3'23                1.5   $ 400   $       600.00
                                   management representation letter template.
 Brian Monahan            10/24/23 (1.7) Manager review, as of 10/24/23, of KPMG's DPP         1.7   $ 400   $       680.00
                                   memo in conjunction with filling out debt estimates
                                   screen.
 Aden Cohen               10/24/23 (1.8) Began to prepare documentation of the tie-out of      1.8   $ 250   $       450.00
                                   the Q3'23 10Q.

 Rebecca Lo               10/24/23 (1.9) Senior review, as of 10/24/23, of the DPP memo,       1.9   $ 350   $       665.00
                                   Section I, description and background, related to the
                                   Accounting for convertible notes to aid in completing
                                   the debt estimates screen.
 Patricia Anne Dela       10/24/23 (2.0) Review, as of 10/24/23, of management                 2.0   $ 400   $       800.00
 Rosa                              representation letter drafted by OKE as well as check
                                   for any required representations related to ASC 852
                                   and address comments from Manager and Partner.

 Riley Yeomans            10/24/23 (2.3) Continued, from earlier on 10/24/23, the Senior       2.3   $ 350   $       805.00
                                   Associate of updated inventory information in the
                                   audit documentation file.
 Aden Cohen               10/24/23 (2.4) Preparing the TB tie out in the Q3 other              2.4   $ 250   $       600.00
                                   procedure process.
 Lynn Lin                 10/24/23 (2.5) Perform manager review, as of 10/24/23, of the        2.5   $ 400   $     1,000.00
                                   SAB 99 entries provided on 10/16, concurrently draft
                                   follow-up comments to the Client.
 Riley Yeomans            10/24/23 (2.8) Senior Associate updated, as of 10/24/23, the         2.8   $ 350   $       980.00
                                   inventory information in the audit documentation file.
 Kelly O'Leary            10/24/23 (2.8) Continued, as of 10/24/23, to prepare inventory       2.8   $ 350   $       980.00
                                   count scoping, reconciliation, and planning.
 Patricia Anne Dela       10/24/23 (2.9) Began to prepare Statement of Other                   2.9   $ 400   $     1,160.00
 Rosa                              Comprehensive Income Analytics working paper
                                   including tie out in relation to the Balance Sheet
                                   Analytics and Income Statement Analytics.




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 Anna Heyne               10/24/23 (2.9) Continued, from earlier on 10/24/23, to update             2.9   $ 350   $     1,015.00
                                   the transit revenue testing list of questions for Proterra.

 Pat Anderson             10/24/23 (3.0) Continued, as of 10/24/23, of the Manager                  3.0   $ 400   $     1,200.00
                                   review of inventory understanding and risk screens.
 Steven Morgan            10/24/23 (3.0) Partner review, as of 10/24/23, of V1 of                   3.0   $ 550   $     1,650.00
                                   Company's 10Q draft.
 Patricia Anne Dela       10/24/23 (3.1) Review, as of 10/24/23, of the client's responses          3.1   $ 400   $     1,240.00
 Rosa                              on inquiries noted in the Balance Sheet Analytics and
                                   Income Statement Analytics, concurrently prepared the
                                   working papers including tie out of balances related to
                                   quarter to date and year to date.

 Rebecca Lo               10/24/23 (3.5) Senior Associate review, as of 10/24/23, of the            3.5   $ 350   $     1,225.00
                                   DPP memo, Section II, analysis and judgements,
                                   related to the Accounting for convertible notes in
                                   order to aid in completing the debt estimates screen.
 Aden Cohen               10/24/23 (3.9) Preparation of the 10-Q tie outs in the other              3.9   $ 250   $       975.00
                                   procedures process.
 Anna Heyne               10/24/23 (3.9) Updated, as of 10/24/23, the transit revenue               3.9   $ 350   $     1,365.00
                                   testing list of questions for Proterra.
 Kelly O'Leary            10/25/23 (0.1) Call with P. Anderson and K. O'Leary (KPMG)                0.1   $ 350   $        35.00
                                   to discuss inventory count and scoping.
 Steven Morgan            10/25/23 (0.2) Call with S. Morgan and P. dela Rosa (KPMG)                0.2   $ 550   $       110.00
                                   to discuss status on Q3 10-Q, as of 10/25/23.
 Patricia Anne Dela       10/25/23 (0.2) Call with S. Morgan and P. dela Rosa (KPMG)                0.2   $ 400   $        80.00
 Rosa                              to discuss status on Q3 10-Q, as of 10/25/23.
 Riley Yeomans            10/25/23 (0.2) Continued, as of 10/25/23, Senior Associate                0.2   $ 350   $        70.00
                                   update of inventory information in the audit
                                   documentation file.
 Kelly O'Leary            10/25/23 (0.3) Call between P. Anderson and K. O'Leary                    0.3   $ 350   $       105.00
                                   (KPMG) to discuss updates to the inventory controls
                                   and audit documentation file.
 Kelly O'Leary            10/25/23 (0.3) Discussion with P. Anderson (KPMG) to discuss              0.3   $ 350   $       105.00
                                   inventory controls and audit file documentation.
 Brian Monahan            10/25/23 (0.3) Manager review, as of 10/25/23, of various                 0.3   $ 400   $       120.00
                                   treasury control activity TOD screens.
 Lynn Lin                 10/25/23 (0.3) Meeting with P. Dela Rosa, S. Morgan, L. Lin,              0.3   $ 400   $       120.00
                                   and A. Cohen (KPMG) to discuss status of planned
                                   852 procedures for Q3 review, as of 10/25/23.




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 Patricia Anne Dela       10/25/23 (0.3) Meeting with P. Dela Rosa, S. Morgan, L. Lin,          0.3   $ 400   $       120.00
 Rosa                              and A. Cohen (KPMG) to discuss status of planned
                                   852 procedures for Q3 review, as of 10/25/23.
 Aden Cohen               10/25/23 (0.3) Meeting with P. Dela Rosa, S. Morgan, L. Lin,          0.3   $ 250   $        75.00
                                   and A. Cohen (KPMG) to discuss status of planned
                                   852 procedures for Q3 review, as of 10/25/23.
 Steven Morgan            10/25/23 (0.3) Meeting with P. Dela Rosa, S. Morgan, L. Lin,          0.3   $ 550   $       165.00
                                   and A. Cohen (KPMG) to discuss status of planned
                                   852 procedures for Q3 review, as of 10/25/23.
 Kelly O'Leary            10/25/23 (0.3) Prepared inventory control documentation,              0.3   $ 350   $       105.00
                                   concurrently updated our audit documentation, as of
                                   10/25/23.
 Rebecca Lo               10/25/23 (0.3) Review, as of 10/25/23, of the EQ8.2 control           0.3   $ 350   $       105.00
                                   activity screen as a reference.
 Patricia Anne Dela       10/25/23 (0.4) Continued, from earlier on 10/25/23, to review         0.4   $ 400   $       160.00
 Rosa                              the responses provided by the client for Statement of
                                   Cash flows analytics as well as responses regarding
                                   additional inquiries provided on 10/24 on Balance
                                   Sheet and Income Statement Analytics, concurrently
                                   updated all three analytics working papers.
 Stephanie Kushner        10/25/23 (0.5) Managing Director review, as of 10/25/23, of           0.5   $ 600   $       300.00
                                   the income taxes disclosures in 10-q review for
                                   income taxes for discussions with audit team on
                                   timing/comments, correspondence with tax team on
                                   client prepared memo.
 Kelly O'Leary            10/25/23 (0.5) Call with K. O'Leary, P. Anderson and R.               0.5   $ 350   $       175.00
                                   Yeomans (KPMG) to discuss inventory controls and
                                   next steps, as of 10/25/23.
 Pat Anderson             10/25/23 (0.5) Call with P. Anderson, K. O'Leary and R.               0.5   $ 400   $       200.00
                                   Yeomans (KPMG) to discuss inventory progress and
                                   plan for the week.
 Riley Yeomans            10/25/23 (0.5) Call with R. Yeomans, P. Anderson and K.               0.5   $ 350   $       175.00
                                   O'Leary (KPMG) to discuss inventory updates and
                                   next steps.
 Lynn Lin                 10/25/23 (0.5) Communicated the interim timeline with the tax         0.5   $ 400   $       200.00
                                   team, concurrently provided the team with the most
                                   current 10Q.
 Anna Heyne               10/25/23 (0.5) Continued, from earlier on 10/25/23, to update         0.5   $ 350   $       175.00
                                   the transit revenue testing for FY23 audit for
                                   responses from Proterra on questions related to various
                                   test samples.




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 Riley Yeomans            10/25/23 (0.5) Meeting with K. O'Leary and R. Yeomans                 0.5   $ 350   $       175.00
                                   (KPMG) to discuss inventory and next steps, as of
                                   10/25/23.
 Kelly O'Leary            10/25/23 (0.5) Meeting with K. O'Leary and R. Yeomans                 0.5   $ 350   $       175.00
                                   (KPMG) to discuss updates to inventory count and
                                   next steps in audit documentation, as of 10/25/23.
 Raechel Wagner           10/25/23 (0.5) Prepared the tax review sign off memo for Q3           0.5   $ 475   $       237.50
                                   tax provision review.
 Patricia Anne Dela       10/25/23 (0.6) Call with S. Morgan and L. Lin, P. Dela Rosa           0.6   $ 400   $       240.00
 Rosa                              (KPMG) to discuss status on Q3 10-Q, as of 10/25/23.

 Lynn Lin                 10/25/23 (0.6) Call with S. Morgan and L. Lin, P. Dela Rosa           0.6   $ 400   $       240.00
                                   (KPMG) to discuss status on Q3 10-Q, as of 10/25/23.

 Brian Monahan            10/25/23 (0.6) Meeting with B. Monahan and R. Lo (KPMG) to            0.6   $ 400   $       240.00
                                   discuss Proterra debt estimates and treasury (debt)
                                   controls.
 Rebecca Lo               10/25/23 (0.6) Meeting with B. Monahan and R. Lo (KPMG) to            0.6   $ 350   $       210.00
                                   discuss Proterra debt estimates and treasury (debt)
                                   controls.
 Riley Yeomans            10/25/23 (0.8) Meeting with K. O'Leary and R. Yeomans                 0.8   $ 350   $       280.00
                                   (KPMG) to discuss inventory information and build
                                   out in the file.
 Kelly O'Leary            10/25/23 (0.8) Meeting with K. O'Leary and R. Yeomans                 0.8   $ 350   $       280.00
                                   (KPMG) to discuss inventory information and build
                                   out in the audit documentation file.
 Rebecca Lo               10/25/23 (0.9) Began to prepare debt estimates screen in              0.9   $ 350   $       315.00
                                   workpapers.
 Pat Anderson             10/25/23 (1.0) Call with S. Harvell, P. Anderson, and K.              1.0   $ 400   $       400.00
                                   O'Leary (KPMG) to discuss inventory count scoping.
 Patricia Anne Dela       10/25/23 (1.0) Consolidate all 10-Q Financial statement external      1.0   $ 400   $       400.00
 Rosa                              comments from the EQCR, Partner and Manager to
                                   send to the client.
 Stan Harvell             10/25/23 (1.1) Managing Director review, as of 10/25/23, of           1.1   $ 525   $       577.50
                                   inventory year end physical counts scoping.
 Steven Morgan            10/25/23 (1.0) Partner review, as of 10/25/23, of KPMG's              1.0   $ 550   $       550.00
                                   agenda materials for the 10/30 Audit committee
                                   presentation.
 Rebecca Lo               10/25/23 (1.0) Review, as of 10/25/23, the EVS Memo for               1.0   $ 350   $       350.00
                                   convertible bond to aid in completing debt estimates
                                   screen.
 Raechel Wagner           10/25/23 (1.0) Reviewed, as of 10/25/23, the Company's 10Q            1.0   $ 475   $       475.00
                                   financial statements for tax disclosure purposes.



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 Raechel Wagner           10/25/23 (1.0) Tied-out the Q3 tax provision memo provided by      1.0   $ 475   $       475.00
                                   the client.
 Lynn Lin                 10/25/23 (1.0) Update, as of 10/25/23, the Q3 Audit Committee      1.0   $ 400   $       400.00
                                   slide deck based on the new SAB 99 that was received
                                   on 10/25/23.
 Aden Cohen               10/25/23 (1.1) Preparation of Q3 Non-GAAP Process.                 1.1   $ 250   $       275.00
 Rebecca Lo               10/25/23 (1.1) Prepared TCM 1.4 control activity screen in         1.1   $ 350   $       385.00
                                   preparation for manager review.
 Rebecca Lo               10/25/23 (1.1) Prepared TCM 4.1 control activity screen in         1.1   $ 350   $       385.00
                                   preparation for manager review.
 Brian Monahan            10/25/23 (1.2) Manager review, as of 10/25/23, of EVS debt         1.2   $ 400   $       480.00
                                   workpaper in conjunction with filling out debt
                                   estimates screen.
 Brian Monahan            10/25/23 (1.5) Manager review, as of 10/25/23, of KPMG's DPP       1.5   $ 400   $       600.00
                                   memo in conjunction with filling out debt estimates
                                   screen.
 Gabe de la Rosa          10/25/23 (1.5) Reviewed, as of 10/25/23, the Q3 2023 Form 10-      1.5   $ 550   $       825.00
                                   Q as required by the EQCR.
 Pat Anderson             10/25/23 (2.0) Continued, as of 10/25/23, of the Manager           2.0   $ 400   $       800.00
                                   review of preliminary inventory count scoping file.
 Stan Harvell             10/25/23 (2.0) Managing Director review, as of 10/25/23, of        2.0   $ 525   $     1,050.00
                                   Inventory understanding and walkthrough workpapers.

 Patricia Anne Dela    10/25/23 (2.0) Senior Associate review, as of 10/25/23, the 10Q       2.0   $ 400   $       800.00
 Rosa                           tie out as prepared by associate and OKE in order to
                                confirm footnotes against supports.
 Patricia Anne Dela Ro 10/25/23 (2.0) Reviewed, as of 10/25/23, the Non-GAAP policy          2.0   $ 400   $       800.00
                                in order to gain an understanding from the client
                                regarding its nature and impact.
 Kelly O'Leary            10/25/23 (2.5) Updated, as of 10/25/23, the inventory control      2.5   $ 350   $       875.00
                                   documentation in the audit file.
 Lynn Lin                 10/25/23 (2.7) Review, as of 10/25/23, the SAB 99 entries          2.7   $ 400   $     1,080.00
                                   provided on 10/25/23, concurrently draft follow-up
                                   comments to the Client.
 Aden Cohen               10/25/23 (2.8) Continuation, from earlier on 10/25/23, of the      2.8   $ 250   $       700.00
                                   preparation / reviewing the 10Q- Tie out in the Q3
                                   Process.
 Pat Anderson             10/25/23 (3.0) Continued, as of 10/25/23, of the Manager           3.0   $ 400   $     1,200.00
                                   review of inventory understanding and risk screens
                                   prepared by staff




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 Hillary Downey           10/25/23 (3.0) Continued, as of 10/25/23, the manager review         3.0   $ 550   $     1,650.00
                                   of workpapers and GITC controls comments in
                                   workpapers.
 Riley Yeomans            10/25/23 (3.0) Began updating, as of 10/25/23, the inventory         3.0   $ 350   $     1,050.00
                                   information in the audit documentation file.
 Anna Heyne               10/25/23 (3.5) Update, as of 10/25/23, the transit revenue           3.5   $ 350   $     1,225.00
                                   testing for FY23 audit for responses from Proterra on
                                   questions related to various test samples.
 Patricia Anne Dela       10/25/23 (3.6) Review, as of 10/25/23, the responses provided        3.6   $ 400   $     1,440.00
 Rosa                              by the client for Statement of Cash flows analytics as
                                   well as responses regarding additional inquiries
                                   provided on 10/24 on Balance Sheet and Income
                                   Statement Analytics, concurrently updated all three
                                   analytics working papers.
 Aden Cohen               10/25/23 (3.9) Preparation, concurrent review of the 10Q- Tie        3.9   $ 250   $       975.00
                                   out in the Q3 Process.
 Aden Cohen               10/26/23 (0.3) Meeting with A. Cohen and P. Dela Rosa                0.3   $ 250   $        75.00
                                   (KPMG) to answer questions on the ADC process.
 Patricia Anne Dela       10/26/23 (0.3) Meeting with A. Cohen and P. Dela Rosa                0.3   $ 400   $       120.00
 Rosa                              (KPMG) to answer questions on the ADC process.
 Brian Monahan            10/26/23 (0.4) Continued, as of 10/26/23, the manager review         0.4   $ 400   $       160.00
                                   of various treasury control activity TOD screens.
 Aden Cohen               10/26/23 (0.4) Meeting with P. Dela Rosa, S. Morgan, L. Lin,         0.4   $ 250   $       100.00
                                   and A. Cohen (KPMG) to discuss the Q3 interim
                                   status, as of 10/26/23, as well as go over questions /
                                   concerns involving task assigned team.
 Lynn Lin                 10/26/23 (0.4) Meeting with P. Dela Rosa, S. Morgan, L. Lin,         0.4   $ 400   $       160.00
                                   and A. Cohen (KPMG) to discuss the Q3 interim
                                   status, as of 10/26/23, as well as go over questions /
                                   concerns involving task assigned team.
 Patricia Anne Dela       10/26/23 (0.4) Meeting with P. Dela Rosa, S. Morgan, L. Lin,         0.4   $ 400   $       160.00
 Rosa                              and A. Cohen (KPMG) to discuss the Q3 interim
                                   status, as of 10/26/23, as well as go over questions /
                                   concerns involving task assigned team.
 Gabe de la Rosa          10/26/23 (.5) Performed partner review, as of 10/26/23, of the       0.5   $ 550   $       275.00
                                   required communications to the Audit Committee as
                                   required by the EQCR.
 Gabe de la Rosa          10/26/23 (0.5) Call with S. Morgan and G. de la Rosa (KPMG)          0.5   $ 550   $       275.00
                                   to discuss draft KPMG materials for 10.30 AC
                                   meeting
 Steven Morgan            10/26/23 (0.5) Call with S. Morgan and G. de la Rosa (KPMG)          0.5   $ 550   $       275.00
                                   to discuss draft KPMG materials for 10.30 AC
                                   meeting



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 Brian Monahan            10/26/23 (0.5) Meeting with B. Monahan and R.Lo (KPMG) to             0.5   $ 400   $       200.00
                                   discuss debt estimates.
 Lynn Lin                 10/26/23 (0.5) Meeting with S. Morgan and L. Lin (KPMG) to            0.5   $ 400   $       200.00
                                   discuss Q3 SAB 99 entries received 10/26 and Audit
                                   Committee slide deck updates.
 Steven Morgan            10/26/23 (0.5) Meeting with S. Morgan and L. Lin (KPMG) to            0.5   $ 550   $       275.00
                                   discuss Q3 SAB 99 entries received 10/26 and Audit
                                   Committee slide deck updates.
 Rebecca Lo               10/26/23 (0.5) Meeting with S. Morgan, B. Monahan and R. Lo           0.5   $ 350   $       175.00
                                   (KPMG) to discuss debt estimates for Proterra.
 Hillary Downey           10/26/23 Meeting with H. Downey - partial, S. Kodiyal and Z.          0.8   $ 550   $       440.00
                                   Shahbaz (KPMG) to discuss IT engagement status, as
                                   of 10/26/23, workpaper review feedback and
                                   scheduling of next phase of IT controls testing.
 Anna Heyne               10/26/23 (0.9) Continued, from earlier on 10/26/23, to update         0.9   $ 350   $       315.00
                                   the transit revenue testing for FY23 audit for
                                   responses from Proterra on questions related to various
                                   test samples.
 Riley Yeomans            10/26/23 (0.9) Senior Associate review, as of 10/26/23, of OKE        0.9   $ 350   $       315.00
                                   updates to flowcharts in file.
 Steven Morgan            10/26/23 (1.0) Partner review, as of 10/26/23, of KPMG's              1.0   $ 550   $       550.00
                                   agenda materials for the 10/30/23 Audit committee
                                   presentation.
 Lynn Lin                 10/26/23 (1.0) Update, as of 10/26/23, to the Q3 Audit                1.0   $ 400   $       400.00
                                   Committee slide deck based on the new SAB 99
                                   received on 10/25/23.
 Sushant Kodiyal          10/26/23 Meeting with H. Downey - partial, S. Kodiyal and Z.          1.0   $ 470   $       470.00
                                   Shahbaz (KPMG) to discuss IT engagement status, as
                                   of 10/26/23, workpaper review feedback and
                                   scheduling of next phase of IT controls testing.
 Zaya Shahbaz             10/26/23 Meeting with H. Downey - partial, S. Kodiyal and Z.          1.0   $ 255   $       255.00
 Arami                             Shahbaz (KPMG) to discuss IT engagement status, as
                                   of 10/26/23, workpaper review feedback and
                                   scheduling of next phase of IT controls testing.
 Aden Cohen               10/26/23 (1.1) Cleared review comments on the 10Q tie out in          1.1   $ 250   $       275.00
                                   the Q3 process, as of 10/26/23.
 Rebecca Lo               10/26/23 (1.1) Continued from 10/28, reviewing EVS Memo for           1.1   $ 350   $       385.00
                                   convertible bond to aid in completing debt estimates
                                   screen.
 Brian Monahan            10/26/23 (1.1) Manager review, as of 10/26/23, of debt                1.1   $ 400   $       440.00
                                   estimates submodule.
 Lynn Lin                 10/26/23 (1.5) Perform required manager review, as of                 1.5   $ 400   $       600.00
                                   10/26/23, of the 10-Q v2 tie out.



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 Aden Cohen               10/26/23 (1.5) Reviewed, as of 10/26/23, the Audit Committee          1.5   $ 250   $       375.00
                                   Deck regarding the Q3 interim filing.
 Aden Cohen               10/26/23 (1.7) Preparation of the EPS and Tax process in Q3.          1.7   $ 250   $       425.00

 Rebecca Lo               10/26/23 (1.9) Reviewed, as of 10/26/23, the Houlihan Lokey           1.9   $ 350   $       665.00
                                   convertible note valuation analysis report.
 Stan Harvell             10/26/23 (2.0) Continued, as of 10/26/23, the Managing                2.0   $ 525   $     1,050.00
                                   Director review of Inventory understanding and
                                   walkthrough workpapers.
 Sushant Kodiyal          10/26/23 (2.0) Meeting with S. Kodiyal and Z. Shahbaz                 2.0   $ 470   $       940.00
                                   (KPMG) to discuss on the GITC comments from
                                   Director on the Change Management Control.
 Steven Morgan            10/26/23 (2.0) Partner review, as of 10/26/23, of workpapers for      2.0   $ 550   $     1,100.00
                                   the topics of Summary of review misstatements,
                                   independence and analytics.
 Lynn Lin                 10/26/23 (2.0) Review, as of 10/26/23, of the SAB 99 entries          2.0   $ 400   $       800.00
                                   provided on 10/26/23, concurrently sent follow-up
                                   comments to the Client.
 Patricia Anne Dela       10/26/23 (2.0) Senior Associate review, as of 10/26/23, of the        2.0   $ 400   $       800.00
 Rosa                              trial balance mapping and reconciliation against 10Q.

 Zaya Shahbaz          10/26/23 (2.0) Reviewed, as of 10/26/23, the change                      2.0   $ 255   $       510.00
 Arami                          management controls as well as cleared comments in
                                order to complete tasks for the next reviewer.
 Kelly O'Leary         10/26/23 (2.5) Continued, as of 10/26/23, to update the                  2.5   $ 350   $       875.00
                                inventory control documentation in the audit file.
 Rebecca Lo            10/26/23 (2.7) Continued from 10/28, to prepare debt estimate            2.7   $ 350   $       945.00
                                screen in workpapers.
 Patricia Anne Dela Ro 10/26/23 (3.0) Cleared comments received from Manager                    3.0   $ 400   $     1,200.00
                                regarding the Summary of Uncorrected Misstatement
                                with the latest SAB 99 listing provided by the client
                                which include the attachment and the workpapers
                                screens, as of 10/26/23.
 Zaya Shahbaz          10/26/23 (3.0) Prepared documentation and comments regarding             3.0   $ 255   $       765.00
 Arami                          the AC-03 common control to send to the next
                                reviewer.
 Aden Cohen            10/26/23 (3.0) Documented the summarization of Company's                 3.0   $ 250   $       750.00
                                Board of Directors meetings that occurred ion the
                                Q3'23 period, as part of required audit procedures.
 Anna Heyne               10/26/23 (3.1) Continued, as of 10/26/23, to update the transit       3.1   $ 350   $     1,085.00
                                   revenue testing for FY23 audit for responses from
                                   Proterra on questions related to various test samples.



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 Lynn Lin                 10/26/23 (3.5) Perform required manager review, as of             3.5   $ 400   $     1,400.00
                                   10/26/23, on the Unrecorded Review Misstatement
                                   listing.
 Steven Morgan            10/27/23 (0.3) Call with C. Skidmore (Proterra AC Chair) to       0.3   $ 550   $       165.00
                                   discuss the KPMG agenda materials for the AC
                                   meeting on 10/30/23.
 Brian Monahan            10/27/23 (0.3) Continued, from earlier on 10/27/23, manager       0.3   $ 400   $       120.00
                                   review of various treasury control activity TOD
                                   screens.
 Steven Morgan            10/27/23 (0.3) Partner review, as of 10/27/23, of planned         0.3   $ 550   $       165.00
                                   substantive procedures for treasury process.
 Lynn Lin                 10/27/23 (0.4) Meeting with S. Morgan, L. Lin (KPMG), J.          0.4   $ 400   $       160.00
                                   Embt, J. Zhang, G. Khatri (Proterra) to discuss Q3
                                   SAB 99 entries.
 Steven Morgan            10/27/23 (0.4) Meeting with S. Morgan, L. Lin (KPMG), J.          0.4   $ 550   $       220.00
                                   Embt, J. Zhang, G. Khatri (Proterra) to discuss Q3
                                   SAB 99 entries.
 Hillary Downey           10/27/23 (0.5) Continued, as of 10/27/23, manager review of       0.5   $ 550   $       275.00
                                   GITC workpapers and comments in workpapers.
 Doron Rotman             10/27/23 (0.5) Meeting between D. Rotman and H. Bates             0.5   $ 580   $       290.00
                                   (KPMG) to discuss IT engagement status and issues,
                                   as of 10/27/23.
 Hillary Downey           10/27/23 (0.5) Meeting between D. Rotman and H. Bates             0.5   $ 550   $       275.00
                                   (KPMG) to discuss Proterra IT engagement status and
                                   issues, as of 10/27/23.
 Sushant Kodiyal          10/27/23 (0.5) Meeting between D. Rotman, S. Kodiyal and H.       0.5   $ 470   $       235.00
                                   Downey (KPMG) to discuss IT engagement status and
                                   issues, as of 10/27/23.
 Sushant Kodiyal          10/27/23 (0.5) Review, as of 10/27/23, of GITC TOE                0.5   $ 470   $       235.00
                                   workpapers for Admin Access.
 Brian Monahan            10/27/23 (0.6) Meeting with B. Monahan and R. Lo (KPMG) to        0.6   $ 400   $       240.00
                                   discuss treasury substantive comments.
 Rebecca Lo               10/27/23 (0.6) Meeting with B. Monahan and R. Lo (KPMG) to        0.6   $ 350   $       210.00
                                   discuss treasury substantive comments.
 Brian Monahan            10/27/23 (0.8) Continued, as of 10/27/23, the manager review      0.8   $ 400   $       320.00
                                   of various Treasury substantive design screens.
 Stan Harvell             10/27/23 (1.0) Continued, as of 10/27/23, the Managing            1.0   $ 525   $       525.00
                                   Director review of Inventory understanding and
                                   walkthrough workpapers.
 Zaya Shahbaz             10/27/23 (1.0) Meeting with S. Kodiyal and Z. Shabaz Arami        1.0   $ 255   $       255.00
 Arami                             (KPMG) to discuss comments and instructions for the
                                   Proterra user access review controls.




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 Steven Morgan            10/27/23 (1.0) Partner review, as of 10/27/23, of the summary       1.0   $ 550   $       550.00
                                   of review misstatements documentation with respect to
                                   Q3 and related deficiency considerations.
 Lynn Lin                 10/27/23 (1.0) Perform manager review, as of 10/27/23, of the       1.0   $ 400   $       400.00
                                   Q3 FS v4 tie-out to trial balance.
 Lynn Lin                 10/27/23 (1.0) Update, as of 10/27/23, the Q3 unrecorded            1.0   $ 400   $       400.00
                                   review misstatement based on changes provided by
                                   client on 10/27 as well as clear comments left by
                                   partner.
 Patricia Anne Dela       10/27/23 (1.0) Update, as of 10/27/23, the SURM screen for          1.0   $ 400   $       400.00
 Rosa                              uncorrected misstatements with clearly trivial impact
                                   on the financial statement.
 Stephanie Kushner        10/27/23 Continued, as of 10/27/23, the review of client            1.2   $ 600   $       720.00
                                   provision support, discussions with audit team around
                                   bankruptcy language in footnotes, compiling
                                   suggested updates to language with the 10-Q.
 Lynn Lin                 10/27/23 (1.5) Perform required manager review, as of               1.5   $ 400   $       600.00
                                   10/27/23, regarding the Q3 Accounting Disclosure
                                   Checklist.
 Rebecca Lo               10/27/23 (1.5) Review, as of 10/27/23, of the review comments       1.5   $ 350   $       525.00
                                   left by manager in substantive procedures and address
                                   them accordingly.
 Sushant Kodiyal          10/27/23 (2.0) Meeting with S. Kodiyal and Z. Shahbaz               2.0   $ 470   $       940.00
                                   (KPMG) to discuss on the GITC comments from
                                   Director on the UAR Control.
 Zaya Shahbaz             10/27/23 (2.0) Prepared AC-03 Oracle documentation and              2.0   $ 255   $       510.00
 Arami                             comments to send to the next reviewer.
 Zaya Shahbaz             10/27/23 (2.0) Prepared AC-03 ServiceMax documentation and          2.0   $ 255   $       510.00
 Arami                             comments to send to the next reviewer.

 Patricia Anne Dela       10/27/23 (2.0) Review, as of 10/27/23, the board of minutes in      2.0   $ 400   $       800.00
 Rosa                              order to ensure its properly documented in
                                   workpapers.
 Rebecca Lo               10/27/23 (2.6) Continued from 10/29, prepare debt estimate          2.6   $ 350   $       910.00
                                   screen in workpapers.
 Rebecca Lo               10/27/23 (3.0) Populated and prepared assessment of the             3.0   $ 350   $     1,050.00
                                   specialist the Company used in the valuations.
 Deanna Tsan              10/30/23 (0.2) Call with A. Heyne and D. Tsan (KPMG) to             0.2   $ 250   $        50.00
                                   discuss the workpapers human resources design
                                   screens for Proterra.




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 Anna Heyne               10/30/23 (0.2) Call with A. Heyne and D. Tsan (KPMG) to              0.2   $ 350   $        70.00
                                   discuss the workpapers human resources design
                                   screens for Proterra.
 Deanna Tsan              10/30/23 (0.2) Call with D. Tsan and A. Heyne (KPMG) to              0.2   $ 250   $        50.00
                                   discuss the preparation of workpapers Purchases
                                   design screens for Proterra.
 Anna Heyne               10/30/23 (0.2) Call with D. Tsan and A. Heyne (KPMG) to              0.2   $ 350   $        70.00
                                   discuss the preparation of workpapers Purchases
                                   design screens for Proterra.
 Rebecca Lo               10/30/23 (0.2) Reviewed, as of 10/30/23, the client SharePoint       0.2   $ 350   $        70.00
                                   for treasury control.
 Lynn Lin                 10/30/23 (0.3) Update, as of 10/30/23, of the Q3 summary of          0.3   $ 400   $       120.00
                                   unrecorded misstatements based on the support
                                   provided 10/29/23.
 Brian Monahan            10/30/23 (0.4) Manager review, as of 10/30/23, of debt               0.4   $ 400   $       160.00
                                   estimates submodule.
 Rebecca Lo               10/30/23 (0.4) Meeting with B. Monahan, M, Ramachandran              0.4   $ 350   $       140.00
                                   and R. Lo (KPMG) to discuss debt estimates and debt
                                   walkthrough screens.
 Brian Monahan            10/30/23 (0.4) Meeting with B. Monahan, M, Ramachandran              0.4   $ 400   $       160.00
                                   and R. Lo (KPMG) to discuss debt estimates and debt
                                   walkthrough screens.
 Gabe de la Rosa          10/30/23 (.5) Reviewed, as of 10/30/23, the draft 2 of the Q3        0.5   $ 550   $       275.00
                                   2023 Form 10-Q including checking in comments
                                   from draft 1 as addressed.
 Pat Anderson             10/30/23 (0.5) Call with P. Anderson and K. O'Leary (KPMG)           0.5   $ 400   $       200.00
                                   to discuss status of the inventory process
                                   documentation and to answer questions that have
                                   arisen from the documentation provided by the client,
                                   as of 10/30/23.
 Kelly O'Leary            10/30/23 (0.5) Call with P. Anderson and K. O'Leary (KPMG)           0.5   $ 350   $       175.00
                                   to discuss status of the inventory process
                                   documentation and to answer questions that have
                                   arisen from the documentation provided by the client,
                                   as of 10/30/23.
 Pat Anderson             10/30/23 (0.5) Call with P. Anderson and K. O'Leary (KPMG)           0.5   $ 400   $       200.00
                                   to discuss inventory count scoping and planning, as of
                                   10/30/23, in preparation for call with S. Harvell
                                   (KPMG) later in the day
 Kelly O'Leary            10/30/23 (0.5) Call with P. Anderson and K. O'Leary (KPMG)           0.5   $ 350   $       175.00
                                   to discuss inventory count scoping and planning, as of
                                   10/30/23, in preparation for call with S. Harvell
                                   (KPMG) later in the day



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 Stan Harvell             10/30/23 (0.5) Call with S. Harvell, P. Anderson, and K.              0.5   $ 525   $       262.50
                                   O'Leary (KPMG) to discuss inventory count scoping
                                   and planning, as of 10/30/23.
 Kelly O'Leary            10/30/23 (0.5) Call with S. Harvell, P. Anderson, and K.              0.5   $ 350   $       175.00
                                   O'Leary (KPMG) to discuss inventory count scoping
                                   and planning, as of 10/30/23.
 Pat Anderson             10/30/23 (0.5) Call with S. Harvell, P. Anderson, and K.              0.5   $ 400   $       200.00
                                   O'Leary (KPMG) to discuss inventory count scoping
                                   and planning, as of 10/30/23.
 Aden Cohen               10/30/23 (0.5) Documented, as of 10/30/23, Tax understanding          0.5   $ 250   $       125.00
                                   under the Q3 other completion process.

 Anna Heyne               10/30/23 (0.4) Draft instructions for OKE to perform                  0.4   $ 350   $       140.00
                                   preprocessing of powered revenue instructions for Q3
                                   powered revenue sampling
 Stan Harvell             10/30/23 (0.5) Managing Director review, as of 10/30/23, of the       0.5   $ 525   $       262.50
                                   inventory count scoping and sampling plans.
 Kelly O'Leary            10/30/23 (0.5) Meeting with M. Lawler, S. Harvell, P.                 0.5   $ 350   $       175.00
                                   Anderson, K. O'Leary (KPMG) and R. Reaves, J.
                                   Zhang, and G. Khatri (Proterra) to discuss logistics of
                                   the interim inventory count at the Burlingame location.

 Stan Harvell             10/30/23 (0.5) Meeting with M. Lawler, S. Harvell, P.                 0.5   $ 525   $       262.50
                                   Anderson, K. O'Leary (KPMG) and R. Reaves, J.
                                   Zhang, and G. Khatri (Proterra) to discuss logistics of
                                   the interim inventory count at the Burlingame location.

 Pat Anderson             10/30/23 (0.5) Meeting with M. Lawler, S. Harvell, P.                 0.5   $ 400   $       200.00
                                   Anderson, K. O'Leary (KPMG) and R. Reaves, J.
                                   Zhang, and G. Khatri (Proterra) to discuss logistics of
                                   the interim inventory count at the Burlingame location.

 Maggie Lawler            10/30/23 (0.5) Meeting with M. Lawler, S. Harvell, P.                 0.5   $ 455   $       227.50
                                   Anderson, K. O'Leary (KPMG) and R. Reaves, J.
                                   Zhang, and G. Khatri (Proterra) to discuss logistics of
                                   the interim inventory count at the Burlingame location.

 Steven Morgan            10/30/23 (0.5) Partner review, as of 10/30/23, of Company's           0.5   $ 550   $       275.00
                                   memo on consideration of long lived asset impairment
                                   as of 9/30/23, concurrently providing comments.




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 Maggie Lawler            10/30/23 (0.7) Meeting with S. Morgan, M. Lawler, L. Lin and       0.7   $ 455   $       318.50
                                   P. Dela Rosa (KPMG) to discuss status for Q3, as of
                                   10/30/23.
 Steven Morgan            10/30/23 (0.7) Meeting with S. Morgan, M. Lawler, L. Lin and       0.7   $ 550   $       385.00
                                   P. Dela Rosa (KPMG) to discuss status for Q3, as of
                                   10/30/23.
 Lynn Lin                 10/30/23 (0.7) Meeting with S. Morgan, M. Lawler, L. Lin and       0.7   $ 400   $       280.00
                                   P. Dela Rosa (KPMG) to discuss Q3 interim review
                                   status, as of 10/30/23.
 Patricia Anne Dela       10/30/23 (0.7) Meeting with S. Morgan, M. Lawler, L. Lin and       0.7   $ 400   $       280.00
 Rosa                              P. Dela Rosa (KPMG) to discuss status for Q3, as of
                                   10/30/23.
 Steven Morgan            10/30/23 (0.8) Meeting with M. Lawler, S. Morgan (KPMG)            0.8   $ 550   $       440.00
                                   and J. Zhang, F. Fang, and J. Embt (Proterra) to
                                   discuss the interim review matters, including the
                                   drafted 10Q and the Company's determination on
                                   assessment of impairment of fixed assets.

 Maggie Lawler            10/30/23 (0.8) Meeting with M. Lawler, S. Morgan (KPMG)            0.8   $ 455   $       364.00
                                   and J. Zhang, F. Fang, and J. Embt (Proterra) to
                                   discuss the interim review matters, including the
                                   drafted 10Q and the Company's determination on
                                   assessment of impairment of fixed assets.

 Lynn Lin                 10/30/23 (0.8) Performed manager review, as of 10/30/23, on        0.8   $ 400   $       320.00
                                   Q3'23 EPS tie-out.
 Kelly O'Leary            10/30/23 (1.0) Prepared the inventory count planning and           1.0   $ 350   $       350.00
                                   scoping in accordance with firm guidance.
 Lynn Lin                 10/30/23 (1.0) Continued, as of 10/30/23, to perform required      1.0   $ 400   $       400.00
                                   manager review of Q3 Accounting Disclosure
                                   Checklist for Proterra
 Steven Morgan            10/30/23 (1.0) Partner clearance of review comments in the         1.0   $ 550   $       550.00
                                   analytic workpapers for the quarterly review, as of
                                   10/30/23.
 Patricia Anne Dela       10/30/23 (1.0) Prepared Communication and EQCR Checklist           1.0   $ 400   $       400.00
 Rosa                              screens in workpapers
 Anna Heyne               10/30/23 (0.5) Sample transit revenue for Q3 transit revenue       0.5   $ 350   $       175.00
                                   FY23 audit testing.
 Stephanie Kushner        10/30/23 Continued, as of 10/30/23, to review proposed 10-Q        1.2   $ 600   $       720.00
                                   income tax disclosure changes from M&A, revising
                                   income tax disclosure language and communicating to
                                   KPMG Audit.




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 Lynn Lin                 10/30/23 (1.5) Continued, as of 10/30/23, to perform manager         1.5   $ 400   $       600.00
                                   review of Q3'23 10-Q v4 tie-out to trial balance.
 Maggie Lawler            10/30/23 (1.5) Meeting with S. Morgan and M. Lawler (KPMG)           1.5   $ 455   $       682.50
                                   and C. Skidmore, D. Black, G. Joyce, J. Houser, J.
                                   Mitchell, J. Embt, K. Howard, R. Nielsen, R. Wood
                                   (Proterra) and L. Bondarenko (Paul Weiss) to discuss
                                   the Q3 interim review including review of the draft of
                                   the10Q, current legal matters and Company
                                   performance during the interim period.
 Steven Morgan            10/30/23 (1.5) Meeting with S. Morgan and M. Lawler (KPMG)           1.5   $ 550   $       825.00
                                   and C. Skidmore, D. Black, G. Joyce, J. Houser, J.
                                   Mitchell, J. Embt, K. Howard, R. Nielsen, R. Wood
                                   (Proterra) and L. Bondarenko (Paul Weiss) to discuss
                                   the Q3 interim review including review of the draft of
                                   the10Q, current legal matters and Company
                                   performance during the interim period.
 Deanna Tsan              10/30/23 (1.5) Prepared the Human Resources design screens           1.5   $ 250   $       375.00
                                   for Proterra to reflect the current year.
 Pat Anderson             10/30/23 (1.9) Performed Manager level review, as of 10/30/23,       1.9   $ 400   $       760.00
                                   of inventory audit documentation prepared by K. O
                                   "Leary and G. Brewster (KPMG).
 Lynn Lin                 10/30/23 (2.0) Perform required manager review, as of                2.0   $ 400   $       800.00
                                   10/30/23, on YTD Q3 Statement of Cash Flow.
 Patricia Anne Dela       10/30/23 (2.0) Prepared Inquiries screen including the going         2.0   $ 400   $       800.00
 Rosa                              concern assessment prepared by the client.
 Patricia Anne Dela       10/30/23 (2.0) Prepared the Earnings per Share review and tie        2.0   $ 400   $       800.00
 Rosa                              out working paper which includes the review of
                                   outstanding shares and movement in the reserved
                                   shares, as of 10/30/23.
 Deanna Tsan              10/30/23 (2.0) Prepared the Purchases design screens to reflect      2.0   $ 250   $       500.00
                                   the current year.
 Aden Cohen               10/30/23 (2.0) Reviewed, as of 10/30/23, 10-Q tie out in the Q3      2.0   $ 250   $       500.00
                                   Other procedures process.
 Kelly O'Leary            10/30/23 (2.1) Began updating, as of 10/30/23, the inventory         2.1   $ 350   $       735.00
                                   controls in the audit documentation file in accordance
                                   with the updated Protiviti RCM.
 Kelly O'Leary            10/30/23 (2.2) Continued, as of 10/30/23, to prepare the             2.2   $ 350   $       770.00
                                   inventory count planning and scoping for Proterra,
                                   concurrently updated in accordance with firm
                                   guidance.




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 Zaya Shahbaz             10/30/23 (0.5) Prepared status reports for the firm as well as       3.0   $ 255   $       765.00
 Arami                             Proterra, concurrently responded to emails regarding
                                   the same. (1.0) Began to prepare Round 2 population
                                   for AC-02 control to ensure accuracy. (1.0)
                                   Responded to CO.05 control comments to clear the
                                   items in preparation for next reviewer. (0.5) Began to
                                   prepare workpapers and other documentation for the
                                   OKE team.
 Aden Cohen               10/30/23 (3.0) Prepared, as of 10/30/23, Legal Audit letter          3.0   $ 250   $       750.00
                                   under the Q3 completion process.
 Patricia Anne Dela       10/30/23 (3.0) Reviewed, as of 10/30/23, of the client's             3.0   $ 400   $     1,200.00
 Rosa                              responses regarding the 10-Q FS external comments as
                                   well as consolidate all comments into one file which
                                   also includes allocating each comment / response to
                                   specific team members who created the comments.

 Maggie Lawler            10/30/23 (3.2) Senior manager review, as of 10/30/23, of the         3.2   $ 455   $     1,456.00
                                   draft Q3’23 10Q for compliance with the disclosure
                                   requirements and understanding of the drafted
                                   disclosures.
 Rebecca Lo               10/30/23 (3.3) Continued, from earlier on 10/30/23, to review        3.3   $ 350   $     1,155.00
                                   the MS Teams recording of the walkthrough in order
                                   to prepare debt reconciliation walkthrough screen and
                                   relevant documents to attach on the screen.
 Rebecca Lo               10/30/23 (3.4) Reviewed, as of 10/30/23, the MS Teams                3.4   $ 350   $     1,190.00
                                   recording of the walkthrough in order to prepare
                                   convertible debt valuation walkthrough screen and
                                   relevant documents to attach on the screen.
 Anna Heyne               10/30/23 (1.9) Updated, as of 10/30/23, the excel testing            1.9   $ 350   $       665.00
                                   template for revenue transit samples as required for
                                   FY 23 audit.

 Anna Heyne               10/30/23 (3.9) Update, as of 10/30/23, purchase control 7.1          3.9   $ 350   $     1,365.00
                                   within KPMG Clara workflow as required for FY23
                                   audit
 Deanna Tsan              10/31/23 (0.1)Meeting with A. Heyne and D. Tsan (KPMG) to            0.1   $ 250   $        25.00
                                   discuss disclosures within KPMG Work Flow
                                   disclosure screens for the current year.
 Anna Heyne               10/31/23 (0.1)Meeting with A. Heyne and D. Tsan (KPMG) to            0.1   $ 350   $        35.00
                                   discuss disclosures within KPMG Work Flow
                                   disclosure screens for the current year.




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 Deanna Tsan              10/31/23 (0.2) Meeting with A. Heyne and D. Tsan (KPMG) to            0.2   $ 250   $        50.00
                                   discuss disclosures within KPMG Work Flow
                                   disclosure screens for the current year;
 Anna Heyne               10/31/23 (0.2) Meeting with A. Heyne and D. Tsan (KPMG) to            0.2   $ 350   $        70.00
                                   discuss disclosures within KPMG Work Flow
                                   disclosure screens for the current year;
 Lynn Lin                 10/31/23 (0.2) Perform required manager review, as of                 0.2   $ 400   $        80.00
                                   10/31/23, on the Q3 transit revenue sampling.
 Aden Cohen               10/31/23 (0.3) Meeting with A. Cohen and M. Lawler (KPMG)             0.3   $ 250   $        75.00
                                   to discuss BOD Meeting minutes for Q3.
 Maggie Lawler            10/31/23 (0.3) Meeting with A. Cohen and M. Lawler (KPMG)             0.3   $ 455   $       136.50
                                   to discuss BOD Meeting minutes for Q3
 Maggie Lawler            10/31/23 (0.3) Meeting with S. Morgan, M. Lawler and P. Dela          0.3   $ 455   $       136.50
                                   Rosa (KPMG) to discuss requirements of PCAOB
                                   3524 rule for tax consulting services.
 Patricia Anne Dela       10/31/23 (0.3) Meeting with S. Morgan, M. Lawler and P. Dela          0.3   $ 400   $       120.00
 Rosa                              Rosa (KPMG) to discuss requirements of PCAOB
                                   3524 rule for tax consulting services.
 Steven Morgan            10/31/23 (0.3) Meeting with S. Morgan, M. Lawler and P. Dela          0.3   $ 550   $       165.00
                                   Rosa (KPMG) to discuss requirements of PCAOB
                                   3524 rule for tax consulting services.
 Kelly O'Leary            10/31/23 (0.4) Continued, from earlier on 10/31/23, to prepare,       0.4   $ 350   $       140.00
                                   concurrently update the inventory controls in our audit
                                   documentation in accordance with the updated
                                   Protiviti RCM.
 Maggie Lawler            10/31/23 (0.5) Call with M. Lawler (KPMG) and J. Embt                 0.5   $ 455   $       227.50
                                   (Proterra) to discuss interim review and overall audit
                                   status, as of 10/31/23.
 Kelly O'Leary            10/31/23 (0.5) Call with P. Anderson and K. O'Leary (KPMG)            0.5   $ 350   $       175.00
                                   to discuss status of the inventory process
                                   documentation and to answer questions that have
                                   arisen from the documentation provided by the client.
 Pat Anderson             10/31/23 (0.5) Call with P. Anderson and K. O'Leary (KPMG)            0.5   $ 400   $       200.00
                                   to discuss status of the inventory process
                                   documentation and to answer questions that have
                                   arisen from the documentation provided by the client.

 Stan Harvell             10/31/23 (0.5) - Call with S. Harvell, P. Anderson, and K.            0.5   $ 525   $       262.50
                                   O'Leary (KPMG) to discuss the audit RA within the
                                   inventory business process based on the most updated
                                   financial account values provided by Proterra
                                   Management.




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 Kelly O'Leary            10/31/23 (0.5) Call with S. Harvell, P. Anderson, and K.           0.5   $ 350   $       175.00
                                   O'Leary (KPMG) to discuss the audit RA within the
                                   inventory business process based on the most updated
                                   financial account values provided by Proterra
                                   Management.
 Pat Anderson             10/31/23 (0.5) Call with S. Harvell, P. Anderson, and K.           0.5   $ 400   $       200.00
                                   O'Leary (KPMG) to discuss the audit RA within the
                                   inventory business process based on the most updated
                                   financial account values provided by Proterra
                                   Management.
 Sushant Kodiyal          10/31/23 (0.5) Call with Z. Arami and S. Kodiyal (KPMG) to go      0.5   $ 470   $       235.00
                                   through GITC status and pending items, as of
                                   10/31/23.
 Zaya Shahbaz             10/31/23 (0.5) Call with Z. Arami and S. Kodiyal (KPMG) to go      0.5   $ 255   $       127.50
 Arami                             through GITC status and pending items, as of
                                   10/31/23.
 Stan Harvell             10/31/23 (0.6) Managing Director review, as of 10/31/23, of        0.6   $ 525   $       315.00
                                   inventory count scoping and PBCs.
 Brian Monahan            10/31/23 (0.5) Meeting with B. Monahan and R. Lo (KPMG) to         0.5   $ 400   $       200.00
                                   discuss debt estimates and debt walkthrough screens.

 Rebecca Lo               10/31/23 (0.5) Meeting with B. Monahan and R. Lo (KPMG) to         0.5   $ 350   $       175.00
                                   discuss debt estimates and debt walkthrough screens.

 Sushant Kodiyal          10/31/23 (0.5) Meeting with S. Duby (Protiviti), M. Orosa          0.5   $ 470   $       235.00
                                   (Proterra), S. Kodiyal and Z. Arami (KPMG) to
                                   discuss status of IT testing, gathering of TOE
                                   evidence, as of 10/31/23.
 Zaya Shahbaz             10/31/23 (0.5) Meeting with S. Duby (Protiviti), M. Orosa          0.5   $ 255   $       127.50
 Arami                             (Proterra), S. Kodiyal and Z. Arami (KPMG) to
                                   discuss status of IT testing, gathering of TOE
                                   evidence, as of 10/31/23.
 Aden Cohen               10/31/23 (0.5) Prepared, as of 10/31/23, Completion                0.5   $ 250   $       125.00
                                   attachments in the Q3 process.
 Maggie Lawler            10/31/23 (0.5) Preparing the questions and communications for      0.5   $ 455   $       227.50
                                   the client related to the KPMG review of the drafted
                                   Q3’23 10Q as of 10/30/23.

 Stephanie Kushner        10/31/23 Managing Director review, as of 10/31/23, of updated      0.5   $ 600   $       300.00
                                   client memo, sign-off on financial statements.

 Kelly O'Leary            10/31/23 (0.6) Cleared review comments within the inventory        0.6   $ 350   $       210.00
                                   business process, as of 10/31/23.



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 Aden Cohen               10/31/23 (0.7) Prepared, as of 10/31/23, Non-Gap process in the       0.7   $ 250   $       175.00
                                   Q3 process.
 Lynn Lin                 10/31/23 (0.8) Meeting with A. Heyne and L. Lin (KPMG) to             0.8   $ 400   $       320.00
                                   discuss Proterra Q3 transit sampling and questions on
                                   the Q2 samples.
 Anna Heyne               10/31/23 (0.8) Meeting with A. Heyne and L. Lin (KPMG) to             0.8   $ 350   $       280.00
                                   discuss Proterra Q3 transit sampling and transit sample
                                   questions.
 Maggie Lawler            10/31/23 (0.8) Senior manager review, as of 10/31/23, of the          0.8   $ 455   $       364.00
                                   documentation related to the PCAOB 3524 rule for tax
                                   consulting services.
 Kelly O'Leary            10/31/23 (1.0) Continued, as of 10/31/23, to update the               1.0   $ 350   $       350.00
                                   inventory control documentation in the audit file.
 Aden Cohen               10/31/23 (1.0) Cleared, as of 10/31/23, review comments left by       1.0   $ 250   $       250.00
                                   manager to be addressed in the Q3 process.
 Rebecca Lo               10/31/23 (1.0) Continued, as of 10/31/23, to prepare convertible      1.0   $ 350   $       350.00
                                   debt valuation walkthrough screen and relevant
                                   documents to attach on the screen.
 Rebecca Lo               10/31/23 (1.0) Continued, as of 10/31/23, to prepare debt             1.0   $ 350   $       350.00
                                   reconciliation walkthrough screen and relevant
                                   documents to attach on the screen.
 Steven Morgan            10/31/23 (1.0) Partner review, as of 10/31/23, of Company's           1.0   $ 550   $       550.00
                                   consideration of the materiality of uncorrected
                                   misstatements on the quarter ended 9/30/2023,
                                   concurrently providing comments.
 Steven Morgan            10/31/23 (1.0) Partner review, as of 10/31/23, of the workpapers      1.0   $ 550   $       550.00
                                   for the Q3 review relating to independence,
                                   communications with others, tax provision and
                                   statement of cash flows, concurrently providing
                                   comments.
 Steven Morgan            10/31/23 (1.0) Partner review, as of 10/31/23, of V4 of the           1.0   $ 550   $       550.00
                                   Company's proposed Q3 10Q filing, concurrently
                                   providing comments.
 Lynn Lin                 10/31/23 (1.0) Performed required review, as of 10/31/23, of the      1.0   $ 400   $       400.00
                                   Q3 SAB 99 memo, concurrently sent comments to the
                                   Client.
 Patricia Anne Dela       10/31/23 (1.0) Prepare the Completion screen including the            1.0   $ 400   $       400.00
 Rosa                              review of the PCAOB support fees related to Proterra.

 Aden Cohen               10/31/23 (1.1) Documented, as of 10/31/23, the OPEX                   1.1   $ 250   $       275.00
                                   procedures under the purchase process in workpapers.




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 Deanna Tsan              10/31/23 (1.2) Continued, from earlier on 10/31/23, to prepare        1.2   $ 250   $       300.00
                                   the RA of financial statement disclosures to update the
                                   KPMG Clara Workflow.
 Aden Cohen               10/31/23 (1.3) Reviewed, as of 10/31/23, review comments to           1.3   $ 250   $       325.00
                                   address in the Q3 process.
 Aden Cohen               10/31/23 (1.5) Documented, as of 10/31/23, the OPEX                   1.5   $ 250   $       375.00
                                   procedures under the purchase process in workpapers.

 Raechel Wagner           10/31/23 (1.5) Tied-out the updated Q3 tax provision memo             1.5   $ 475   $       712.50
                                   provided by the client, as of 10/31/23.
 Rebecca Lo               10/31/23 (1.6) Continued, from earlier on 10/31/23, to prepare        1.6   $ 350   $       560.00
                                   debt estimate screen in workpapers.
 Aden Cohen               10/31/23 (1.6) Prepared, as of 10/31/23, minutes tracker for the      1.6   $ 250   $       400.00
                                   Q3 review procedures.
 Pat Anderson             10/31/23 (1.9) Continued, from earlier on 10/31/23, to perform        1.9   $ 400   $       760.00
                                   Manager level review of inventory audit
                                   documentation prepared by K. O "Leary and G.
                                   Brewster (KPMG).
 Zaya Shahbaz             10/31/23 (2.0) Cleared CM controls comments that were raised          2.0   $ 255   $       510.00
 Arami                             by my team, as of 10/31/23.
 Patricia Anne Dela       10/31/23 (2.0) Cleared comments within the Q3 Review file to          2.0   $ 400   $       800.00
 Rosa                              get it ready for EQCR Review, as of 10/31/23.
 Lynn Lin                 10/31/23 (2.0) Continued, as of 10/30/23, to perform manager          2.0   $ 400   $       800.00
                                   review of Q3'23 10-Q v4 tie-out to trial balance.
 Stan Harvell             10/31/23 (2.0) Managing Director review, as of 10/31/23, of           2.0   $ 525   $     1,050.00
                                   inventory business process risk and walkthroughs.
 Patricia Anne Dela       10/31/23 (2.0) Prepare the PCAOB 3524 memo regarding the              2.0   $ 400   $       800.00
 Rosa                              independence requirement related to the tax consulting
                                   services pre-approved the Company's Audit
                                   Committee
 Kelly O'Leary            10/31/23 (2.0) Prepared, concurrently updated, as of 10/31/23,        2.0   $ 350   $       700.00
                                   the inventory controls in our audit documentation in
                                   accordance with the updated Protiviti RCM.
 Maggie Lawler            10/31/23 (2.0) Senior manager coordination with tax team and          2.0   $ 455   $       910.00
                                   review of procedures performed during the interim
                                   review period.
 Sushant Kodiyal          10/31/23 (2.5) Meeting with Z. Arami and S. Kodiyal (KPMG)            2.5   $ 470   $     1,175.00
                                   to discuss Director comments for all of the GITC
                                   controls specifically Change Management, UAR and
                                   computer operations.
 Anna Heyne               10/31/23 (3.0) Began documenting the purchases inventory              3.0   $ 350   $     1,050.00
                                   purchase order walkthrough within KPMG Clara
                                   Workflow.



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 Lynn Lin                 10/31/23 (3.0) Continued from 10/30, to perform manager               3.0   $ 400   $     1,200.00
                                   review of Q3 accounting disclosure checklist,
                                   concurrently updated based on Client responses.
 Maggie Lawler            10/31/23 (3.0) Senior manager review, as of 10/31/23, of              3.0   $ 455   $     1,365.00
                                   documentation of inquiries as well as independence
                                   procedures performed during the interim review
                                   period.
 Kelly O'Leary            10/31/23 (3.0) Updated, as of 10/31/23, the inventory controls        3.0   $ 350   $     1,050.00
                                   in the file in accordance with the updated Protiviti
                                   RCM.
 Pat Anderson             10/31/23 (3.2) Continued, as of 10/31/23, to perform Manager          3.2   $ 400   $     1,280.00
                                   level review of inventory audit documentation
                                   prepared by K. O "Leary and G. Brewster (KPMG).
 Anna Heyne               10/31/23 (3.5) Update, as of 10/31/23, purchase control 1.1           3.5   $ 350   $     1,225.00
                                   within KPMG Clara workflow as required for FY23
                                   audit
 Deanna Tsan              10/31/23 (3.6) Preparing the RA of financial statement                3.6   $ 250   $       900.00
                                   disclosures to update the KPMG Clara Workflow

 Rebecca Lo               10/31/23 (3.9) Continued, as of 10/27/23, prepare debt estimate       3.9   $ 350   $     1,365.00
                                   screen in workpapers.

                                                  Total 2023 Audit Services                 1,251.0           $ 468,791.00




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                                                           Proterra Inc
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                                                    Tax Restructuring Services
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Name                      Date    Description                                                Hours    Rate         Amount

Robin Muncy             10/01/23 (0.7) Update, as of 10/01/23, the bankruptcy model to          0.7   $1,000   $         700.00
                                 include Section 163(j) interest expense for the cash tax
                                 estimate calculations.
Robin Muncy             10/01/23 (0.8) Perform manager review, as of 10/01/23, of the           0.8   $1,000   $         800.00
                                 updated strawman structure deck depicting asset sales.

Max Klaunig             10/02/23 (0.8) R. Muncy and M. Klaunig (KPMG) met to                    0.8   $ 460    $         368.00
                                 discuss and revise the bankruptcy model's cash tax
                                 estimate and net operating loss limitation model.
Robin Muncy             10/02/23 (0.8) R. Muncy and M. Klaunig (KPMG) met to                    0.8   $1,000   $         800.00
                                 discuss and revise the bankruptcy model's cash tax
                                 estimate and net operating loss limitation model.
Robin Muncy             10/02/23 (1.4) Updated, as of 10/02/23, the bankruptcy model            1.4   $1,000   $      1,400.00
                                 in order to revise the net operating loss utilization
                                 schedule in the cash tax estimate.
Robin Muncy             10/02/23 (2.1) Updated, as of 10/02/23, the bankruptcy model            2.1   $1,000   $      2,100.00
                                 in order to build out the net operating loss schedule for
                                 the Section 382(l)(5) cases as well as the tax attribute
                                 reduction calculations for the Section 382(l)(5) cases.

Robin Muncy             10/03/23 (0.1) Downloaded the draft of the strawman structure           0.1   $1,000   $         100.00
                                 deck to team folder, concurrently emailed updated
                                 draft to J. Carreon (KPMG) for partner review.

Robin Muncy             10/03/23 (0.3) R. Muncy and M. Klaunig (KPMG) met to                    0.3   $1,000   $         300.00
                                 discuss and revise the fee summary requested by the
                                 client as of 10/3.
Max Klaunig             10/03/23 (0.3) R. Muncy and M. Klaunig (KPMG) met to                    0.3   $ 460    $         138.00
                                 discuss and revise the fee summary requested by the
                                 client as of 10/3.
Julia Durrance          10/03/23 (0.4) J. Durrance, R. Muncy, and M. Klaunig (KPMG)             0.4   $1,100   $         440.00
                                 met to discuss comments to the draft asset purchase
                                 agreement, updates to the draft strawman structure
                                 deck, and the bankruptcy model, including the Section
                                 1060 allocation, cash tax estimate, and Section
                                 382(l)(5) calculations.
Robin Muncy             10/03/23 (0.4) J. Durrance, R. Muncy, and M. Klaunig (KPMG)             0.4   $1,000   $         400.00
                                 met to discuss comments to the draft asset purchase
                                 agreement, updates to the draft strawman structure
                                 deck, and the bankruptcy model, including the Section
                                 1060 allocation, cash tax estimate, and Section
                                 382(l)(5) calculations.




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                                                          Proterra Inc
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Name                      Date    Description                                               Hours    Rate         Amount

Max Klaunig             10/03/23 (0.4) J. Durrance, R. Muncy, and M. Klaunig (KPMG)            0.4   $ 460    $         184.00
                                 met to discuss comments to the draft asset purchase
                                 agreement, updates to the draft strawman structure
                                 deck, and the bankruptcy model, including the Section
                                 1060 allocation, cash tax estimate, and Section
                                 382(l)(5) calculations.
Robin Muncy             10/03/23 (0.5) Perform manager level review, as of 10/03/23, of        0.5   $1,000   $         500.00
                                 client requested fee summary in order to make
                                 revisions where needed.
Tom Carroll             10/03/23 Review, as of 10/03/23, the Higher Tier Inquiry               1.0   $1,100   $      1,100.00
                                 Analysis in order to determine necessary shareholders
                                 to make inquiry with.
Robin Muncy             10/03/23 (1.3) Updated, as of 10/03/23, the cash tax estimate in       1.3   $1,000   $      1,300.00
                                 order to revise the interest expense and recomputed net
                                 operating loss amounts under the Section 382(l)(5)
                                 scenarios.
Robin Muncy             10/03/23 (1.4) Updated, as of 10/03/23, the bankruptcy model           1.4   $1,000   $      1,400.00
                                 in order to build out the initial Section 382(l)(6) base
                                 annual limitation calculation.
Robin Muncy             10/03/23 (1.5) Continued, from 10/2/2023, to update the                1.5   $1,000   $      1,500.00
                                 bankruptcy model in order to build out the net
                                 operating loss schedule for the Section 382(l)(5) cases
                                 as well as the tax attribute reduction calculations for
                                 the Section 382(l)(5) Cases.
Max Klaunig             10/03/23 (1.7) Updated, as of 10/03/23, the client requested fee       1.7   $ 460    $         782.00
                                 summary in order to reflect the activity for the prior
                                 week.
Robin Muncy             10/03/23 (1.8) Updated, as of 10/03/23, the bankruptcy model           1.8   $1,000   $      1,800.00
                                 in order to build out the tax attribute reduction
                                 calculations for the Section 382(l)(6) scenarios, as
                                 well as revisions to the cash tax estimate to integrate
                                 the Section 382(l)(6) results.
Max Klaunig             10/04/23 (0.5) J. Durrance, R. Muncy, and M. Klaunig (KPMG)            0.5   $ 460    $         230.00
                                 met to discuss next steps for the bankruptcy model, as
                                 of 10/4/23.
Robin Muncy             10/04/23 (0.5) J. Durrance, R. Muncy, and M. Klaunig (KPMG)            0.5   $1,000   $         500.00
                                 met to discuss next steps for the bankruptcy model, as
                                 of 10/4/23.
Julia Durrance          10/04/23 (0.5) J. Durrance, R. Muncy, and M. Klaunig (KPMG)            0.5   $1,100   $         550.00
                                 met to discuss next steps for the bankruptcy model, as
                                 of 10/4/23.




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Max Klaunig             10/04/23 (1.1) R. Muncy and M. Klaunig (KPMG) met to                    1.1   $ 460    $         506.00
                                 discuss and revise the bankruptcy model to account for
                                 Section 382(l)(5) and Section 382(l)(6) calculations.

Robin Muncy             10/04/23 (1.1) R. Muncy and M. Klaunig (KPMG) met to                    1.1   $1,000   $      1,100.00
                                 discuss and revise the bankruptcy model to account for
                                 Section 382(l)(5) and Section 382(l)(6) calculations.

Tom Carroll             10/04/23 Review, as of 10/04/23, the Shareholder Inquiries in           1.1   $1,100   $      1,210.00
                                 order to provide comments for revisions to the
                                 inquires.
Robin Muncy             10/04/23 (1.4) Begin updating, as of 10/04/23, the entity data          1.4   $1,000   $      1,400.00
                                 section of the bankruptcy model in order to integrate
                                 the company's attribute and balance sheet data,
                                 concurrently updated the GAAP balance sheet within
                                 the model.
Robin Muncy             10/04/23 (1.6) Began updating, as of 10/04/23, the bankruptcy           1.6   $1,000   $      1,600.00
                                 model in order to consolidate the Treas. Reg. 1.1502-
                                 21 net operating loss summary / cash tax estimate in
                                 order to pull in the appropriate net operating loss
                                 balances under the Section 382(l)(5) and Section
                                 382(l)(6) scenarios.
Becky Biwer             10/04/23 (0.3) Email communication to the client regarding              3.3   $ 760    $      2,508.00
                                 shareholder inquiry letters. (3.0) Began to analyze
                                 GM's (General Motors) public filings in order to
                                 determine whether there had been a higher tier shift.
Julia Durrance          10/05/23 (0.1) Call between J. Durrance and R. Muncy (KPMG)             0.1   $1,100   $         110.00
                                 to discuss the status of the bankruptcy model, as of
                                 10/05/23.
Robin Muncy             10/05/23 (0.1) Call between J. Durrance and R. Muncy (KPMG)             0.1   $1,000   $         100.00
                                 to discuss the status of the bankruptcy model, as of
                                 10/05/23.
Julia Durrance          10/05/23 J. Durrance (partial attendance - 0.1), R. Fuerst, and R.      0.1   $1,100   $         110.00
                                 Muncy (KPMG) met to discuss the company
                                 background and structure, as well as to discuss the
                                 bankruptcy model and next steps in modeling the
                                 restructuring transaction, as of 10/05/23.
Julia Durrance          10/05/23 (0.2) Call between J. Durrance and R. Muncy (KPMG)             0.2   $1,100   $         220.00
                                 to discuss next steps in updating the bankruptcy
                                 model, as of 10/05/23.
Robin Muncy             10/05/23 (0.2) Call between J. Durrance and R. Muncy (KPMG)             0.2   $1,000   $         200.00
                                 to discuss next steps in updating the bankruptcy
                                 model, as of 10/05/23.




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Name                      Date    Description                                                Hours    Rate         Amount

Max Klaunig             10/05/23 (0.3) J. Carreon, T. Carroll, J. Durrance, R. Muncy,           0.3   $ 460    $         138.00
                                 and M. Klaunig (KPMG) met to discuss the updated
                                 bankruptcy model, including the Section 1060
                                 allocations, the built in gain or loss analysis, and the
                                 treatment of deferred revenue and right of use assets.
Tom Carroll             10/05/23 (0.3) J. Carreon, T. Carroll, J. Durrance, R. Muncy,           0.3   $1,100   $         330.00
                                 and M. Klaunig (KPMG) met to discuss the updated
                                 bankruptcy model, including the Section 1060
                                 allocations, the built in gain or loss analysis, and the
                                 treatment of deferred revenue and right of use assets.
Jim Carreon             10/05/23 (0.3) J. Carreon, T. Carroll, J. Durrance, R. Muncy,           0.3   $1,280   $         384.00
                                 and M. Klaunig (KPMG) met to discuss the updated
                                 bankruptcy model, including the Section 1060
                                 allocations, the built in gain or loss analysis, and the
                                 treatment of deferred revenue and right of use assets.
Julia Durrance          10/05/23 (0.3) J. Carreon, T. Carroll, J. Durrance, R. Muncy,           0.3   $1,100   $         330.00
                                 and M. Klaunig (KPMG) met to discuss the updated
                                 bankruptcy model, including the Section 1060
                                 allocations, the built in gain or loss analysis, and the
                                 treatment of deferred revenue and right of use assets.
Robin Muncy             10/05/23 (0.3) J. Carreon, T. Carroll, J. Durrance, R. Muncy,           0.3   $1,000   $         300.00
                                 and M. Klaunig (KPMG) met to discuss the updated
                                 bankruptcy model, including the Section 1060
                                 allocations, the built in gain or loss analysis, and the
                                 treatment of deferred revenue and right of use assets.
Robin Muncy             10/05/23 J. Durrance (partial attendance - 0.1), R. Fuerst, and R.      0.6   $1,000   $         600.00
                                 Muncy (KPMG) met to discuss the company
                                 background and structure, as well as to discuss the
                                 bankruptcy model and next steps in modeling the
                                 restructuring transaction, as of 10/05/23.
Regan Fuerst            10/05/23 J. Durrance (partial attendance - 0.1), R. Fuerst, and R.      0.6   $1,000   $         600.00
                                 Muncy (KPMG) met to discuss the company
                                 background and structure, as well as to discuss the
                                 bankruptcy model and next steps in modeling the
                                 restructuring transaction, as of 10/05/23.
Becky Biwer             10/05/23 (0.5) Created a Value workbook in order to connect             1.0   $ 760    $         760.00
                                 the values used in the 382 model with source
                                 documents. (0.5) Sent shareholder inquiry letters to
                                 Proterra shareholders.
Tom Carroll             10/05/23 Partner review, as of 10/05/23, of the Shareholder             1.1   $1,100   $      1,210.00
                                 Inquiries to approve in order to place in circulation to
                                 the client.




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Name                      Date    Description                                               Hours    Rate         Amount

Robin Muncy             10/05/23 (2.1) Update, as of 10/05/23, the bankruptcy model for        2.1   $1,000   $      2,100.00
                                 tax attribute reduction as well as prepare a list of
                                 model updates for the coming week.
Robin Muncy             10/05/23 (2.5) Updated, as of 10/05/23, the bankruptcy model           2.5   $1,000   $      2,500.00
                                 in order to revise the GAAP balance sheet, deferred
                                 tax adjustments, tax basis balance sheet and built in
                                 gain or loss analysis.
Julia Durrance          10/10/23 (0.5) Senior manager review, as of 10/10/23, of the           0.5   $1,100   $         550.00
                                 updated fee summary prepared by the team at the
                                 request of the client, concurrently draft email
                                 regarding same to Y. Kukoyi (KPMG) for his review.

Julia Durrance          10/10/23 (1.0) Senior manager review, as of 10/10/23, of the           1.0   $1,100   $      1,100.00
                                 asset purchase agreement / section 1060 illustrative
                                 table, concurrently and emailed the draft comments to
                                 Y. Kukoyi and J. Carreon (KPMG) for partner review.

Julia Durrance          10/12/23 (0.1) J. Durrance, A. Scofield, and M. Klaunig                0.1   $1,100   $         110.00
                                 (KPMG) met for weekly status call to discuss the
                                 restructuring tax workstreams specifically the potential
                                 tax implications related to the sales of the Transit and
                                 Powered assets, as of 10/12/23.


Alex Scofield           10/12/23 (0.1) J. Durrance, A. Scofield, and M. Klaunig                0.1   $ 760    $          76.00
                                 (KPMG) met for weekly status call to discuss the
                                 restructuring tax workstreams specifically the potential
                                 tax implications related to the sales of the Transit and
                                 Powered assets, as of 10/12/23.


Max Klaunig             10/12/23 (0.1) J. Durrance, A. Scofield, and M. Klaunig                0.1   $ 460    $          46.00
                                 (KPMG) met for weekly status call to discuss the
                                 restructuring tax workstreams specifically the potential
                                 tax implications related to the sales of the Transit and
                                 Powered assets, as of 10/12/23.


Regan Fuerst            10/12/23 (0.1) R. Fuerst, A. Scofield, and M. Klaunig (KPMG)           0.1   $1,000   $         100.00
                                 met to discuss progress on updates to the bankruptcy
                                 model, as of 10/12/23.




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Alex Scofield           10/12/23 (0.1) R. Fuerst, A. Scofield, and M. Klaunig (KPMG)         0.1   $ 760    $          76.00
                                 met to discuss progress on updates to the bankruptcy
                                 model, as of 10/12/23.
Max Klaunig             10/12/23 (0.1) R. Fuerst, A. Scofield, and M. Klaunig (KPMG)         0.1   $ 460    $          46.00
                                 met to discuss progress on updates to the bankruptcy
                                 model, as of 10/12/23.
Yinka Kukoyi            10/12/23 0.2 Email correspondence with A&M team regarding            0.2   $1,380   $         276.00
                                 the 382 analysis.
Alex Scofield           10/12/23 (0.8) Reviewing, as of 10/12/23, the functionality of       0.8   $ 760    $         570.00
                                 the BK model in order to provide R. Muncy (KPMG)
                                 with requested updates.
Alex Scofield           10/12/23 (0.8) Reviewing, as of 10/12/23, the comments and           0.8   $ 760    $         570.00
                                 requested updates from R. Muncy (KPMG) for the
                                 bankruptcy model related to the cash tax calculations
                                 and potential implications under Section 382(l)(5) and
                                 Section 382(l)(6) scenarios.


Alex Scofield           10/12/23 (1.0) Updating, as of 10/12/23, the bankruptcy Excel        1.0   $ 760    $         760.00
                                 model based on R. Muncy's (KPMG) comments on the
                                 tax implications related to Section 382(l)(5) and
                                 Section 382(l)(6) scenarios.




Becky Biwer             10/12/23 (1.9) Completed the linking of the values used in the       1.9   $ 760    $      1,444.00
                                 382 model with the support files to allow for easy
                                 review and provide audit support.
Mark Hoffenberg         10/13/23 0.5 Call with B. Biwer, T. Carroll, Y. Kukoyi, M.           0.5   $1,380   $         690.00
                                 Hoffenberg (KPMG) and Alvarez & Marshal to
                                 discuss comments / questions regarding the 382 model
                                 for Proterra.
Tom Carroll             10/13/23 0.5 Call with B. Biwer, T. Carroll, Y. Kukoyi, M.           0.5   $1,100   $         550.00
                                 Hoffenberg (KPMG) and Alvarez & Marshal to
                                 discuss comments / questions regarding the 382 model
                                 for Proterra.
Yinka Kukoyi            10/13/23 0.5 Call with B. Biwer, T. Carroll, Y. Kukoyi, M.           0.5   $1,380   $         690.00
                                 Hoffenberg (KPMG) and Alvarez & Marshal to
                                 discuss comments / questions regarding the 382 model
                                 for Proterra.




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Name                      Date     Description                                                Hours    Rate         Amount

Becky Biwer             10/13/23 0.5 Call with B. Biwer, T. Carroll, Y. Kukoyi, M.               0.5   $ 760    $         380.00
                                 Hoffenberg (KPMG) and Alvarez & Marshal to
                                 discuss comments / questions regarding the 382 model
                                 for Proterra.
Yinka Kukoyi            10/13/23 0.5 Call with B. Biwer, T. Carroll, Y. Kukoyi, M.               0.5   $1,380   $         690.00
                                 Hoffenberg (KPMG) and Alvarez & Marshal to
                                 discuss comments / questions regarding the 382 model
                                 for Proterra.
Alex Scofield           10/13/23 (0.8) Continued, as of 10/13/23, to update the                  0.8   $ 760    $         570.00
                                 bankruptcy Excel model based on R. Muncy's
                                 (KPMG) comments on the tax implications related to
                                 different Section 382(l)(5) and Section 382(l)(6)
                                 scenarios.
Alex Scofield           10/13/23 (1.5) Linking the excel data including the entity data          1.5   $ 760    $      1,140.00
                                 tab with the tax attributes for each of the respective
                                 cases.
Alex Scofield           10/13/23 (1.5) Testing the functionality and compatibility of the        1.5   $ 760    $      1,140.00
                                 excel model for the L6 and L5 cases for NOLs pre-
                                 TJCA, 382 NOLs, etc.
Becky Biwer             10/13/23 0.5 Updated, as of 10/13/23, the section 382 model              0.5   $ 760    $         380.00
                                 related to the historical ownership study to prove out
                                 the lack of a higher tier ownership shift.
Alex Scofield           10/16/23 (0.5) Testing the functionality and compatibility of the        0.5   $ 760    $         380.00
                                 model in regards to different equity value inputs for
                                 each cases.
Alex Scofield           10/16/23 (1.5) Testing the functionality and compatibility of the        1.5   $ 760    $      1,140.00
                                 model including the executive summary excel sheet
                                 for the various inputs and different scenarios.
Becky Biwer             10/13/23 1.6 Call between B. Biwer and T. Carroll (KPMG) to              1.6   $ 760    $      1,216.00
                                 discuss the upper tier / higher tier shifts related to the
                                 section 382 model for the historical ownership study.

Tom Carroll             10/13/23 1.6 Call between B. Biwer and T. Carroll (KPMG) to              1.6   $1,100   $      1,760.00
                                 discuss the upper tier / higher tier shifts related to the
                                 section 382 model for the historical ownership study.

Antoine Bedard          10/13/23 3.3 Review, as of 10/13/23, of the share values in the          3.3   $ 760    $      2,470.00
                                 value workbook including those input into the section
                                 382 model in order to confirm accuracy in the
                                 workbook or those entered into the model.




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Mark Hoffenberg         10/14/23 (1.1) Prepared analysis regarding the impact of section       1.1   $1,380   $      1,518.00
                                 382(n) on owner shifts.
David Yanchik           10/16/23 (0.2) Review, as of 10/16/23, of Proterra publicly            0.2   $1,080   $         216.00
                                 available information for detail regarding states in
                                 which Proterra owns real property.
Julia Durrance          10/13/23 (.5) Conference call regarding Section 382 Analysis           0.5   $1,100   $         550.00
                                 and Armanino comments with A. Ulyanenko, H.
                                 Steinberg, D. McManus, M. Lannan, S. Wilson, J.
                                 Embt (Proterra), M. Hoffenberg, T. Carroll. Y. Kukoyi
                                 and J. Durrance (KPMG).
Julia Durrance          10/16/23 (0.3) Call with L. Shoenberger, J. Durrance and D.            0.3   $1,100   $         330.00
                                 Yanchik (KPMG) to discuss state and local income tax
                                 and indirect tax issues such as real estate transfer tax
                                 and NOL limitations associated with the Proterra
                                 bankruptcy. Discuss review of purchase agreements
                                 and access to historical state tax information.

David Yanchik           10/16/23 (0.3) Call with L. Shoenberger, J. Durrance and D.            0.3   $1,080   $         324.00
                                 Yanchik (KPMG) to discuss state and local income tax
                                 and indirect tax issues such as real estate transfer tax
                                 and NOL limitations associated with the Proterra
                                 bankruptcy. Discuss review of purchase agreements
                                 and access to historical state tax information.

Leigh Shoenberger       10/16/23 (0.3) Call with L. Shoenberger, J. Durrance and D.            0.3   $1,000   $         300.00
                                 Yanchik (KPMG) to discuss state and local income tax
                                 and indirect tax issues such as real estate transfer tax
                                 and NOL limitations associated with the Proterra
                                 bankruptcy. Discuss review of purchase agreements
                                 and access to historical state tax information.

David Yanchik           10/16/23 (0.4) Managing Director review, as of 10/16/23, of the        0.4   $1,080   $         432.00
                                 Proterra strawman structure deck in order to
                                 preliminarily identify state and local tax issues.
Becky Biwer             10/16/23 0.4 Call between R. Biwer and A. Bedard (KPMG) to             0.4   $ 760    $         304.00
                                 discuss updates to value workbook and to confirm
                                 revisions to the 382 model.
Antoine Bedard          10/16/23 0.4 Call between R. Biwer and A. Bedard (KPMG) to             0.4   $ 760    $         304.00
                                 discuss updates to value workbook and to confirm
                                 revisions to the 382 model.




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Alex Scofield           10/16/23 (2.1) Testing the functionality and compatibility of the       2.1   $ 760    $      1,596.00
                                 model to determine if the excel copy/paste macro was
                                 retrieving the corresponding data for the different
                                 scenarios/cases that were included in the executive
                                 summary tab.
Max Klaunig             10/16/23 (0.7) Review, as of 10/16/23, the updated asset                0.7   $ 460    $         322.00
                                 purchase agreement in order to determine changes to
                                 tax-relevant sections.
Leigh Shoenberger       10/16/23 (0.8) Draft next steps list, as of 10/16/23, for R.            0.8   $1,000   $         800.00
                                 Galloway (KPMG) analyzing the items needed
                                 following receipt of state tax documents including:
                                 create Real Estate Transfer Tax and Controlling
                                 Interest Transfer Tax matrix; identify where taxpayer
                                 has real property and how much; research California
                                 SUT exemption for Occasional Sale rule.
Antoine Bedard          10/16/23 1.0 Updated, as of 10/16/23, the value exhibit                 1.0   $ 760    $         760.00
                                 workbook to reflect the correct values for revisions to
                                 the values used as well as confirm accuracy and ensure
                                 the correct values were input into the section 382
                                 model software.
Becky Biwer             10/16/23 (0.7) Confirmed values used in 382 model against               1.5   $ 760    $      1,140.00
                                 value workbook. (0.8) Reran 382 model with true
                                 tripped (done to treat five percent shareholder as a five
                                 percent shareholder over the life of the study, not just
                                 when it owns more than 5%).

Regan Fuerst            10/13/23 (0.5) Meeting between R. Fuerst and A. Scofield                0.5   $1,000   $         500.00
                                 (KPMG) to discuss documentation and next steps, as
                                 of 10/13/23, for the bankruptcy model left by R.
                                 Muncy (KPMG).
Alex Scofield           10/13/23 (0.5) Meeting between R. Fuerst and A. Scofield                0.5   $ 760    $         380.00
                                 (KPMG) to discuss documentation and next steps, as
                                 of 10/13/23, for the bankruptcy model left by R.
                                 Muncy(KPMG).
Alex Scofield           10/13/23 (0.8) Began to prepare the assumptions tab in order to         0.8   $ 760    $         570.00
                                 update specific facts / assumptions to the client.
Becky Biwer             10/16/23 (3.0) Updated, as of 10/16/23, the 382 model for               3.0   $ 760    $      2,280.00
                                 changes related to the upper tier / higher tier
                                 shareholders.
Leigh Shoenberger       10/17/23 (.3) R. Galloway and L. Shoenberger (KPMG) met to              0.3   $1,000   $         300.00
                                 discuss moving forward on research for Project
                                 Trident, relating to real estate transfer tax (RETT) and
                                 controlling interest transfer tax (CITT).



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Rob Galloway            10/17/23 (.3) R. Galloway and L. Shoenberger (KPMG) met to             0.3   $ 460    $         138.00
                                 discuss moving forward on research for Project
                                 Trident, relating to real estate transfer tax (RETT) and
                                 controlling interest transfer tax (CITT).
Yinka Kukoyi            10/17/23 0.3 Update call with D. Black and J. Embt (Proterra)          0.3   $1,380   $         414.00
                                 regarding tax workstream as of 10/17/23.
Alex Scofield           10/17/23 J. Durrance, R. Muncy, A. Scofield (partial attendance        0.6   $ 760    $         456.00
                                 - 0.6) and M. Klaunig (KPMG) met to discuss next
                                 steps for the bankruptcy model, including the Section
                                 1060 allocation of fair market value, tax attribute
                                 reduction calculation, cash tax model, and the
                                 calculation of 2016 Section 382 base NOL limitations.

Julia Durrance          10/17/23 J. Durrance, R. Muncy, A. Scofield (partial attendance        0.7   $1,100   $         770.00
                                 - 0.6) and M. Klaunig (KPMG) met to discuss next
                                 steps for the bankruptcy model, including the Section
                                 1060 allocation of fair market value, tax attribute
                                 reduction calculation, cash tax model, and the
                                 calculation of 2016 Section 382 base NOL limitations.

Max Klaunig             10/17/23 J. Durrance, R. Muncy, A. Scofield (partial attendance        0.7   $ 460    $         322.00
                                 - 0.6) and M. Klaunig (KPMG) met to discuss next
                                 steps for the bankruptcy model, including the Section
                                 1060 allocation of fair market value, tax attribute
                                 reduction calculation, cash tax model, and the
                                 calculation of 2016 Section 382 base NOL limitations.

Robin Muncy             10/17/23 J. Durrance, R. Muncy, A. Scofield (partial attendance        0.7   $1,000   $         700.00
                                 - 0.6) and M. Klaunig (KPMG) met to discuss next
                                 steps for the bankruptcy model, including the Section
                                 1060 allocation of fair market value, tax attribute
                                 reduction calculation, cash tax model, and the
                                 calculation of 2016 Section 382 base NOL limitations.

Robin Muncy             10/17/23 (1.0) Extract individual state tax return files,              1.0   $1,000   $      1,000.00
                                 concurrently upload state tax returns / federal tax
                                 returns to project Teams channel for access and review
                                 by KPMG State and Local Tax team for purposes of
                                 determining the state tax implications related to the
                                 restructuring transactions.




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Robin Muncy             10/17/23 (2.4) Perform manager level review, as of 10/17/23, of        2.4   $1,000   $      2,400.00
                                 the updates made to the entity data summary, tax
                                 attribute reduction and net operating loss calculations
                                 in the bankruptcy model, concurrently revised the
                                 model in order to update the functionality of the
                                 attribute reduction calculations.
Robin Muncy             10/17/23 (2.5) Perform manager level review, as of 10/17/23, of        2.5   $1,000   $      2,500.00
                                 the net operating loss utilization in the cash tax
                                 calculations of the restructuring model, concurrently
                                 revise the application of the Section 382 limitation in
                                 the Section 382(l)(5) scenarios.
Julia Durrance          10/18/23 (0.1) Call between J. Durrance and R. Muncy (KPMG)            0.1   $1,100   $         110.00
                                 to discuss next steps, as of 10/18/23, in gathering
                                 information needed by KPMG SALT.
Robin Muncy             10/18/23 (0.1) Call between J. Durrance and R. Muncy (KPMG)            0.1   $1,000   $         100.00
                                 to discuss next steps, as of 10/18/23, in gathering
                                 information needed by KPMG SALT.
Robin Muncy             10/18/23 (0.2) Prepare abbreviated version of the bankruptcy           0.2   $1,000   $         200.00
                                 model with only the company's divisional balance
                                 sheet in preparation for review by KPMG State and
                                 Local Tax team.
Scott Salmon            10/18/23 (0.6) S. Salmon, D. Yanchik, Y. Kukoyi, J. Durrance,          0.6   $1,380   $         828.00
                                 R. Muncy and M. Klaunig (KPMG) met to discuss the
                                 state and local tax implications of potential bankruptcy
                                 transactions.

Max Klaunig             10/18/23 (0.6) S. Salmon, D. Yanchik, Y. Kukoyi, J. Durrance,          0.6   $ 460    $         276.00
                                 R. Muncy and M. Klaunig (KPMG) met to discuss the
                                 state and local tax implications of potential bankruptcy
                                 transactions.

David Yanchik           10/18/23 (0.6) S. Salmon, D. Yanchik, Y. Kukoyi, J. Durrance,          0.6   $1,080   $         648.00
                                 R. Muncy and M. Klaunig (KPMG) met to discuss the
                                 state and local tax implications of potential bankruptcy
                                 transactions.

Robin Muncy             10/18/23 (0.6) S. Salmon, D. Yanchik, Y. Kukoyi, J. Durrance,          0.6   $1,000   $         600.00
                                 R. Muncy and M. Klaunig (KPMG) met to discuss the
                                 state and local tax implications of potential bankruptcy
                                 transactions.




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Yinka Kukoyi            10/18/23 (0.6) S. Salmon, D. Yanchik, Y. Kukoyi, J. Durrance,          0.6   $1,380   $         828.00
                                 R. Muncy and M. Klaunig (KPMG) met to discuss the
                                 state and local tax implications of potential bankruptcy
                                 transactions.

Julia Durrance          10/18/23 (0.6) S. Salmon, D. Yanchik, Y. Kukoyi, J. Durrance,          0.6   $1,100   $         660.00
                                 R. Muncy and M. Klaunig (KPMG) met to discuss the
                                 state and local tax implications of potential bankruptcy
                                 transactions.

David Yanchik           10/18/23 (0.6) Review, as of 10/18/23, in order to summarize           0.6   $1,080   $         648.00
                                 the California indirect tax as applied to a sale of
                                 assets, concurrently provide summary via e-mail to Y.
                                 Kukoyi and J. Durrance (KPMG).
Jim Carreon             10/18/23 Y. Kukoyi, J. Carreon (partial attendance - 0.5), J.          0.5   $1,280   $         640.00
                                 Durrance, R. Muncy and M. Klaunig (KPMG) met to
                                 discuss the bankruptcy model's gain calculation as
                                 well as state and local tax implications of potential
                                 bankruptcy transactions, including the impact of
                                 Section 382 and transfer taxes.
Yinka Kukoyi            10/18/23 Y. Kukoyi, J. Carreon (partial attendance - 0.5), J.          0.6   $1,380   $         828.00
                                 Durrance, R. Muncy and M. Klaunig (KPMG) met to
                                 discuss the bankruptcy model's gain calculation as
                                 well as state and local tax implications of potential
                                 bankruptcy transactions, including the impact of
                                 Section 382 and transfer taxes.
Max Klaunig             10/18/23 Y. Kukoyi, J. Carreon (partial attendance - 0.5), J.          0.6   $ 460    $         276.00
                                 Durrance, R. Muncy and M. Klaunig (KPMG) met to
                                 discuss the bankruptcy model's gain calculation as
                                 well as state and local tax implications of potential
                                 bankruptcy transactions, including the impact of
                                 Section 382 and transfer taxes.
Julia Durrance          10/18/23 Y. Kukoyi, J. Carreon (partial attendance - 0.5), J.          0.6   $1,100   $         660.00
                                 Durrance, R. Muncy and M. Klaunig (KPMG) met to
                                 discuss the bankruptcy model's gain calculation as
                                 well as state and local tax implications of potential
                                 bankruptcy transactions, including the impact of
                                 Section 382 and transfer taxes.




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Robin Muncy             10/18/23 Y. Kukoyi, J. Carreon (partial attendance - 0.5), J.         0.6   $1,000   $         600.00
                                 Durrance, R. Muncy and M. Klaunig (KPMG) met to
                                 discuss the bankruptcy model's gain calculation as
                                 well as state and local tax implications of potential
                                 bankruptcy transactions, including the impact of
                                 Section 382 and transfer taxes.
Robin Muncy             10/18/23 (0.8) Updated, as of 10/18/23, the state and local tax       0.8   $1,000   $         800.00
                                 Teams channel, concurrently uploaded all federal tax
                                 returns for access by KPMG State and Local Tax for
                                 purposes of determining the high-level state tax
                                 implications related to the restructuring transactions.
Robin Muncy             10/18/23 (1.0) Documented updates, as of 10/18, to the                1.0   $1,000   $      1,000.00
                                 bankruptcy model and list of issues and questions to
                                 address in future iterations of the bankruptcy model.

Robin Muncy             10/18/23 (1.6) Researched Section 382 in order to determine the       1.6   $1,000   $      1,600.00
                                 tax implications of multiple successive Section 382
                                 ownership changes and utilization of the Section 382
                                 limitations in such scenarios for applicability to
                                 possible Proterra scenarios.
David Yanchik           10/19/23 (0.4) Review, as of 10/19/23, the state tax                  0.4   $1,080   $         432.00
                                 apportionment data in order to understand Proterra's
                                 state tax footprint for analyzing potential emergence
                                 structures.
David Yanchik           10/19/23 (0.5) Documented California sales tax analysis               0.5   $1,080   $         540.00
                                 regarding occasional sale, concurrently began to
                                 research South Carolina sales and use tax regarding
                                 occasional sale exemptions.
Jim Carreon             10/19/23 0.5 Update call with Y. Kukoyi, S. Morgan and J.             0.5   $1,280   $         640.00
                                 Carreon (KPMG) regarding status of Proterra tax
                                 project, as of 10/19/23.

Yinka Kukoyi            10/19/23 0.5 Update call with Y. Kukoyi, S. Morgan and J.             0.5   $1,380   $         690.00
                                 Carreon (KPMG) regarding status of Proterra tax
                                 project, as of 10/19/23.

David Yanchik           10/19/23 (0.6) Call with D. Yanchik and L. Shoenberger                0.6   $1,080   $         648.00
                                 (KPMG) to discuss California sales tax analysis for
                                 asset sale scenario.
Leigh Shoenberger       10/19/23 (0.6) Call with D. Yanchik and L. Shoenberger                0.6   $1,000   $         600.00
                                 (KPMG) to discuss California sales tax analysis for
                                 asset sale scenario.




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Leigh Shoenberger       10/19/23 (0.9) Manager review, as of 10/19/23, of the sales tax         0.9   $1,000   $         900.00
                                 research regarding occasional sale and bulk sale rules
                                 performed by R. Galloway (KPMG) on behalf of
                                 Proterra.
Robin Muncy             10/19/23 (1.0) Locate Proterra state tax apportionment                  1.0   $1,000   $      1,000.00
                                 workpapers for all tax years, concurrently uploading
                                 files to Teams channel in preparation for review by
                                 KPMG State and Local Tax.
Robin Muncy             10/19/23 (1.0) Performed manager level review, as of 10/19/23,          1.0   $1,000   $      1,000.00
                                 of the functionality of the tax attribute reduction
                                 calculations and classification of assets in the
                                 bankruptcy model.
Rob Galloway            10/19/23 (1.0) Researched the Proterra 10K at the request of L.         1.0   $ 460    $         460.00
                                 Shoenberger (KPMG) in order to determine real
                                 property locations and business activity hubs for
                                 California apportionment purposes.
Leigh Shoenberger       10/19/23 (1.4) Updated, as of 10/19/23, the sales tax estimate          1.4   $1,000   $      1,400.00
                                 for comments from call with D. Yanchik (KPMG)
                                 including analysis of property breakout between
                                 divisions of the Company to show liability on a
                                 division by division basis.
Leigh Shoenberger       10/19/23 (1.9) Develop sales tax estimate file in order to              1.9   $1,000   $      1,900.00
                                 analyze impacts of occasional sales, bulk sale, and
                                 manufacturing rules on potential asset sales.
Rob Galloway            10/19/23 (2.5) Began to prepare the SUT occasional / casual             2.5   $ 460    $      1,150.00
                                 sale and bulk sale research matrix for CA, FL, IL, NC
                                 and NY.
Rob Galloway            10/19/23 (2.8) Also compiled real estate transfer tax/controlling-      2.8   $ 460    $      1,288.00
                                 interest transfer tax research for CA, FL, IL, NC, NY,
                                 and SC.
Julia Durrance          10/20/23 (0.2) Call between J. Durrance and R. Muncy (KPMG)             0.2   $1,100   $         220.00
                                 to discuss the state and local tax information request
                                 list for Proterra, as of 10/20/23.
Robin Muncy             10/20/23 (0.2) Call between J. Durrance and R. Muncy (KPMG)             0.2   $1,000   $         200.00
                                 to discuss the state and local tax information request
                                 list for Proterra, as of 10/20/23.
David Yanchik           10/20/23 (0.4) Call with D. Yanchik and L. Shoenberger                  0.4   $1,080   $         432.00
                                 (KPMG) to walk through California sales tax analysis
Leigh Shoenberger                    d Call
                        10/20/23 (0.4)  l    with D. Yanchik and L. Shoenberger                 0.4   $1,000   $         400.00
                                  (KPMG) to walk through California sales tax analysis
                                  model.




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Alex Scofield           10/20/23 (0.4) D. Yanchik, L. Shoenberger, J. Durrance, R.           0.4   $ 760    $         304.00
                                 Muncy, A. Scofield, and M. Klaunig (KPMG) met to
                                 discuss the company's estimated state and local tax
                                 exposures as well as the state and local tax
                                 implications of the company’s Section 382 ownership
                                 change.
Robin Muncy             10/20/23 (0.4) D. Yanchik, L. Shoenberger, J. Durrance, R.           0.4   $1,000   $         400.00
                                 Muncy, A. Scofield, and M. Klaunig (KPMG) met to
                                 discuss the company's estimated state and local tax
                                 exposures as well as the state and local tax
                                 implications of the company’s Section 382 ownership
                                 change.
Julia Durrance          10/20/23 (0.4) D. Yanchik, L. Shoenberger, J. Durrance, R.           0.4   $1,100   $         440.00
                                 Muncy, A. Scofield, and M. Klaunig (KPMG) met to
                                 discuss the company's estimated state and local tax
                                 exposures as well as the state and local tax
                                 implications of the company’s Section 382 ownership
                                 change.
Max Klaunig             10/20/23 (0.4) D. Yanchik, L. Shoenberger, J. Durrance, R.           0.4   $ 460    $         184.00
                                 Muncy, A. Scofield, and M. Klaunig (KPMG) met to
                                 discuss the company's estimated state and local tax
                                 exposures as well as the state and local tax
                                 implications of the company’s Section 382 ownership
                                 change.
David Yanchik           10/20/23 (0.4) D. Yanchik, L. Shoenberger, J. Durrance, R.           0.4   $1,080   $         432.00
                                 Muncy, A. Scofield, and M. Klaunig (KPMG) met to
                                 discuss the company's estimated state and local tax
                                 exposures as well as the state and local tax
                                 implications of the company’s Section 382 ownership
                                 change.
Leigh Shoenberger       10/20/23 (0.4) D. Yanchik, L. Shoenberger, J. Durrance, R.           0.4   $1,000   $         400.00
                                 Muncy, A. Scofield, and M. Klaunig (KPMG) met to
                                 discuss the company's estimated state and local tax
                                 exposures as well as the state and local tax
                                 implications of the company’s Section 382 ownership
                                 change.
Robin Muncy             10/20/23 (0.5) Perform manager level review, as of 10/20/23, of      0.5   $1,000   $         500.00
                                 state and local tax information request list,
                                 concurrently prepared email to client to request items
                                 needed.
Robin Muncy             10/20/23 (0.5) Updated, as of 10/20/23, the draft of the state       0.5   $1,000   $         500.00
                                 and local tax information request list and draft
                                 transmittal email for future use.




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Alex Scofield           10/20/23 (0.5) R. Muncy, A. Scofield, and M. Klaunig (KPMG)             0.5   $ 760    $         380.00
                                 met to discuss the updated bankruptcy model,
                                 including the executive summary and tax attribute
                                 reduction calculation.
Robin Muncy             10/20/23 (0.5) R. Muncy, A. Scofield, and M. Klaunig (KPMG)             0.5   $1,000   $         500.00
                                 met to discuss the updated bankruptcy model,
                                 including the executive summary and tax attribute
                                 reduction calculation.
Max Klaunig             10/20/23 (0.5) R. Muncy, A. Scofield, and M. Klaunig (KPMG)             0.5   $ 460    $         230.00
                                 met to discuss the updated bankruptcy model,
                                 including the executive summary and tax attribute
                                 reduction calculation.
Max Klaunig             10/20/23 (0.7) Updated, as of 10/20/23, the information request         0.7   $ 460    $         322.00
                                 list to be sent to the company.
Becky Biwer             10/20/23 (0.7) Reviewed, as of 10/20/23, the emails regarding           0.7   $ 760    $         532.00
                                 shareholder inquiries received from various
                                 shareholders, in order to update the Section 382
                                 analysis prepared by KPMG.

Robin Muncy             10/20/23 (1.9) Perform manager level review, as of 10/20/23,            1.9   $1,000   $      1,900.00
                                 of the Executive Summary, concurrently draft review
                                 comments to assign senior associate and associate to
                                 address.
David Yanchik           10/21/23 (0.3) Email correspondence with Y. Kukoyi (KPMG)               0.3   $1,080   $         324.00
                                 regarding the current status, as of 10/21/23, of the
                                 state and local indirect tax analysis.
David Yanchik           10/21/23 (0.3) Review, as of 10/21/23, of the California sales          0.3   $1,080   $         324.00
                                 and use tax exception for manufacturing equipment, as
                                 applicable, if Proterra were to sell physical assets.

David Yanchik           10/21/23 (0.3) Review, as of 10/21/23, the quantitative estimate        0.3   $1,080   $         324.00
                                 of state sales and use tax exposure if a sale of Proterra
                                 assets were to occur.
Julia Durrance          10/22/23 (0.5) Email correspondence to J. Embrt (Proterra) and          0.5   $1,100   $         550.00
                                 the Proterra team related to the state tax return
                                 information requests.
Scott Salmon            10/23/23 (0.4) Correspondence with D. Yanchik (KPMG)                    0.4   $1,380   $         552.00
                                 regarding technical aspects of sales tax projection
                                 computations for Proterra,
Scott Salmon            10/23/23 (0.4) Research regarding CA issues related to potential        0.4   $1,380   $         552.00
                                 drop of assets into LLC with assumption of liabilities
                                 and the applicable tax base.




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Yinka Kukoyi            10/23/23 (0.2) Discussion with Y. Kukoyi, J. Durrance, M.             0.2   $1,380   $         276.00
                                 Hoffenberg and B. Unell (KPMG) regarding the
                                 potential tax implications of the restructuring
                                 transaction.
Bela Unell              10/23/23 (0.2) Discussion with Y. Kukoyi, J. Durrance, M.             0.2   $1,380   $         276.00
                                 Hoffenberg and B. Unell (KPMG) regarding the
                                 potential tax implications of the restructuring
                                 transaction.
Mark Hoffenberg         10/23/23 (0.2) Discussion with Y. Kukoyi, J. Durrance, M.             0.2   $1,380   $         276.00
                                 Hoffenberg and B. Unell (KPMG) regarding the
                                 potential tax implications of the restructuring
                                 transaction.
Julia Durrance          10/23/23 (0.2) Discussion with Y. Kukoyi, J. Durrance, M.             0.2   $1,100   $         220.00
                                 Hoffenberg and B. Unell (KPMG) regarding the
                                 potential tax implications of the restructuring
                                 transaction.
Leigh Shoenberger       10/23/23 (0.3) Draft summary e-mail to State Tax team                 0.3   $1,000   $         300.00
                                 members regarding the current week's workstreams
                                 discussed on call related to the state tax implications
                                 of the restructuring transactions (i.e., the potential
                                 asset sales of Transit and Powered business lines).
Alex Scofield           10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.              0.3   $ 760    $         228.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.

Scott Salmon            10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.              0.3   $1,380   $         414.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.
Jim Carreon             10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.              0.3   $1,280   $         384.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.




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Julia Durrance          10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.                0.3   $1,100   $         330.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.

David Yanchik           10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.                0.3   $1,080   $         324.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.

Leigh Shoenberger       10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.                0.3   $1,000   $         300.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.

Max Klaunig             10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.                0.3   $ 460    $         138.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.
Robin Muncy             10/23/23 (0.3) S. Salmon, D. Yanchik, L. Shoenberger, J.                0.3   $1,000   $         300.00
                                 Carreon, J. Durrance, R. Muncy, A. Scofield, and M.
                                 Klaunig (KPMG) met to discuss the state and local tax
                                 consequences of various structures of asset sales by
                                 the company.
Leigh Shoenberger       10/23/23 (0.4) Review, as of 10/23/23, the 2022 provision file          0.4   $1,000   $         400.00
                                 to identify states with material amounts of property to
                                 be utilized for sales and use tax research related to the
                                 restructuring transactions for the Transit and Powered
                                 business lines.
David Yanchik           10/23/23 (0.5) Call with D. Yanchik; L. Shoenberger; C. Pratt           0.5   $1,080   $         540.00
                                 and J. Murante (KPMG) to discuss overview of
                                 company structure and activities as well as state and
                                 local tax workstreams including sales and use tax
                                 exemption research, research regarding state
                                 conformity to I.R.C. section 328, and potential
                                 quantitative state analyses.




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Joe Murante             10/23/23 (0.5) Call with D. Yanchik; L. Shoenberger; C. Pratt          0.5   $ 760    $         380.00
                                 and J. Murante (KPMG) to discuss overview of
                                 company structure and activities as well as state and
                                 local tax workstreams including sales and use tax
                                 exemption research, research regarding state
                                 conformity to I.R.C. section 328, and potential
                                 quantitative state analyses.
Connor Pratt            10/23/23 (0.5) Call with D. Yanchik; L. Shoenberger; C. Pratt          0.5   $ 760    $         380.00
                                 and J. Murante (KPMG) to discuss overview of
                                 company structure and activities as well as state and
                                 local tax workstreams including sales and use tax
                                 exemption research, research regarding state
                                 conformity to I.R.C. section 328, and potential
                                 quantitative state analyses.
Leigh Shoenberger       10/23/23 (0.5) Call with D. Yanchik; L. Shoenberger; C. Pratt          0.5   $1,000   $         500.00
                                 and J. Murante (KPMG) to discuss overview of
                                 company structure and activities as well as state and
                                 local tax workstreams including sales and use tax
                                 exemption research, research regarding state
                                 conformity to I.R.C. section 328, and potential
                                 quantitative state analyses.
David Yanchik           10/23/23 (0.5) Review, as of 10/23/23, of the fixed asset data on      0.5   $1,080   $         540.00
                                 a by-state basis, concurrently analyze and sort fixed
                                 asset data into categories that would be considered
                                 manufacturing or sales / general use.
Becky Biwer             10/23/23 Discussion between B. Biwer and M. Hawkes                     0.5   $ 760    $         380.00
                                 (KPMG) regarding the higher tier shareholder shifts in
                                 connection with the 382 study via Teams.
Robin Muncy             10/23/23 (0.6) Email correspondence regarding the new state            0.6   $1,000   $         600.00
                                 returns and fixed asset register by state to D. Yanchik
                                 and L. Shoenberger (KPMG).
Leigh Shoenberger       10/23/23 (0.6) Review, as of 10/23/23, the 2017 provision file         0.6   $1,000   $         600.00
                                 in order to identify states where there may be a state
                                 Section 382 limitation issue from the November 2016
                                 ownership change.
Julia Durrance          10/23/23 (0.8) Call between J. Durrance and R. Muncy (KPMG)            0.8   $1,100   $         880.00
                                 to review and discuss new state tax return items
                                 received from the company, as of 10/23/23.
Robin Muncy             10/23/23 (0.8) Call between J. Durrance and R. Muncy (KPMG)            0.8   $1,000   $         800.00
                                 to review and discuss new state tax return items
                                 received from the company, as of 10/23/23.




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Mary Beth Hawkes        10/23/23 (1.0) Continued, from earlier on 10/23/23, to review          1.0   $1,000   $      1,000.00
                                 the historical SEC filings in order to determine the
                                 equity holdings of certain high tier shareholders for
                                 purposes of the 382 study.
Scott Salmon            10/23/23 Y. Kukoyi, J. Carreon, J. Durrance, R. Muncy, S.              0.7   $1,380   $         966.00
                                 Salmon (partial attendance) and D. Yanchik (partial
                                 attendance) met to discuss the potential state and local
                                 tax exposures related to the sale of company assets, as
                                 well as to discuss potential structuring alternatives.


Yinka Kukoyi            10/23/23 Y. Kukoyi, J. Carreon, J. Durrance, R. Muncy, S.              1.1   $1,380   $      1,518.00
                                 Salmon (partial attendance) and D. Yanchik (partial
                                 attendance) met to discuss the potential state and local
                                 tax exposures related to the sale of company assets, as
                                 well as to discuss potential structuring alternatives.

Jim Carreon             10/23/23 Y. Kukoyi, J. Carreon, J. Durrance, R. Muncy, S.              1.1   $1,280   $      1,408.00
                                 Salmon (partial attendance) and D. Yanchik (partial
                                 attendance) met to discuss the potential state and local
                                 tax exposures related to the sale of company assets, as
                                 well as to discuss potential structuring alternatives.


Robin Muncy             10/23/23 Y. Kukoyi, J. Carreon, J. Durrance, R. Muncy, S.              1.1   $1,000   $      1,100.00
                                 Salmon (partial attendance) and D. Yanchik (partial
                                 attendance) met to discuss the potential state and local
                                 tax exposures related to the sale of company assets, as
                                 well as to discuss potential structuring alternatives.

David Yanchik           10/23/23 Y. Kukoyi, J. Carreon, J. Durrance, R. Muncy, S.              1.1   $1,080   $      1,188.00
                                 Salmon (partial attendance) and D. Yanchik (partial
                                 attendance) met to discuss the potential state and local
                                 tax exposures related to the sale of company assets, as
                                 well as to discuss potential structuring alternatives.


Julia Durrance          10/23/23 Y. Kukoyi, J. Carreon, J. Durrance, R. Muncy, S.              1.1   $1,100   $      1,210.00
                                 Salmon (partial attendance) and D. Yanchik (partial
                                 attendance) met to discuss the potential state and local
                                 tax exposures related to the sale of company assets, as
                                 well as to discuss potential structuring alternatives.




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Scott Salmon            10/23/23 (0.4) Review, as of 10/23/23, of sales tax projections            0.4   $1,380   $         552.00
                                 for sale of assets and the amount of tax on a drop of
                                 assets into a Newco LLC in order to provide
                                 comments to D. Yanchik and L. Shoenberger
                                 (KPMG).
David Yanchik           10/23/23 (1.2) Call between L. Shoenberger and D. Yanchik                  1.2   $1,080   $       1,296.00
                                 (KPMG) to analyze state fixed asset data and
                                 incorporate into state sales and use tax analysis
                                 including state manufacturing exemptions and analysis
                                 of what California and South Carolina would view as
                                 the purchase price if assets were contributed to a
                                 newly formed limited liability company; confirm state
                                 and local sales and use tax rates in Burlingame,
                                 California and Greer, South Carolina; send summary
                                 of quantitative analysis to Y. Kukoyi (KPMG).

Leigh Shoenberger       10/23/23 (1.2) Call between L. Shoenberger and D. Yanchik                  1.2   $1,000   $       1,200.00
                                 (KPMG) to analyze state fixed asset data and
                                 incorporate into state sales and use tax analysis
                                 including state manufacturing exemptions and analysis
                                 of what California and South Carolina would view as
                                 the purchase price if assets were contributed to a
                                 newly formed limited liability company; confirm state
                                 and local sales and use tax rates in Burlingame,
                                 California and Greer, South Carolina; send summary
                                 of quantitative analysis to Y. Kukoyi (KPMG).

Alex Scofield           10/23/23 (1.5) Prepared a fee Summary update for 10/23/2023                1.5   $ 760    $       1,140.00
                                 at the request of the client.
Mary Beth Hawkes        10/23/23 (3.9) Reviewed, as of 10/23/23, the historical SEC                3.9   $1,000   $       3,900.00
                                 filings in order to determine the equity holdings of
                                 certain high tier shareholders for purposes of the 382
                                 study.
Robin Muncy             10/24/23 (0.1) Drafted email communication to Paul Weiss                   0.1   $1,000   $         100.00
                                 regarding sales tax exposure estimates prepared by
                                 KPMG SALT group.
Scott Salmon            10/24/23 (0.2) Call with S. Salmon and L. Shoenberger                      0.2   $1,380   $         276.00
                                 (KPMG) to discuss updates needed estimate the
                                 potential state tax liability in the potential restructuring
                                 transactions.




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Leigh Shoenberger       10/24/23 (0.2) Call with S. Salmon and L. Shoenberger                      0.2   $1,000   $         200.00
                                 (KPMG) to discuss updates needed estimate the
                                 potential state tax liability in the potential restructuring
                                 transactions.
Scott Salmon            10/24/23 (0.3) Review, as of 10/24/23, concurrently provide                0.3   $1,380   $         414.00
                                 comment on draft message prepared by R. Muncy
                                 (KPMG) in regards to potential sales tax liabilities on
                                 an asset sale in connection with the potential
                                 restructuring transactions.

Leigh Shoenberger       10/24/23 (0.3) Update, as of 10/24/23, the notes and                       0.3   $1,000   $         300.00
                                 assumptions tab in SALT sales tax liability estimate
                                 calculation in order to describe methodology of
                                 classifying assets based on fixed asset report and
                                 apportionment data received.
Alex Scofield           10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                    0.5   $ 760    $         380.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.

Scott Salmon            10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                    0.5   $1,380   $         690.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.

Julia Durrance          10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                    0.5   $1,100   $         550.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.
Max Klaunig             10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                    0.5   $ 460    $         230.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.

Robin Muncy             10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                    0.5   $1,000   $         500.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.




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Leigh Shoenberger       10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                0.5   $1,000   $         500.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.

Yinka Kukoyi            10/24/23 (0.5) S. Salmon, L. Shoenberger, Y. Kukoyi, J.                0.5   $1,380   $         690.00
                                 Durrance, R. Muncy, A. Scofield (partial attendance -
                                 0.5), and M. Klaunig (KPMG) met to discuss the
                                 calculation of the company's state and local taxes in
                                 connection with the bankruptcy transactions.
David Yanchik           10/24/23 (0.6) Update, as of 10/24/23, the state sales and use         0.6   $1,080   $         648.00
                                 tax estimate with fixed asset detail provided by client.

Alex Scofield           10/24/23 (0.9) Performed research in regards to potential              0.9   $ 760    $         684.00
                                 reorganizational structure of distributing assets into
                                 LLC in order to determine whether such structure /
                                 plan is G Reorganization or F reorganization.
Leigh Shoenberger       10/24/23 (0.6) Update, as of 10/24/23, the SALT sales tax              0.6   $1,000   $         600.00
                                 liability estimate calculations based on calls with
                                 M&A and SALT team regarding California
                                 contribution.
David Yanchik           10/24/23 (0.7) Call with S. Salmon, D. Yanchik and L.                  0.7   $1,080   $         756.00
                                 Shoenberger (KPMG) to discuss updates needed
                                 related to the estimate of the potential state tax
                                 liability in the potential restructuring transactions.

Leigh Shoenberger       10/24/23 (0.7) Call with S. Salmon, D. Yanchik and L.                  0.7   $1,000   $         700.00
                                 Shoenberger (KPMG) to discuss updates needed
                                 related to the estimate of the potential state tax
                                 liability in the potential restructuring transactions.
Scott Salmon            10/24/23 (0.7) Call with S. Salmon, D. Yanchik and L.                  0.7   $1,380   $         966.00
                                 Shoenberger (KPMG) to discuss updates needed
                                 related to the estimate of the potential state tax
                                 liability in the potential restructuring transactions.

Robin Muncy             10/24/23 (0.8) Update, as of 10/24/23, the tax basis balance           0.8   $1,000   $         800.00
                                 sheet and provide updated file to KPMG SALT for
                                 updated sales tax exposure analysis.
Alex Scofield           10/24/23 (0.5) J. Durrance, R. Muncy and A. Scofield - partial         0.5   $ 760    $         380.00
                                 (KPMG) met to discuss the treatment of deferred items
                                 included in the 2022 tax return provision workpapers.




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Julia Durrance          10/24/23 (0.5) J. Durrance, R. Muncy and A. Scofield - partial         0.9   $1,100   $         990.00
                                 (KPMG) met to discuss the treatment of deferred items
                                 included in the 2022 tax return provision workpapers.

Robin Muncy             10/24/23 (0.5) J. Durrance, R. Muncy and A. Scofield - partial         0.9   $1,000   $         900.00
                                 (KPMG) met to discuss the treatment of deferred items
                                 included in the 2022 tax return provision workpapers.

David Yanchik           10/24/23 (0.9) Researched the South Carolina sales and use tax         0.9   $1,080   $         972.00
                                 applicability to the sale of assets and treatment of LLC
                                 as an entity, concurrently utilized research to prepare
                                 estimate of South Carolina state sales and use tax
                                 analysis.
Leigh Shoenberger       10/24/23 (0.9) Updated, as of 10/24/23, the notes and                  0.9   $1,000   $         900.00
                                 assumptions tab in order to address South Carolina
                                 calculations on SALT sales tax liability estimate
                                 calculation based on review comments.
Julia Durrance          10/24/23 (0.9) J. Durrance (partial attendance - 0.9), R. Muncy,       0.9   $1,100   $         990.00
                                 A. Scofield (partial attendance - 0.5) and M. Klaunig
                                 (KPMG) met to discuss the calculation of the
                                 company's state and local taxes in connection with the
                                 bankruptcy transactions.
Max Klaunig             10/24/23 (1.0) J. Durrance (partial attendance - 0.9), R. Muncy,       1.0   $ 460    $         460.00
                                 A. Scofield (partial attendance - 0.5) and M. Klaunig
                                 (KPMG) met to discuss the calculation of the
                                 company's state and local taxes in connection with the
                                 bankruptcy transactions.
Alex Scofield           10/24/23 J. Durrance (partial attendance - 0.9), R. Muncy, A.          0.9   $ 760    $         684.00
                                 Scofield (partial attendance - 0.5) and M. Klaunig
                                 (KPMG) met to discuss the calculation of the
                                 company's state and local taxes in connection with the
                                 bankruptcy transactions.
Robin Muncy             10/24/23 (1.0) J. Durrance (partial attendance - 0.9), R. Muncy,       1.0   $1,000   $       1,000.00
                                 A. Scofield (partial attendance - 0.5) and M. Klaunig
                                 (KPMG) met to discuss the calculation of the
                                 company's state and local taxes in connection with the
                                 bankruptcy transactions.
Robin Muncy             10/24/23 (1.2) Update, as of 10/24/23, the tax basis balance           1.2   $1,000   $       1,200.00
                                 sheet focusing on the presentation of cumulative
                                 temporary deferred balances.
Julia Durrance          10/24/23 (1.3) Call between J. Durrance and R. Muncy (KPMG)            1.3   $1,100   $       1,430.00
                                 to discuss updated sales tax exposure calculations and
                                 revise draft email to Paul Weiss.




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Robin Muncy             10/24/23 (1.3) Call between J. Durrance and R. Muncy (KPMG)            1.3   $1,000   $       1,300.00
                                 to discuss updated sales tax exposure calculations and
                                 revise draft email to Paul Weiss.
Robin Muncy             10/24/23 (1.2) R. Muncy and A. Scofield (KPMG) met to                  1.2   $1,000   $       1,200.00
                                 discuss the treatment of deferred items for purposes of
                                 the built in gain calculation in the bankruptcy model.

Connor Pratt            10/24/23 (1.6) Reviewing, as of 10/24/23, whether states               2.3   $ 760    $       1,710.00
                                 follow IRC Section 382 NOL limitations in CA, IL,
                                 FL, KY, MA, MT, NC, and SC, concurrently pull and
                                 review research for all states and inserting conclusions
                                 and citations into matrix. (0.7) Also reviewing
                                 whether 328 applies on a pre or post apportionment
                                 basis in CA, FL, KY, MA, and SC. Finding citation
                                 and inserting into the matrix.
Max Klaunig             10/25/23 (0.2) R. Muncy and M. Klaunig (KPMG) met to                   0.2   $ 460    $          92.00
                                 discuss the Proterra bankruptcy model's functionality.
Robin Muncy             10/25/23 (0.2) R. Muncy and M. Klaunig (KPMG) met to                   0.2   $1,000   $         200.00
                                 discuss the Proterra bankruptcy model's functionality.
Julia Durrance          10/25/23 (0.3) J. Durrance and R. Muncy (KPMG) met to                  0.3   $1,100   $         330.00
                                 discuss follow up email from Paul Weiss related to a
                                 state tax question on the restructuring transaction.
Robin Muncy             10/25/23 (0.3) J. Durrance and R. Muncy (KPMG) met to                  0.3   $1,000   $         300.00
                                 discuss follow up email from Paul Weiss related to a
                                 state tax question on the restructuring transaction.
Max Klaunig             10/25/23 (0.4) J. Durrance, R. Muncy and M. Klaunig (KPMG)             0.4   $ 460    $         184.00
                                 met to discuss the bankruptcy model's executive
                                 summary and cash tax model, including the impact of
                                 the company's 2022 net operating losses.
Julia Durrance          10/25/23 (0.4) J. Durrance, R. Muncy and M. Klaunig (KPMG)             0.4   $1,100   $         440.00
                                 met to discuss the bankruptcy model's executive
                                 summary and cash tax model, including the impact of
                                 the company's 2022 net operating losses.
Robin Muncy             10/25/23 (0.4) J. Durrance, R. Muncy and M. Klaunig (KPMG)             0.4   $1,000   $         400.00
                                 met to discuss the bankruptcy model's executive
                                 summary and cash tax model, including the impact of
                                 the company's 2022 net operating losses.
David Yanchik           10/25/23 (0.4) Review, as of 10/25/23, Section 382 limitation          0.4   $1,080   $         432.00
                                 and applicability to state tax attributes.
Alex Scofield           10/24/23 (1.2) R. Muncy and A. Scofield (KPMG) met to                  1.2   $ 760    $         912.00
                                 discuss the treatment of deferred items for purposes of
                                 the built in gain calculation in the bankruptcy model.




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Alex Scofield           10/25/23 (0.5) R. Muncy and A. Scofield (KPMG) met to                 0.5   $ 760    $         380.00
                                 discuss the executive summary in the Proterra
                                 bankruptcy model, as well as to discuss the model's
                                 functionality.
Robin Muncy             10/25/23 (0.5) R. Muncy and A. Scofield (KPMG) met to                 0.5   $1,000   $         500.00
                                 discuss the executive summary in the Proterra
                                 bankruptcy model, as well as to discuss the model's
                                 functionality.
Yinka Kukoyi            10/25/23 0.5 Email correspondence with A. McGinnis (Paul              0.5   $1,380   $         690.00
                                 Weiss) regarding sales and use tax on the restructuring
                                 transactions.

Rob Galloway            10/25/23 (.6) Began researching the Illinois Sales and Use Tax        0.6   $ 460    $         276.00
                                 manufacturing exemption for building out the Proterra
                                 SALT cash tax model to determine which inputs are
                                 relevant for each state.
David Yanchik           10/25/23 (0.6) Review, as of 10/25/23, of whether assumption          0.6   $1,080   $         648.00
                                 of liabilities would be deemed consideration for state
                                 sales and use tax purposes.
Becky Biwer             10/25/23 0.5 Email correspondence with A. McGinnis (Paul              0.6   $ 760    $         456.00
                                 Weiss) regarding sales and use tax on the restructuring
                                 transactions.

David Yanchik           10/25/23 (1.2) Call between L. Shoenberger and D. Yanchik             1.2   $1,080   $       1,296.00
                                 (KPMG) to analyze state fixed asset data and
                                 incorporate into state sales and use tax analysis
                                 including state manufacturing exemptions and analysis
                                 of what California and South Carolina would view as
                                 the purchase price if assets were contributed to a
                                 newly formed limited liability company; confirm state
                                 and local sales and use tax rates in Burlingame,
                                 California and Greer, South Carolina; send summary
                                 of quantitative analysis to Y. Kukoyi (KPMG).




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Leigh Shoenberger       10/25/23 (1.2) Call between L. Shoenberger and D. Yanchik               1.2   $1,000   $       1,200.00
                                 (KPMG) to analyze state fixed asset data and
                                 incorporate into state sales and use tax analysis
                                 including state manufacturing exemptions and analysis
                                 of what California and South Carolina would view as
                                 the purchase price if assets were contributed to a
                                 newly formed limited liability company; confirm state
                                 and local sales and use tax rates in Burlingame,
                                 California and Greer, South Carolina; send summary
                                 of quantitative analysis to Y. Kukoyi (KPMG).

David Yanchik           10/25/23 (1.3) Review, as of 10/25/23, of California Board of           1.3   $1,080   $       1,404.00
                                 Equalization decisions / guidance related to sale of
                                 assets and / or entities in California and the associated
                                 California sales and use tax consequences and
                                 summarize same in e-mail to larger KPMG Proterra
                                 team.
Connor Pratt            10/25/23 (1.5) Completed review, as of 10/25/23, of Section             1.5   $ 760    $       1,140.00
                                 382 analysis and pre versus post apportionment in SC,
                                 TN, and UT which included the review of all relevant
                                 research in order to insert findings into research
                                 matrix.
Robin Muncy             10/25/23 (1.6) Update, as of 10/25/23, the net operating loss           1.6   $1,000   $       1,600.00
                                 utilization calculations in the cash tax estimate in the
                                 bankruptcy model to separate the 2010 and 2011
                                 Section 382 limited net operating losses from the 2016
                                 Section 382 limited net operating losses.
Robin Muncy             10/25/23 (1.7) Update, as of 10/25/23, the Section 163(j)               1.7   $1,000   $       1,700.00
                                 carryforward utilization and interest expense
                                 deduction calculations in the cash tax estimate in the
                                 bankruptcy model.
Joe Murante             10/25/23 (2.0) Performed research related to the Iowa sales tax         2.0   $ 760    $       1,520.00
                                 research related to imposition and definition statues,
                                 casual / occasional sale exemptions, exemptions
                                 applicable to purchases / sale by manufacturers, and
                                 Iowa treatment of sale of LLC interests.

Antoine Bedard          10/26/23 (0.3) Prepared a response to message from R. Muncy             0.3   $ 760    $         190.00
                                 (KPMG) requesting copies of M&A section 382
                                 federal study to provide to KPMG State and Local Tax
                                 group for utilization in their Section 382 state study.




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David Yanchik           10/26/23 (0.3) Y. Kukoyi, J. Carreon (partial attendance – 0.2),      0.3   $1,080   $         324.00
                                 J. Durrance, R. Muncy (KPMG M&A), D. Yanchik,
                                 and L. Shoenberger (KPMG SALT) meet to discuss
                                 structuring issues from a California sales and use tax
                                 perspective and to discuss the commencement of the
                                 state Section 382 workstream.
Yinka Kukoyi            10/26/23 (0.3) Y. Kukoyi, J. Carreon (partial attendance – 0.2),      0.3   $1,380   $         414.00
                                 J. Durrance, R. Muncy, D. Yanchik and L.
                                 Shoenberger (KPMG) met to discuss structuring issues
                                 from a California sales and use tax perspective and to
                                 discuss the commencement of the state Section 382
                                 workstream.
Julia Durrance          10/26/23 (0.3) Y. Kukoyi, J. Carreon (partial attendance – 0.2),      0.3   $1,100   $         330.00
                                 J. Durrance, R. Muncy, D. Yanchik and L.
                                 Shoenberger (KPMG) met to discuss structuring issues
                                 from a California sales and use tax perspective and to
                                 discuss the commencement of the state Section 382
                                 workstream.
Jim Carreon             10/26/23 (0.3) Y. Kukoyi, J. Carreon (partial attendance – 0.2),      0.3   $1,280   $         384.00
                                 J. Durrance, R. Muncy, D. Yanchik and L.
                                 Shoenberger (KPMG) met to discuss structuring issues
                                 from a California sales and use tax perspective and to
                                 discuss the commencement of the state Section 382
                                 workstream.
Leigh Shoenberger       10/26/23 (0.3) Y. Kukoyi, J. Carreon (partial attendance – 0.2),      0.3   $1,000   $         300.00
                                 J. Durrance, R. Muncy, D. Yanchik and L.
                                 Shoenberger (KPMG) met to discuss structuring issues
                                 from a California sales and use tax perspective and to
                                 discuss the commencement of the state Section 382
                                 workstream.
Robin Muncy             10/25/23 (2.1) Began to prepare updates, as of 10/25/23, to the       2.1   $1,000   $       2,100.00
                                 bankruptcy model in order to integrate the 2022
                                 attributes from the company's most recent tax return,
                                 including the net operating loss carryforward and the
                                 Section 163(j) carryforward.

Robin Muncy             10/26/23 (0.3) Y. Kukoyi, J. Carreon (partial attendance – 0.2),      0.3   $1,000   $         300.00
                                 J. Durrance, R. Muncy, D. Yanchik and L.
                                 Shoenberger (KPMG) met to discuss structuring issues
                                 from a California sales and use tax perspective and to
                                 discuss the commencement of the state Section 382
                                 workstream.




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Connor Pratt            10/26/23 (0.4) Performing research regarding all states that do         0.4   $ 760    $         304.00
                                 not conform to Section 382, including MT, TN, and
                                 UT, concurrently updated the research matrix to reflect
                                 findings for these states.
David Yanchik           10/26/23 (0.5) D. Yanchik, J. Kuhl, L. Shoenberger, and R.              0.5   $1,080   $         540.00
                                 Galloway (KPMG) met to discuss California’s state
                                 tax implications related to the restructuring transaction
                                 and any tax law nuances in California based on the
                                 restructuring transaction outlined in the restructuring
                                 term sheet provided by Paul Weiss.

Jim Kuhl                10/26/23 (0.5) D. Yanchik, J. Kuhl, L. Shoenberger, and R.              0.5   $1,100   $         550.00
                                 Galloway (KPMG) met to discuss California’s
                                 application of the Step Transaction Doctrine,
                                 approaches with regards to the sale of assets in an LLC
                                 pursuant to bankruptcy, California specific treatment
                                 of electric vehicles, and general California audit
                                 approaches when bankruptcy is involved.
Leigh Shoenberger       10/26/23 (0.5) D. Yanchik, J. Kuhl, L. Shoenberger, and R.              0.5   $1,000   $         500.00
                                 Galloway (KPMG) met to discuss California’s
                                 application of the Step Transaction Doctrine,
                                 approaches with regards to the sale of assets in an LLC
                                 pursuant to bankruptcy, California specific treatment
                                 of electric vehicles, and general California audit
                                 approaches when bankruptcy is involved.
Rob Galloway            10/26/23 (0.5) D. Yanchik, J. Kuhl, L. Shoenberger, and R.              0.5   $ 460    $         230.00
                                 Galloway (KPMG) met to discuss California’s
                                 application of the Step Transaction Doctrine,
                                 approaches with regards to the sale of assets in an LLC
                                 pursuant to bankruptcy, California specific treatment
                                 of electric vehicles, and general California audit
                                 approaches when bankruptcy is involved.
Leigh Shoenberger       10/26/23 Call with L. Shoenberger and C. Pratt (KPMG) to                0.7   $1,000   $         700.00
                                 discuss the Section 382 rules in all applicable states
                                 for the potential 382 limitation related to the 2016
                                 ownership change including whether the state
                                 conforms to 382, whether the limitation is applied on a
                                 pre versus post apportionment basis, and sources used
                                 to conduct research.




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Connor Pratt            10/26/23 Call with L. Shoenberger and C. Pratt (KPMG) to                0.7   $ 760    $         532.00
                                 discuss the Section 382 rules in all applicable states
                                 for the potential 382 limitation related to the 2016
                                 ownership change including whether the state
                                 conforms to 382, whether the limitation is applied on a
                                 pre versus post apportionment basis, and sources used
                                 to conduct research.
Joe Murante             10/26/23 (.8) Performed research related to Michigan's sales            0.8   $ 760    $         570.00
                                 and use tax imposition as well as definition statutes for
                                 inclusion into research matrix.
Becky Biwer             10/23/23 0.5 Prepare agenda for shareholder inquiry calls in            0.5   $ 760    $         380.00
                                 order to update and refine the Section 382 study per
                                 the request of the client.

Becky Biwer             10/26/23 (0.3) Shareholder inquiry call with Mitsui to provide          0.3   $ 760    $         228.00
                                 understanding of the questions related to the Section
                                 382 study.

Becky Biwer             10/26/23 (0.5) Extracted public data on a higher tier                   0.5   $ 760    $         380.00
                                 shareholder in order to assess whether there was a
                                 higher shift that could impact the 382 study.

Robin Muncy             10/26/23 (1.0) Researched public filings in order to locate Form        1.0   $1,000   $       1,000.00
                                 10-K language regarding Section 382 and the effect of
                                 Chapter 11 bankruptcy to provide to the KPMG BTS
                                 team.
Alex Scofield           10/26/23 (1.0) Updating, as of 10/26/23, the Executive summary          1.0   $ 760    $         760.00
                                 tab in the tax model based on comments from R.
                                 Muncy (KPMG).
Jim Kuhl                10/26/23 (1.2) Review, as of 10/26/23, the California rulings           1.2   $1,100   $       1,320.00
                                 provided as well as research regulations and
                                 annotations for additional support regarding California
                                 step doctrine for imposition.
Rob Galloway            10/26/23 (1.7) Researched Sales and Use Tax rules for Illinois,         1.7   $ 460    $         782.00
                                 New York, and South Carolina regarding occasional
                                 sale/casual sale for building out the Proterra SALT
                                 cash tax model to determine which inputs are relevant
                                 for each state.




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Robin Muncy             10/26/23 (2.0) Perform manager level review, as of 10/26/23, of         2.0   $1,000   $       2,000.00
                                 associate and senior associate research findings on the
                                 question of Section 368(a)(1)(F) and Section
                                 368(a)(1)(G) reorganizations in Chapter 11 cases, and
                                 perform additional research in order to determine
                                 when G reorganizations trumps an F reorganizations,
                                 for purposes of considering different structuring
                                 alternatives related to the potential restructuring
                                 transactions.
Robin Muncy             10/26/23 (2.7) Update, as of 10/26/23, to the bankruptcy model          2.7   $1,000   $       2,700.00
                                 related to the aggregate total net operating loss balance
                                 to verify the total amount of NOLs available in
                                 connection with the potential restructuring
                                 transactions.

Scott Salmon            10/27/23 0.2 Draft message to L. Shoenberger, Y. Kukoyi, J.             0.2   $1,380   $         276.00
                                 Durrance, J. Carreon , A. Scofield and D Yanchik
                                 (KPMG) regarding the potential state tax implications
                                 of certain restructuring transaction alternatives.


Antoine Bedard          10/27/23 Review, as of 10/27/23, the Orion and One Drive files          0.3   $ 760    $         190.00
                                 in order to pull latest section 382 limitation to forward
                                 to the KPMG State and Local Tax team to utilize in
                                 preparing the State 382 limitation calculation for
                                 Proterra.
Robin Muncy             10/27/23 (0.3) Prepared draft email communication to KPMG               0.3   $1,000   $         300.00
                                 BTS in order to provide comments on Client provided
                                 language related to our understanding of the potential
                                 restructuring transactions and potential section 382
                                 implications.

Robin Muncy             10/27/23 (0.5) Prepare email communication to transmit the              0.5   $1,000   $         500.00
                                 federal Section 382 study to KPMG SALT in order to
                                 kick off state Section 382 workstream for purposes of
                                 the company's quantitative restructuring analysis, as
                                 well as request to schedule walkthrough of Section
                                 382 study with KPMG SALT.




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Connor Pratt            10/27/23 Completed review, as of 10/27/23, of research for FL,             1.2   $ 760    $         912.00
                                 KY, and IL sales and use tax occasional / casual sale
                                 exemptions, concurrently finalized / corrected all
                                 citations within the matrix for formatting purposes by
                                 correcting and proofing conclusions in each of the
                                 nine states.
Robin Muncy             10/27/23 (1.3) Prepare a net operating loss reconciliation for             1.3   $1,000   $       1,300.00
                                 Proterra in order to tie out the cash tax net operating
                                 loss utilization.
Joe Murante             10/27/23 (0.3) Review, as of 10/27/23, of matrix prior to                  1.3   $ 760    $         988.00
                                 submission for review. (1.0) Updates, as of
                                 10/27/23, to manufacturing exemption from sales tax
                                 in Michigan and treatment of LLC interest sales.
Robin Muncy             10/27/23 (2.1) Perform manager level review, as of 10/27/23, of            2.1   $1,000   $       2,100.00
                                 the net operating loss utilization in the bankruptcy
                                 model as well as revise the cash tax calculations as
                                 necessary to adjust net operating loss utilization.
Rob Galloway            10/27/23 Continued, from earlier on 10/27/23, to research                  1.1   $ 460    $         506.00
                                 Illinois, New York, and South Carolina Sales and Use
                                 Tax rules regarding occasional / casual sale,
Rob Galloway            10/27/23 (4.6) Researched Illinois, New York, and South                    3.5   $ 460    $       1,610.00
                                 Carolina Sales and Use Tax rules regarding occasional
                                 / casual sale, manufacturing exemptions, and the
                                 taxability of the sale of an interest in a limited liability
                                 company for building out the Proterra SALT cash tax
                                 model to determine which inputs are relevant for each
                                 state.
David Yanchik           10/28/23 (0.7) Performed a preliminary review, as of 10/28/23,             0.7   $1,080   $         756.00
                                 of Proterra Section 382 study for ownership change
                                 date, Section 382 limitation, amount of net unrealized
                                 built in gain/loss, and Notice 2003-65 uplift.

Yinka Kukoyi            10/30/23 0.3 Call between Y. Kukoyi and J. Durrance (KPMG)                 0.3   $1,380   $         414.00
                                 to discuss language regarding the 10Q.
Julia Durrance          10/30/23 0.3 Call between Y. Kukoyi and J. Durrance (KPMG)                 0.3   $1,100   $         330.00
                                 to discuss language regarding the 10Q.
Robin Muncy             10/30/23 (0.4) Call between J. Durrance and R. Muncy (KPMG                 0.4   $1,000   $         400.00
                                 M&A)to discuss the draft response to Paul Weiss and
                                 the Section 197 intangibles on the company's balance
                                 sheet.
Julia Durrance          10/30/23 (0.4) Call between J. Durrance and R. Muncy (KPMG                 0.4   $1,100   $         440.00
                                 M&A)to discuss the draft response to Paul Weiss and
                                 the Section 197 intangibles on the company's balance
                                 sheet.


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Robin Muncy             10/30/23 (0.5) Review, as of 10/30/23, of the client data related      0.5   $1,000   $         500.00
                                 to section 197 intangibles in order to respond to
                                 question raised by Paul Weiss for purposes of the
                                 restructuring transactions.
Robin Muncy             10/30/23 (0.7) Prepared email to Paul Weiss addressing                 0.7   $1,000   $         700.00
                                 questions concerning section 197 intangibles related to
                                 the potential restructuring transactions.
Becky Biwer             10/30/23 (0.9) Update and provide historical Section 382               0.9   $ 760    $         684.00
                                 analysis to KPMG State and Local tax team for use in
                                 state Section 382 analysis.

Robin Muncy             10/30/23 (1.0) Research Section 197 in order to address                1.0   $1,000   $       1,000.00
                                 question raised by Paul Weiss on the potential
                                 restructuring transactions.
Robin Muncy             10/30/23 (1.5) Updated, as of 10/30/23, the bankruptcy model           1.5   $1,000   $       1,500.00
                                 in order to capture the appropriate amount of post-
                                 2011 ownership change net operating losses.
Yinka Kukoyi            10/31/23 (0.3) Y. Kukoyi, J. Carreon, J. Durrance, and R.              0.3   $1,380   $         414.00
                                 Muncy (KPMG M&A) met to discuss Paul Weiss's
                                 question related to the Section 197 intangibles in
                                 connection with the potential restructuring transactions
                                 and discussed the drafted response.

Julia Durrance          10/31/23 (0.3) Y. Kukoyi, J. Carreon, J. Durrance, and R.              0.3   $1,100   $         330.00
                                 Muncy (KPMG M&A) met to discuss the company's
                                 intangibles per the balance sheet dated 12/31/2022 and
                                 the applicability of the Section 197 loss disallowance
                                 rules to the Transition Services Agreement scenario
                                 presented by Paul Weiss.
Jim Carreon             10/31/23 (0.3) Y. Kukoyi, J. Carreon, J. Durrance, and R.              0.3   $1,280   $         384.00
                                 Muncy (KPMG M&A) met to discuss the company's
                                 intangibles per the balance sheet dated 12/31/2022 and
                                 the applicability of the Section 197 loss disallowance
                                 rules to the Transition Services Agreement scenario
                                 presented by Paul Weiss.
Robin Muncy             10/31/23 (0.3) Y. Kukoyi, J. Carreon, J. Durrance, and R.              0.3   $1,000   $         300.00
                                 Muncy (KPMG M&A) met to discuss the company's
                                 intangibles per the balance sheet dated 12/31/2022 and
                                 the applicability of the Section 197 loss disallowance
                                 rules to the Transition Services Agreement scenario
                                 presented by Paul Weiss.




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Julia Durrance          10/31/23 (0.4) Call between J. Durrance and R. Muncy (KPMG            0.4   $1,100   $         440.00
                                 M&A) to discuss the email question from Paul Weiss
                                 related to the Section 197 intangibles in connection
                                 with the potential restructuring transactions.

Robin Muncy             10/31/23 (0.4) Call between J. Durrance and R. Muncy (KPMG            0.4   $1,000   $         400.00
                                 M&A) to discuss the email question from Paul Weiss
                                 related to the Section 197 intangibles in connection
                                 with the potential restructuring transactions.


Robin Muncy             10/31/23 (0.4) Revised draft email to Paul Weiss addressing a         0.4   $1,000   $         400.00
                                 question related to Section 197 intangibles in
                                 connection with the potential sale of assets in the
                                 contemplated restructuring transactions.

Robin Muncy             10/31/23 (0.4) Preparation of agenda to discuss updated Proterra      0.4   $1,000   $         400.00
                                 structuring and deal considerations with Paul Weiss.

Robin Muncy             10/31/23 (0.4) Revised draft email to Paul Weiss addressing a         0.5   $1,000   $         500.00
                                 question related to Section 197 intangibles in
                                 connection with the potential sale of assets in the
                                 contemplated restructuring transactions.

Julia Durrance          10/31/23 Call with D. Yanchik, L. Shoenberger, R. Galloway,           0.4   $1,100   $         440.00
                                 R. Muncy (partial attendance), J. Durrance, and M.
                                 Klaunig (KPMG) to walk through the Federal Section
                                 382 limitation study and discuss the potential impacts
                                 of previous ownership changes on state net operating
                                 losses.
Max Klaunig             10/31/23 Call with D. Yanchik, L. Shoenberger, R. Galloway,           0.4   $ 460    $         184.00
                                 R. Muncy (partial attendance), J. Durrance, and M.
                                 Klaunig (KPMG) to walk through the Federal Section
                                 382 limitation study and discuss the potential impacts
                                 of previous ownership changes on state net operating
                                 losses.
Robin Muncy             10/31/23 Call with D. Yanchik, L. Shoenberger, R. Galloway,           0.4   $1,000   $         400.00
                                 R. Muncy (partial attendance), J. Durrance, and M.
                                 Klaunig (KPMG) to walk through the Federal Section
                                 382 limitation study and discuss the potential impacts
                                 of previous ownership changes on state net operating
                                 losses.




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                                                   Tax Restructuring Services
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Name                      Date    Description                                             Hours    Rate         Amount

David Yanchik           10/31/23 Call with D. Yanchik, L. Shoenberger, R. Galloway,          0.6   $1,080   $         648.00
                                 R. Muncy (partial attendance), J. Durrance, and M.
                                 Klaunig (KPMG) to walk through the Federal Section
                                 382 limitation study and discuss the potential impacts
                                 of previous ownership changes on state net operating
                                 losses.

Leigh Shoenberger       10/31/23 Call with D. Yanchik, L. Shoenberger, R. Galloway,          0.6   $1,000   $         600.00
                                 R. Muncy (partial attendance), J. Durrance, and M.
                                 Klaunig (KPMG) to walk through the Federal Section
                                 382 limitation study and discuss the potential impacts
                                 of previous ownership changes on state net operating
                                 losses.

Rob Galloway            10/31/23 Call with D. Yanchik, L. Shoenberger, R. Galloway,          0.6   $ 460    $         276.00
                                 R. Muncy (partial attendance), J. Durrance, and M.
                                 Klaunig (KPMG) to walk through the Federal Section
                                 382 limitation study and discuss the potential impacts
                                 of previous ownership changes on state net operating
                                 losses.


                                            Total Tax Restructuring Services               235.0            $     216,890.00




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                                                          EXHIBIT C3

                                                          Proterra Inc
                                                       Case No. 23-11120
                                                 Audit - Out of Scope Services
                                            October 1, 2023 through October 31, 2023




 Name                      Date    Description                                               Hours      Rate        Amount

  Maggie Lawler          10/02/23 (0.5) Call with M. Lawler (KPMG) and J. Embt                  0.5 $     728   $       364.00
                                  (Proterra) to discuss audit progression, as of 10/02/23

  Maggie Lawler          10/02/23 (2.5) Senior Manager preparation review, as of                2.5 $     728   $    1,820.00
                                  10/02/23, of client control test of designs in order to
                                  determine standards of preparing the design and
                                  implementation screen in workpapers and the process
                                  of reviewing the client's work.
  Steven Morgan          10/05/23 (0.5) Meeting with J. Embt and D. Black (Proterra) to         0.5 $     875   $       437.50
                                  discuss Internal control testing considerations for the
                                  12/31/23 audit in light of potential outcomes of CH 11
                                  process.
  Lynn Lin               10/06/23 (0.4) Meeting with J. Zhang, R. Reaves, J. Embt               0.4 $     650   $       260.00
                                  (Proterra), M. Lawler, L. Lin, B. Lancy, M. Liang
                                  (KPMG) to discuss Management's follow up questions
                                  on pre- and post- petition liabilities cut-off supports.

  Bradley Lancy          10/06/23 (0.4) Meeting with J. Zhang, R. Reaves, J. Embt               0.4 $     920   $       368.00
                                  (Proterra), M. Lawler, L. Lin, B. Lancy, M. Liang
                                  (KPMG) to discuss Management's follow up questions
                                  on pre- and post- petition liabilities cut-off supports.

  Memory Liang           10/06/23 (0.4) Meeting with J. Zhang, R. Reaves, J. Embt               0.4 $     832   $       332.80
                                  (Proterra), M. Lawler, L. Lin, B. Lancy, M. Liang
                                  (KPMG) to discuss Management's follow up questions
                                  on pre- and post- petition liabilities cut-off supports.

  Pat Anderson           10/09/23 (0.4) Call with S. Morgan, L. Lin, B. Monahan and P.          0.4 $     650   $       260.00
                                  Anderson (KPMG) to continue the discussion on
                                  workload and allocations given the upcoming staffing
                                  adjustments as a result of the Company's staffing
                                  changes and delays in PBCs due to Bankruptcy.
  Brian Monahan          10/09/23 (0.4) Call with S. Morgan, L. Lin, B. Monahan and P.          0.4 $     650   $       260.00
                                  Anderson (KPMG) to continue the discussion on
                                  workload and allocations given the upcoming staffing
                                  adjustments as a result of the Company's staffing
                                  changes and delays in PBCs due to Bankruptcy.
  Lynn Lin               10/09/23 (0.4) Call with S. Morgan, L. Lin, B. Monahan and P.          0.4 $     650   $       260.00
                                  Anderson (KPMG) to continue the discussion on
                                  workload and allocations given the upcoming staffing
                                  adjustments as a result of the Company's staffing
                                  changes and delays in PBCs due to Bankruptcy.




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                                                          EXHIBIT C3

                                                          Proterra Inc
                                                       Case No. 23-11120
                                                 Audit - Out of Scope Services
                                            October 1, 2023 through October 31, 2023




 Name                      Date    Description                                              Hours      Rate         Amount

  Steven Morgan          10/09/23 (0.4) Call with S. Morgan, L. Lin, B. Monahan and P.         0.4 $     875    $       350.00
                                  Anderson (KPMG) to continue the discussion on
                                  workload and allocations given the upcoming staffing
                                  adjustments as a result of the Company's staffing
                                  changes and delays in PBCs due to Bankruptcy.
  Maggie Lawler          10/10/23 (0.5) Discussion with S. Morgan, M. Lawler and P.            0.5 $     728    $       364.00
                                  dela Rosa (KPMG) to discuss the RA over ASC 852
                                  reorganization.
  Steven Morgan          10/10/23 (0.5) Discussion with S. Morgan, M. Lawler and P.            0.5 $     875    $       437.50
                                  dela Rosa (KPMG) to discuss the RA over ASC 852
                                  reorganization.
  Steven Morgan          10/16/23 (0.3) Call with M. Drucker, J. Murray, J. Peters, G. De      0.3 $     875    $       262.50
                                  La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company's remediation
                                  process and Company's bankruptcy timeline.
  Jane Murray            10/16/23 (0.3) Call with M. Drucker, J. Murray, J. Peters, G. De      0.3 $     980    $       294.00
                                  La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company's remediation
                                  process and Company's bankruptcy timeline.
  Matthew Drucker        10/16/23 (0.3) Call with M. Drucker, J. Murray, J. Peters, G. De      0.3 $    1,025   $       307.50
                                  La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company's remediation
                                  process and Company's bankruptcy timeline.
  Maggie Lawler          10/16/23 (0.3) Call with M. Drucker, J. Murray, J. Peters, G. De      0.3 $     728    $       218.40
                                  La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company's remediation
                                  process and Company's bankruptcy timeline.
  Gabe de la Rosa        10/16/23 Call on 10/16/23 and follow up call on 10/19/23 with         0.5 $     875    $       437.50
                                  M. Drucker, J. Murray, J. Peters, G. De La Rosa -
                                  partial, S. Morgan, and M. Lawler (KPMG) to discuss
                                  documentation and disclosure considerations given
                                  interaction of the Company’s remediation process and
                                  Company’s bankruptcy timeline.
  Jim Mintert            10/17/23 (0.2) Call with J. Murray and J. Mintert (KPMG) to           0.2 $    1,025   $       205.00
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company’s remediation
                                  process and Company’s bankruptcy timeline.




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                                                          Proterra Inc
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 Name                      Date    Description                                            Hours      Rate         Amount

  Jane Murray            10/17/23 (0.2) Call with J. Murray and J. Mintert (KPMG) to         0.2 $     980    $       196.00
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company’s remediation
                                  process and Company’s bankruptcy timeline.
  Steven Morgan          10/17/23 (1.0) Partner review, as of 10/17/23, of client            1.0 $     875    $       875.00
                                  prepared accounting memos on the impact of the
                                  adoption of bankruptcy accounting on the convertible
                                  notes and other lending agreements, post petition
                                  accounting as well as various vendor agreements.
  Jim Mintert            10/18/23 (0.3) Call with J. Murray, T Mooney and J. Mintert         0.3 $    1,025   $       307.50
                                  (KPMG) to discuss required process understanding
                                  and testing of design/implementation of internal
                                  controls given the Company’s remediation status.
  Tom Mooney             10/18/23 (0.3) Call with J. Murray, T Mooney and J. Mintert         0.3 $    1,025   $       307.50
                                  (KPMG) to discuss required process understanding
                                  and testing of design/implementation of internal
                                  controls given the Company’s remediation status.
  Jane Murray            10/18/23 (0.3) Call with J. Murray, T Mooney and J. Mintert         0.3 $     980    $       294.00
                                  (KPMG) to discuss required process understanding
                                  and testing of design/implementation of internal
                                  controls given the Company’s remediation status.
  Steven Morgan          10/19/23 (0.2) Call with M. Drucker, J. Murray, J. Mintert, G.      0.2 $     875    $       175.00
                                  De La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company’s remediation
                                  process and Company’s bankruptcy timeline.
  Jim Mintert            10/19/23 (0.2) Call with M. Drucker, J. Murray, J. Mintert, G.      0.2 $    1,025   $       205.00
                                  De La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company’s remediation
                                  process and Company’s bankruptcy timeline.
  Jane Murray            10/19/23 (0.2) Call with M. Drucker, J. Murray, J. Mintert, G.      0.2 $     980    $       196.00
                                  De La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company’s remediation
                                  process and Company’s bankruptcy timeline.
  Matthew Drucker        10/19/23 (0.2) Call with M. Drucker, J. Murray, J. Mintert, G.      0.2 $    1,025   $       205.00
                                  De La Rosa, S. Morgan, and M. Lawler (KPMG) to
                                  discuss documentation and disclosure considerations
                                  given interaction of the Company’s remediation
                                  process and Company’s bankruptcy timeline.




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                                                          Proterra Inc
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 Name                      Date    Description                                               Hours      Rate        Amount

  Maggie Lawler          10/19/23 (0.2) Call with M. Drucker, J. Murray, J. Mintert, G.         0.2 $     728   $       145.60
                                  De La Rosa, S. Morgan, and M. Lawler to discuss
                                  documentation and disclosure considerations given
                                  interaction of the Company’s remediation process and
                                  Company’s bankruptcy timeline.
  Gabe de la Rosa        10/19/23 Call on 10/16/23 and follow up call on 10/19/23 with          0.2 $     875   $       175.00
                                  M. Drucker, J. Murray, J. Peters, G. De La Rosa -
                                  partial, S. Morgan, and M. Lawler (KPMG) to discuss
                                  documentation and disclosure considerations given
                                  interaction of the Company’s remediation process and
                                  Company’s bankruptcy timeline.
  Steven Morgan          10/19/23 (0.5) Call with S. Morgan, and M. Lawler (KPMG) to            0.5 $     875   $       437.50
                                  discuss application of the results of our internal
                                  consultations regarding the documentation and
                                  disclosure considerations related to the interaction of
                                  the Company’s remediation process and Company’s
                                  bankruptcy timeline including how to present the
                                  findings to management and the audit committee.
  Maggie Lawler          10/19/23 (0.5) Call with S. Morgan, and M. Lawler to discuss           0.5 $     728   $       364.00
                                  application of the results of our internal consultations
                                  regarding the documentation and disclosure
                                  considerations related to the interaction of the
                                  Company’s remediation process and Company’s
                                  bankruptcy timeline and how to present the findings to
                                  management and the audit committee.
  Steven Morgan          10/19/23 (0.5) Partner review, as of 10/19/23, of estimate             0.5 $     875   $       437.50
                                  associated with first draft of proposed audit and tax
                                  billings.
  Maggie Lawler          10/20/23 (0.5) continued - Senior manager review of client             0.5 $     728   $       364.00
                                  prepared accounting memos on the impact of the
                                  adoption of bankruptcy accountingon the convertible
                                  notes and other lending agreements, post petition
                                  accounting, various vendor agreements.
  Memory Liang           10/20/23 (1.2) Specialist Director review, as of 10/20/23, of          1.2 $     832   $       998.40
                                  both Three Way Agreement memos in order to
                                  evaluate the accounting analysis for supplier payments
                                  in accordance with AS 852.
  Memory Liang           10/20/23 (2.4) Specialist Director review, as of 10/20/23, of the      2.4 $     832   $    1,996.80
                                  Post Petition Accounting memo prepared by Proterra
                                  for Pre- and Post-Petition accounting implications in
                                  accordance with ASC 852.




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                                                          Proterra Inc
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  Maggie Lawler          10/20/23 (3.0) Senior manager review of client prepared                3.0 $     728   $    2,184.00
                                  accounting memos on the impact of the adoption of
                                  bankruptcy accounting on the convertible notes and
                                  other lending agreements, post petition accounting,
                                  various vendor agreements.
  Lynn Lin               10/23/23 (0.3) Meeting with S. Morgan, M. Lawler and L. Lin            0.3 $     650   $       195.00
                                  (KPMG) to discuss 852 procedures for Q3 and support
                                  requests.
  Steven Morgan          10/23/23 (0.3) Meeting with S. Morgan, M. Lawler and L. Lin            0.3 $     875   $       262.50
                                  (KPMG) to discuss 852 procedures for Q3 and support
                                  requests.
  Maggie Lawler          10/23/23 (0.3) Meeting with S. Morgan, M. Lawler and L. Lin            0.3 $     728   $       218.40
                                  (KPMG) to discuss 852 procedures for Q3 and support
                                  requests.
  Bradley Lancy          10/23/23 (0.5) Meeting with B. Lancy and M. Liang (all                 0.5 $     920   $       460.00
                                  KPMG) to discuss the ASC 852 accounting
                                  implication documented in the Convertible Notes
                                  memorandum prepared by Proterra;
  Memory Liang           10/23/23 (0.5) Meeting with B. Lancy and M. Liang (KPMG) to            0.5 $     832   $       416.00
                                  discuss the ASC 852 accounting implication
                                  documented in the Convertible Notes memorandum
                                  prepared by Proterra.
  Memory Liang           10/23/23 (1.0) Specialist Director review, as of 10/23/23, of          1.0 $     832   $       832.00
                                  Proterra prepared accounting memo regarding the
                                  impact of the adoption of bankruptcy accounting on
                                  the Bank of America Revolving Commitment
                                  agreement.
  Memory Liang           10/23/23 (2.5) Specialist Director review, as of 10/23/23, of the      2.5 $     832   $    2,080.00
                                  Proterra prepared accounting memo / supporting
                                  workbook on the impact of the adoption of bankruptcy
                                  accounting on the Convertible Notes agreements.

  Steven Morgan          10/24/23 (0.4) Call with S. Morgan (KPMG), J. Embt and D.              0.4 $     875   $       350.00
                                  Black (Proterra) to discuss planned communications
                                  for the October 30 AC meeting regarding status of
                                  control testing and considerations of requirements for
                                  company's 10K filing, as of 10/24/23.
  Lynn Lin               10/24/23 (0.5) Email correspondence to client to provide               0.5 $     650   $       325.00
                                  questions related to the ASC 852 memos.
  Lynn Lin               10/24/23 (1.0) Manager review, as of 10/24/23, of the Q3               1.0 $     650   $       650.00
                                  reorganization expense details, concurrently sent
                                  questions to Client.




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                                                        EXHIBIT C3

                                                         Proterra Inc
                                                      Case No. 23-11120
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  Memory Liang         10/24/23 (1.4) Specialist Director review, as of 10/24/23, as          1.4 $     832   $    1,164.80
                                well as follow-up of Proterra's response regarding Post-
                                Petition Accounting and Three-Way Agreement
                                Daimler Bucher Hydraulics Proterra Accounting
                                memorandums.
  Lynn Lin             10/25/23 (0.4) Meeting with S. Morgan, L. Lin, P. Dela Rosa            0.4 $     650   $       260.00
                                and A. Cohen (KPMG) to discuss status of planned
                                852 procedures for Q3.
  Steven Morgan        10/25/23 (0.4) Meeting with S. Morgan, L. Lin, P. Dela Rosa            0.4 $     875   $       350.00
                                and A. Cohen (KPMG) to discuss status of planned
                                852 procedures for Q3.
  Memory Liang         10/26/23 (0.9) Specialist Director review, as of 10/26/23, as          0.9 $     832   $       748.80
                                well as follow-up of Proterra's response regarding the
                                2023 BOA Loan default impact memorandum.
  Patricia Anne Dela R 10/26/23 (3.0) Review, as of 10/26/23, of the reorganization           3.0 $     650   $    1,950.00
                                expense details and vouching of court documents for
                                the comparison of expense recorded versus claims
                                application submitted by the advisor in the bankruptcy
                                court.
  Lynn Lin             10/27/23 (0.2) Email correspondence to send updated debt and           0.2 $     650   $       130.00
                                convertible notes to AAS team for review.
  Memory Liang         10/27/23 (0.4) Specialist Director review, as of 10/27/23, of          0.4 $     832   $       332.80
                                Proterra's response on Convertible Notes and
                                Derivative Liability Post-Petition Accounting
                                memorandum.
  Lynn Lin             10/27/23 (0.5) Meeting with L. Lin and P. Dela Rosa (KPMG)             0.5 $     650   $       325.00
                                to discuss support provided relating to 852 procedures
                                for Q3.
  Patricia Anne Dela R 10/27/23 (2.0) Documented the results of the procedures                2.0 $     650   $    1,300.00
                                performed for reorganization expense as well as
                                review the client's response on its process.
  Patricia Anne Dela R 10/27/23 (3.0) Review, as of 10/27/23, of the Liabilities subject      3.0 $     650   $    1,950.00
                                to compromise details, concurrently trace the material
                                claims made by vendors as presented within the
                                register included on the KCC site
                                (https://www.kccllc.net/proterra/register)
                                Management's detail for the material (above PM)
                                claims.
  Steven Morgan        10/30/23 (0.5) Partner review, as of 10/30/23, of Company's            0.5 $     875   $       437.50
                                memo regarding the application of ASC 852 on the
                                company's outstanding debt, concurrently providing
                                comments.




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                                                         EXHIBIT C3

                                                         Proterra Inc
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 Name                      Date   Description                                              Hours      Rate        Amount

  Bradley Lancy        10/30/23 (1.2) Perform SEC filing research of presentation and         1.2 $     920   $    1,104.00
                                disclosure of liabilities not subject to compromise for
                                secured liabilities prior to development of the plan and
                                disclosure statement
  Patricia Anne Dela R 10/31/23 (0.5) Meeting with M. Lawler and P. dela Rosa                 0.5 $     650   $       325.00
                                (KPMG), and R. Reaves and O. Banks (Proterra) to
                                discuss trade AP pre-petition schedule and help
                                understand the reports provided
  Maggie Lawler        10/31/23 (0.5) Meeting with M. Lawler and P. dela Rosa                 0.5 $     728   $       364.00
                                (KPMG), and R. Reaves and O. Banks (Proterra) to
                                discuss trade AP pre-petition schedule and help
                                understand the reports provided
  Patricia Anne Dela R 10/31/23 (3.0) Prepare the liabilities subject to compromise           3.0 $     650   $    1,950.00
                                working paper which includes the review of the claims
                                register from KCC LLC and trace it to the Trade AP
                                schedule provided by the client, concurrently
                                evaluated the results.

                                           Total Audit - Out of Scope Services               46.3             $    35,583.30




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                                                          EXHIBIT C4

                                                           Proterra Inc
                                                        Case No. 23-11120
                                                         Retention Services
                                             October 1, 2023 through October 31, 2023




   Name                      Date    Description                                              Hours    Rate        Amount

   Wendy Shaffer           10/05/23 0.2 Retention - review of changes proposed to KPMG           0.2   $ 380   $       76.00
                                    Retention Application and related to EL sent by S.
                                    Morgan (KPMG) in preparation for call with OGC and
                                    Declarant (on same day).
   Steven Morgan           10/05/23 (0.3) Call with W Shaffer, J Roberts to discuss              0.3   $ 550   $      165.00
                                    proposed revisions from outside counsel and company
                                    on KPMG Retention application
   Wendy Shaffer           10/05/23 (0.3) Retention - Call with W. Shaffer (KPMG) and J.         0.3   $ 380   $      114.00
                                    Roberts (KPMG OGC) to discuss updates proposed by
                                    Debtors and outside counsel to the KPMG Retention
                                    application.
   Steven Morgan           10/05/23 (0.5) Partner review, as of 10/05/23, of revisions from      0.5   $ 550   $      275.00
                                    company / outside counsel regarding KPMG retention
                                    application.
   Steven Morgan           10/11/23 (0.2) Partner review, as of 10/11/23, of proposed edits      0.2   $ 550   $      110.00
                                    by counsel with Paul, Weiss, Rifkind, Wharton &
                                    Garrison LLP regarding KPMG's retention application
                                    draft.
   Wendy Shaffer           10/11/23 0.3 Communication with R. Dorsett (Paul Weiss)               0.3   $ 380   $      114.00
                                    regarding most recent changes to Proterra retention
                                    documents and provide final approval to apply
                                    Declarant signature for filing;
   Wendy Shaffer           10/11/23 0.3 Review of latest changes to Proterra Retention           0.3   $ 380   $      114.00
                                    documents and forward to S. Morgan (KPMG) for
                                    review/approval;

                                                   Total Retention Services                      2.1           $       968.00




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                                                          EXHIBIT C5

                                                          Proterra Inc
                                                       Case No. 23-11120
                                              Fee Application Preparation Services
                                            October 1, 2023 through October 31, 2023




 Name                      Date    Description                                             Hours    Rate        Amount

 Teresa Williams         10/02/23 Prepared exhibit C1 for inclusion in the 1st Combined       3.5   $ 240   $        840.00
                                  Monthly fee statement (inclusive of September)
                                  (inclusive of September)
 Teresa Williams         10/02/23 Continued, from earlier on 10/02/23, to prepare             3.4   $ 240   $        816.00
                                  exhibit C1 for inclusion in the 1st Combined Monthly
                                  fee statement (inclusive of September).
 Teresa Williams         10/03/23 Preparation of exhibit C2 for inclusion in the 1st          3.7   $ 240   $        888.00
                                  Combined Monthly fee statement (inclusive of
                                  September).
 Teresa Williams         10/03/23 Continued, as of 10/03/23, to prepare exhibit C1 for        1.9   $ 240   $        456.00
                                  inclusion in the 1st Combined Monthly fee statement
                                  (inclusive of September).
 Teresa Williams         10/04/23 Continued, as of 10/4/23, to prepare exhibit C2 for         3.9   $ 240   $        936.00
                                  inclusion in the 1st Combined Monthly fee statement
                                  (inclusive of September).
 Teresa Williams         10/04/23 Continued, as of 10/04/23, to prepare exhibit C1 for        1.2   $ 240   $        288.00
                                  inclusion in the 1st Combined Monthly fee statement
                                  (inclusive of September).
 Teresa Williams         10/04/23 Continued, from earlier on 10/04/23, to prepare             0.4   $ 240   $         96.00
                                  exhibit C2 for inclusion in the 1st Combined Monthly
                                  fee statement (inclusive of September).
 Teresa Williams         10/05/23 Continued, as of 10/5/23, to prepare exhibit C1 for         3.5   $ 240   $        840.00
                                  inclusion in the 1st Combined Monthly fee statement
                                  (inclusive of September).
 Teresa Williams         10/05/23 Continued, from earlier on 10/05/23, to prepare             1.3   $ 240   $        312.00
                                  exhibit C1 for inclusion in the 1st Combined Monthly
                                  fee statement (inclusive of September).
 Teresa Williams         10/05/23 Continued, as of 10/5/23, to prepare exhibit C2 for         0.9   $ 240   $        216.00
                                  inclusion in the 1st Combined Monthly fee statement
                                  (inclusive of September).
 Teresa Williams         10/06/23 Continued, as of 10/6/23, to prepare exhibit C2 for         3.9   $ 240   $        936.00
                                  inclusion in the 1st Combined Monthly fee statement
                                  (inclusive of September).
 Teresa Williams         10/06/23 Continued, from earlier on 10/6/23, to prepare exhibit      0.9   $ 240   $        216.00
                                  C2 for inclusion in the 1st Combined Monthly fee
                                  statement (inclusive of September).
 Teresa Williams         10/09/23 Prepared portions of Exhibit C2 for inclusion in the        2.6   $ 240   $        624.00
                                  1st combined monthly fee application for Proterra
 Teresa Williams         10/09/23 Prepared portions of Exhibit C1 for inclusion in the        1.2   $ 240   $        288.00
                                  1st combined monthly fee application for Proterra
 Teresa Williams         10/10/23 Continued, from 10/09/23, to prepare Exhibit C2 for         3.5   $ 240   $        840.00
                                  inclusion in the 1st combined monthly fee application




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                                                          EXHIBIT C5

                                                          Proterra Inc
                                                       Case No. 23-11120
                                              Fee Application Preparation Services
                                            October 1, 2023 through October 31, 2023




 Name                      Date    Description                                              Hours    Rate        Amount

 Teresa Williams         10/10/23 Continued, from 10/09/23, to prepare Exhibit C2 for          3.1   $ 240   $        744.00
                                  inclusion in the 1st combined monthly fee application.

 Teresa Williams         10/10/23 Continued, from earlier on 10/10/23, to prepare              0.6   $ 240   $        144.00
                                  Exhibit C2 for inclusion in the 1st combined monthly
                                  fee application
 Teresa Williams         10/11/23 Continued, from 10/10/23, to prepare Exhibit C1 for          2.9   $ 240   $        696.00
                                  inclusion in the 1st combined monthly fee application.

 Teresa Williams         10/12/23 Continued, from 10/11/23, to prepare Exhibit C9 for          3.8   $ 240   $        912.00
                                  inclusion in the 1st combined monthly fee application.

 Teresa Williams         10/12/23 Continued, from 10/10 to prepare exhibit C2 for              2.6   $ 240   $        624.00
                                  inclusion in the 1st fee application.
 Teresa Williams         10/13/23 Continued, from 10/11, to prepare exhibit C2 for             1.9   $ 240   $        456.00
                                  inclusion in the 1st fee application.
 Teresa Williams         10/13/23 Continued, from 10/12 to prepare exhibit C1 for              1.8   $ 240   $        432.00
                                  inclusion in the 1st fee application.
 Teresa Williams         10/16/23 Continued, as of 10/16/23, to prepare exhibit C2 for         3.4   $ 240   $        816.00
                                  inclusion in the 1st combined monthly fee statement
                                  for Proterra.
 Teresa Williams         10/16/23 Continued, as of 10/16/23, to prepare exhibit C1 for         2.9   $ 240   $        696.00
                                  inclusion in the 1st Combined monthly fee statement
                                  for Proterra.
 Teresa Williams         10/17/23 1.9 Continued, as of 10/17/23, to prepare Exhibit C1         1.9   $ 240   $        456.00
                                  of 1st Combined monthly fee statement for Proterra.
 Teresa Williams         10/17/23 1.1 Continued, as of 10/17/23 to prepare Exhibit C2 of       1.1   $ 240   $        264.00
                                  the 1st combined monthly fee statement for Proterra.
 Celeste Campbell        10/18/23 2.1 Begin manager review of Proterra first fee               2.1   $ 340   $        714.00
                                  statement exhibits, cross-checking to the retention
                                  document to confirm rates

 Teresa Williams         10/18/23 2.1 Continued, as of 10/18/23, to prepare exhibit C1 of      2.1   $ 240   $        504.00
                                  1st Combined monthly fee statement for Proterra.
 Teresa Williams         10/18/23 1.9 Continued, as of 10/18, to prepare exhibit C2 of         1.9   $ 240   $        456.00
                                  1st Combined monthly fee statement for Proterra.
 Teresa Williams         10/18/23 1.2 Began to prepare narrative to accompany 1st              1.2   $ 240   $        288.00
                                  combined monthly fee statement for Proterra.
 Teresa Williams         10/19/23 3.1 Continued, as of 10/19, to prepare exhibit C1 and        3.1   $ 240   $        744.00
                                  C4 for the 1st combined monthly fee statement for
                                  Proterra.




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                                                         EXHIBIT C5

                                                          Proterra Inc
                                                       Case No. 23-11120
                                              Fee Application Preparation Services
                                            October 1, 2023 through October 31, 2023




 Name                      Date    Description                                             Hours    Rate        Amount

 Teresa Williams         10/19/23 2.1 - Continued, as of 10/19 to prepare exhibit C2 of       2.1   $ 240   $        504.00
                                  Proterra fee statement.
 Teresa Williams         10/20/23 2.9 Continued, as of 10/20/23, to prepare exhibit C1        2.9   $ 240   $        696.00
                                  and C4 of Proterra 1st combined monthly fee
                                  statement.
 Teresa Williams         10/20/23 1.1 Continued, from earlier on 10/20/23, to prepare         1.1   $ 240   $        264.00
                                  exhibit C1 and C4 of Proterra 1st combined monthly
 Teresa Williams         10/22/23 Began to finalize Exhibit C1 for inclusion in the 1st       2.1   $ 240   $        504.00
                                  combined monthly fee application for Proterra.
 Teresa Williams         10/22/23 Began to finalize Exhibit C2 for inclusion in Proterra      1.6   $ 240   $        384.00
                                  1st combined monthly fee application.
 Teresa Williams         10/23/23 Began to prepare Exhibit D for expenses related to          2.6   $ 240   $        624.00
                                  Proterra for the Audit team.
 Teresa Williams         10/23/23 Finalized Exhibit C2 for Proterra for inclusion in the      0.6   $ 240   $        144.00
                                  1st combined monthly fee application.
 Teresa Williams         10/24/23 Continued, as of 10/24, to prepare Exhibit D for            3.0   $ 240   $        720.00
                                  charges related to Proterra expenses for Audit team.
 Celeste Campbell        10/24/23 2.6 Begin manager review of Exhibit C1 of Proterra          2.6   $ 340   $        884.00
                                  1st combined monthly fee statement as required in
                                  advance of filing.
 Wendy Shaffer           10/24/23 1.6 Begin to perform Associate Director review of           1.6   $ 380   $        608.00
                                  Exhibit C2 of Proterra 1st combined monthly fee
                                  application, concurrently drafted review comments to
                                  T. Williams (KPMG);
 Teresa Williams         10/24/23 Continued, from earlier on 10/24/23, to prepare             1.6   $ 240   $        384.00
                                  Exhibit D for charges related to Proterra expenses for
                                  Audit team.
 Teresa Williams         10/25/23 1.7 Completed Exhibit D for charges related to              1.7   $ 240   $        408.00
                                  Proterra expenses for Audit team.
 Wendy Shaffer           10/25/23 1.4 Performed Associate Director review of Proterra         1.4   $ 380   $        532.00
                                  tax restructuring services exhibit and concurrently
                                  drafted review comments;
 Celeste Campbell        10/26/23 3.4 Continue, as of 10/26, manager review of Proterra       3.4   $ 340   $     1,156.00
                                  1st combined monthly fee statement (exhibit C1) as
                                  required in advance of filing.
 Teresa Williams         10/29/23 Continued, as of 10/29/23, to prepare Exhibit C1 for        3.1   $ 240   $        744.00
                                  inclusion in the 1st combined monthly fee statement.
 Teresa Williams         10/29/23 Updated, as of 10/29/23, Exhibit C2 for inclusion in        2.6   $ 240   $        624.00
                                  the 1st combined monthly fee statement.
 Teresa Williams         10/29/23 Continued, from earlier on 10/29/23, to update Exhibit      2.0   $ 240   $        480.00
                                  C1 for inclusion in the 1st combined monthly fee
                                  statement.




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                                                         EXHIBIT C5

                                                         Proterra Inc
                                                      Case No. 23-11120
                                             Fee Application Preparation Services
                                           October 1, 2023 through October 31, 2023




 Name                      Date    Description                                            Hours    Rate        Amount

 Teresa Williams         10/31/23 2.4 Continued, as of 10/31/23, to begin to prepare         2.4   $ 240   $        576.00
                                  narrative for Proterra.
 Celeste Campbell        10/31/23 1.2 Begin manager review of Proterra draft 1st             1.2   $ 340   $        408.00
                                  monthly narrative, concurrently cross-checking docket
                                  references and reference to Retention Application and
                                  Order.
 Teresa Williams         10/31/23 1.2 Continued, as of 10/31, to prepare Exhibit C1 for      1.2   $ 240   $        288.00
                                  Proterra fee statement.
 Teresa Williams         10/31/23 0.8 Continued, as of 10/31, to update exhibit C2 for       0.8   $ 240   $        192.00
                                  Proterra 1st combined monthly fee application.


                                       Total Fee Application Preparation Services          113.8           $     28,662.00




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                                                  EXHIBIT D

                                                  Proterra Inc
                                               Case No. 23-11120
                                      Summary of Out of Pocket Expenses
                                    October 1, 2023 through October 31, 2023


                  Category                                                     Amount
                  Airfare                                                  $        656.37
                  Lodging                                                  $        308.96
                  Meals                                                    $        252.00
                  Ground Transportation                                    $        140.96
                  Miscellaneous                                            $           -
                                          Total                            $      1,358.29




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                                                             EXHIBIT D1

                                                            Proterra Inc
                                                         Case No. 23-11120
                                                  Detail of Out of Pocket Expenses
                                              October 1, 2023 through October 31, 2023


Name                               Date     Description                                                              Amount
Robin Muncy                      10/18/23   One-way coach-class airfare for Proterra. Albuquerque NM to            $    344.33
                                            Houston TX Departure 10/18/23
Robin Muncy                      10/20/23   One-way coach-class airfare for Proterra. Houston TX to Albuquerque    $         312.04
                                            NM Departure 10/20/23

                                            Air Fare Subtotal                                                      $        656.37

Robin Muncy                      10/18/23   Lodging - Houston TX, 2 nights - check in 10/18/23 check out           $        308.96
                                            10/20/23
                                            Lodging Subtotal                                                       $        308.96


Steve Morgan                     10/10/23   Out of Town Meals - Team Meeting in San Francisco - Attendees: A.      $        252.00
                                            Cohen, A. Heyne, C. Wang, K. Walker, L. Lin, M. Lawler and S.
                                            Morgan (KPMG)




                                            Meals Subtotal                                                         $        252.00


Maggie Lawler                    10/17/23   Traveled as a team for Client team meeting from San Francisco office   $          53.06
                                            to San Jose, CA. 81 miles roundtrip.
Maggie Lawler                    10/17/23   Parking incurred for Team Meeting in San Jose, CA.                     $          33.00
Robin Muncy                      10/20/23   Airport parking - 2 days - 10/18/23 through 10/20/23.                  $          30.00
Chien Wang                       10/10/23   Travel to Client Mileage - Proterra team meeting in San Jose, CA.      $          12.45
                                            19.1 miles one way
Chien Wang                       10/10/23   Travel to Client Mileage - Proterra team meeting in San Jose, CA.      $          12.45
                                            19.1 miles one way

                                            Total Ground Transportation                                            $        140.96




                                            Miscellaneous Subtotal                                                 $            -


                                            Total Out of Pocket Expenses                                           $      1,358.29




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                                                    Exhibit E
                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                )
     In re:                                                     ) Chapter 11
                                                                )
     PROTERRA, INC.                                             ) Case No. 23-11120 (BLS)
                                                                )
                            Debtors. 1                          )
                                                                )
                                                                )

              DECLARATION PURSUANT TO RULE 2016-2 OF THE
            LOCAL RULES OF BANKRUPTCY PROCEDURE FOR THE
    UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


                  I, Steven D. Morgan, being duly sworn, deposes and says:


                  1.       I am a Certified Public Accountant and a Partner of KPMG LLP (“KPMG”), a

professional services firm.

                  2.       On October 27, 2023, the Court approved KPMG’s retention as audit and tax

restructuring service provider to the above captioned debtors and debtors-in-possession (the

“Debtors”). I submit this Declaration in conjunction with KPMG’s second monthly fee application

(the “Application”) dated December 5, 2023 for compensation and allowance of expenses for the

period from October 1, 2023 through October 31, 2023.

                  3.       I am familiar with the work performed on behalf of the Debtors by the

professionals of KPMG.

                  4.       I have reviewed the foregoing Application and the facts set forth therein are

true and correct to the best of my knowledge, information and belief. Moreover, I have reviewed


     1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc. (8459). The location of the
         Debtor’s service address is: 1815 Rollins Road, Burlingame, California 94010.
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Rule 2016-2 of the Local Rules of Bankruptcy Procedure for the United States Bankruptcy Court for

the District of Delaware and submit that the Application substantially complies with such Rule.

KPMG believes that the time entries included in Exhibit C1 – C5 attached hereto are in compliance

with the requirements of Local Rule 2016-2.

                      I declare under the penalty of perjury that the foregoing is true and correct.


Executed this 6th day of December, 2023.



                                                   /s/ Steven D. Morgan
                                                    Steven D. Morgan
                                                    Partner
                                                    KPMG LLP
                                                    3975 Freedom Circle
                                                    Mission Towers I Suite 600
                                                    Santa Clara, CA 95054




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